                                             Case 1:20-cv-05233-SEG Document 115-17 Filed 01/18/24                                                                                                                                                      Page 1 of Exhibit
                                                                                                                                                                                                                                                                  58      16_1 of 2
                                            DEKALB COUNTY POLICE DEPARTMENT                    Case #:

                                                            GA0440200                       19-090533

                                                                                                 INCIDENT REPORT
                  Incident Type:                                                                                                                                                      Counts             Incident Code                    Offense Jurisdiction                        Arrest Jurisdiction
                  16-5-40 (1005) Kidnapping - minor                                                                                                                                    2                 1005                             STATE
                  16-63 Wanted Person Lo cated                                                                                                                                         1                 N onc                            STATE                                       COUNTY
EVENT'




                  16-63 Missin g Juvinile Lo cated                                                                                                                                     1                 N onc                            STATE                                       COUNTY
                  Premise Type:                                                                                       Weapon Type:                                                                   Forcible:                Stranger To Stranger:             Hate Motivated:                 Loc Code:




                                                                                                                                                                                                                                                                                 □
                  A LL OTH E R                                                                                                                                                                       U                        U                                                                 560
                  Date Report:                                                 Incident Start:                                    Incident End:                                      Incident Location:
                  9/27/2019 10:00:00 PM 9/27/2019 3:19:00 PM 9/27/2019 6:00:00 PM 46 4 9 M e m o r ia l D r D ec a t u r G A
                      Name (Last, First Middle):                                                                                                                    Moniker:                                     DOB:                           Age:                        Sex:            Race:           Ethnicity:
                      Rivas, Natalie                                                                                                                                                                                       - 2005               14                          F               W               U




                                                                                                                                                                                                                 I
                      Address                                                                                                                      Home #:                                 Work #:                            Cell #:                              Email:

                      1045 Mo r gan Rd Canton GA 30115-
                      SSN:                                  Resident Status:                             HGT:              WGT:            Hair Color:                 Hair Style:                       Hair Length:                   Eye Color:                    OLN #:                                State:
                                                            RESIDENT                                     503               11 8            B R O WN                    ST R AI G HT                      M E D IU M                     B R OW N
                      Occupation:                                                         Employer:                                                        Address:                                                                                                                    Employer Phone:
VIC.TlM




                      Victim Type:                                                                              Yes   No          If Yes, Name of Victim's School                                      LEOKA Activity Type:                                       LEOKA Assignment Type:
                                                                                                  Student:
                      I n d i v i du al
                                                                                                                 □
                                                                                                                       □


                                                                                                                       
                                    □


                                                  □


                                                                           □


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                                                                                                                                                                                                                                               □



                                                                                                                                                                                                                                                                  □



                                                                                                                                                                                                                                                                                      □
                                                                                                                                                                              
                      Injuries:         None                       Minor       Internal          Teeth          Unconscious              Lacerations                Bones             Other                                     Used:                   Drugs             Alcohol           Computer

                      SMTs:


                      Relationship To       (1)       STRANGER                                           (2)                                                  (3)                                                   (4)                                                   (5)
                      Offenders:            (6)                                                          (7)                                                  (8)                                                   (9)                                                   (10)

                      Offenses              (1)       1005                                               (2)   N onc                                          (3)                                                   (4)                                                   (5)
                      Involved:             (6)                                                          (7)                                                  (8)                                                   (9)                                                   (10)

                      Name:                                                                                                                                         Moniker:                             DOB:                           Age:                       Sex:                Race:           Ethnicity:
                      19-090533, 19-090533                                                                                                                                                                                              00                         M                   B
                      Address:                                                                                                                    Home Phone:                              Work Phone:                     Cell Phone:                             Email:


                      SSN:                                  Resident Status:                             HGT:              WGT:            Hair Color:                 Hair Style:                       Hair Length:                   Eye Color:                    OLN #:                                State:


                      Occupation:                                                         Employer:                                                         Address:                                                                                                                  Employer Phone:
 OffENO:IEiR




                      SMTs:


                                                                                                                                                         Offenses Involved:
                  (1) 16-5-40            (1005) Kidnappi ng - minor                                                                                    1005                 (2)
                  (3)                                                                                                                                                       (4)

                  (5)                                                                                                                                                       (6)

                  (7)                                                                                                                                                       (8)
                  (9)                                                                                                                                                       (10)
                                      □


                                                                           □□

                                                                                                         □




                                                                                                                                                                                                                                                                 □


                                                                                                                                                                                                                                                                                   □


                                                                                                                                                                                                                                                                                                  □
                        WANTED:                        WARRANT:                           ARREST:                                   SUSPECT ARMED:                                 WEAPON:                                                              Used:          Drugs            Alcohol         Computer
                                                                                                                                                                                                    II
                                                                                                                                                                            □




                                  TOTAL NUMBER ARRESTED:                       0                         ARREST AT OR NEAR OFFENSE SCENE:                            Yes:                     No:

                                                              VEHICLES                                         CURRENCY, NOTES, ETC                                 JEWELRY, PREC. METALS                           FURS
                                                                                                                                                                                                                 -- --




                                                                                                                                                                                                                                                     -- --
                                                                                                                                                             --
                                                                                                                                           -----


                                                                                                                                                                                               -- -----
                                                                                                          -- --
                                                                                             ----- ---




                                   STOLEN                     $0.00                                             $0.00                                               $0.00                                           $0.00
                                  [




                                   RECOVERED                  $0.00                                             $0.00                                               $0.00                                           $0.00
   PROPa8RTY




                                                              CLOTHING                                         OFFICE EQUIP.                                        TV, RADIO, ETC                                  HOUSEHOLD GOODS
                                                                                                                                              --

                                                                                                                                                               --




                                   STOLEN                     $0.00                                             $0.00                                               $0.00                                           $0.00
                             -- --

                                                      ,..._,....




                                   RECOVERED                  $0.00                                             $0.00                                               $0.00                                           $0.00
                                                             FIREARMS                               CONSUMABLE GOODS                        LIVESTOCK                                OTHER                                     TOTAL
                                   STOLEN
                                                                                                                                                                                                                          --
                                                                                                                                                                                                                          --




                                                                                                                                                                                                                                                                   --




                                                             $0.00                                  $0. 00                                  $0.00                                    $0.00                                     $0.00
                                                                                                                                   --




                                                                                                                                                                            --
                                                                                                                                                                            --
                                                                                            --
                                                                                          --



                                                                                                                                   --
                                            -         -




                                   RECOVERED                 $0.00                                  $0. 00                                  $0.00                                    $0.00                                     $0.00
C!WEAR: IJ:RUG ADM.




                                  GCIC ENTRY
                                                                               Iii




                                                                                      WARRANT                     MISSING PERSONS                            VEHICLE                                ARTICLE                              BOAT                                   GUN                  SECURITIES
                                                                                                             □




                                                                                                                                                     □



                                                                                                                                                                                        □




                                                                                                                                                                                                                                □



                                                                                                                                                                                                                                                                    □


                                                                                                                                                                                                                                                                                               □




                      DID INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRUG-RELATED? IF                                                                      1 - Amphetamine                  2 - Barbiturate                    3 - Cocaine                4 - Hallucinogen                       5 - Heroin
                                                                                                                                                         □□




                                                                                                                                                                                       □□




                                                                                                                                                                                                                           □□



                                                                                                                                                                                                                                                       □□




                                                                                                                                                                                                                                                                                               □□




                                                                                                                                     YES          NO
                                                                                                                                            Iii
                                                                                                                             □




                      YES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER
                                                                                                                                                              6 - Marijuana                    7 - Methamphetamine                8 - Opium                  9 - Synthetic Narcotic                 U - Unknown


                      REQUIRED DATA FIELDS
                                                                                                                                                                                                                                                                □

                                                                                                                                                                                                                                                                                      □
                                                                     □



                                                                                                         □



                                                                                                                                                         □




                                                                           CLEARED BY ARREST                     EXCEPTIONALLY CLEARED                         UNFOUNDED                   DATE OF CLEARANCE                                                           ADULT                   JUVENILE
                      FOR CLEARANCE REPORT


REPORTING OFFICER                                                                                                                                        NUMBER                    APPROVING OFFICER                                                                                                   NUMBER
H il l m l                                                                                                                                        28 0 4                           Bo b o r l                                                                                                       2435




                                                                                                                                                                                                                                                             PLAINTIFF-002978(UI&S)
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                DEKALB COUNTY POLICE DEPARTMENT                                 Case #:

                               GA0440200                                      19-090533

                         ADDITIONAL INCIDENT TYPES
Incident Type                                        Counts   Incident Code        Offense Jurisdiction   Arrest Jurisdiction


3-6-8 WANTED PERSON LOCATED                          1        N onc                COUN TY                COUNTY




                                                                                           PLAINTIFF-002979(UI&S)
                         Case 1:20-cv-05233-SEG Document 115-17 Filed 01/18/24 Page 3 of 58
                        DEKALB COUNTY POLICE DEPARTMENT                       Case #:

                                        GA0440200                          19-090533




                                                                                                                                                 -
                                                            ADDITIONAL VICTIMS
Name (Last, First Middle):                                                                                             Moniker:                   DOB:                         Age:                  Sex:              Race:         Ethnicity:
Dunn, Hailia Michelle                                                                                                                                          2003            16                    F                 B
Address                                                                                        Home #:                            Work #:                     Cell #:                 Email:

790 Flecther St Cadartown GA 30125-
SSN:                          Resident Status:                       HGT:        WGT:         Hair Color:                Hair Style:           Hair Length:             Eye Color:         OLN #:                                      State:
                              RESID EN T                             503         137         B ROWN                      STRAIGHT              ME D I U M               BLUE               0 6 0 9 3 52 2 3                            GA
Occupation:                                              Employer:                                                     Address:                                                                                    Employer Phone:


Victim Type:                                               Student:     Yes     No      If Yes, Name of Victim's School:                         LEOKA Activity Type:                             LEOKA Assignment Type:

                                                                            □    □
                                                                                 
I n d i v id u al

Injuries:   □     None □        Minor □     Internal □   Teeth   □      Unconscious     □    Lacerations     □         Bones   □       Other                                Used:     □   Drugs                □   Alcohol      □    Computer


SMTs:

Relationship To      (1)     STRANGER                            (2)                                             (3)                                           (4)                                       (5)
Offenders:           (6)                                         (7)                                             (8)                                           (9)                                       (10)

Offenses             (1)     1005                                (2)   N onc                                     (3)                                           (4)                                       (5)
Involved:            (6)                                         (7)                                             (8)                                           (9)                                       (10)

Name (Last, First Middle):                                                                                             Moniker:                   DOB:                         Age:                  Sex:              Race:         Ethnicity:
D o u g l as v i ll e S h e r if f ' s O f f i ce
Address                                                                                        Home #:                            Work #:                     Cell #:                 Email:

8470 Earl D Lee Bl vd Dou g lasville GA 30134-
SSN:                          Resident Status:                       HGT:        WGT:         Hair Color:                Hair Style:           Hair Length:             Eye Color:         OLN #:                                      State:


Occupation:                                              Employer:                                                     Address:                                                                                    Employer Phone:


Victim Type:                                               Student:     Yes     No      If Yes, Name of Victim's School:                         LEOKA Activity Type:                             LEOKA Assignment Type:

G o vernment                                                                □    □
                                                                                 




Injuries:   □     None □        Minor □     Internal □   Teeth   □      Unconscious     □    Lacerations     □         Bones   □       Other                                Used:     □   Drugs                □   Alcohol      □    Computer


SMTs:

Relationship To      (1)     STRANGER                            (2)                                             (3)                                           (4)                                       (5)
Offenders:           (6)                                         (7)                                             (8)                                           (9)                                       (10)

Offenses             (1)     N onc                               (2)                                             (3)                                           (4)                                       (5)
Involved:            (6)                                         (7)                                             (8)                                           (9)                                       (10)

Name (Last, First Middle):                                                                                             Moniker:                   DOB:                         Age:                  Sex:              Race:         Ethnicity:


Address                                                                                        Home #:                            Work #:                     Cell #:                 Email:



SSN:                          Resident Status:                       HGT:        WGT:         Hair Color:                Hair Style:           Hair Length:             Eye Color:         OLN #:                                      State:


Occupation:                                              Employer:                                                     Address:                                                                                    Employer Phone:


Victim Type:                                               Student:     Yes     No      If Yes, Name of Victim's School:                         LEOKA Activity Type:                             LEOKA Assignment Type:

                                                                            □    □

Injuries:   □     None □        Minor □     Internal □   Teeth   □      Unconscious     □    Lacerations     □         Bones   □       Other                                Used:     □   Drugs                □   Alcohol      □    Computer


SMTs:

Relationship To      (1)                                         (2)                                             (3)                                           (4)                                       (5)
Offenders:           (6)                                         (7)                                             (8)                                           (9)                                       (10)

Offenses             (1)                                         (2)                                             (3)                                           (4)                                       (5)
Involved:            (6)                                         (7)                                             (8)                                           (9)                                       (10)




                                                                                                                                                                                          PLAINTIFF-002980(UI&S)
                      Case 1:20-cv-05233-SEG Document 115-17                                                                   Filed 01/18/24                     Page 4 of 58
                    DEKALB COUNTY POLICE DEPARTMENT                                                                                                     Case #:

                                     GA0440200                                                                                                     19-090533

                                                        INCIDENT VEHICLES
                  TAG NUMBER                              STATE              YEAR          V.I.N.                                           TYPE
    □ STOLEN      CLT6682                                GA                 2019           2C3CDXBG8K H667521                               2 OR 4 DOOR SEDAN (PASSENGER)
                  YEAR      MAKE                        MODEL                                       STYLE                  COLOR                     RELATED TO
    □ RECOVD      2019      DODG E                      CHARGER                                     SE D A N , 4 D O O R; G R EY
                                   MOTOR SIZE (CID)                           AUTO         MAN.                                INSURED BY
Ill SUSPECTS                                                         TRANS
                                                                              □            □
OWNER                                                                           ADDRESS                                                                                          PHONE
RU F F IN J A M E S                                                             3 2 00 T R O T T ER S W A L K C IR C L E . S N E L L VI L L E G A 3 0 0 7 8 -
INVENTORY        INVENTORY DATE                                 STORED AT                                    SECURED            DATE SECURED                           RELEASED TO OTHER

    □            10 / 1 0 / 20 1 9 5 : 3 0: 0 0 P M             S T A T E W I DE
                  TAG NUMBER                              STATE              YEAR          V.I.N.                                           TYPE
    □ STOLEN
                  YEAR      MAKE                        MODEL                                       STYLE                  COLOR                     RELATED TO
    □ RECOVD
                                     MOTOR SIZE (CID)                               AUTO            MAN.                                INSURED BY
    □ SUSPECTS                                                              TRANS
                                                                                     □              □
OWNER                                                                           ADDRESS                                                                                          PHONE



INVENTORY        INVENTORY DATE                                 STORED AT                                    SECURED            DATE SECURED                           RELEASED TO OTHER

    □
                  TAG NUMBER                              STATE             YEAR           V.I.N.                                           TYPE
    □ STOLEN
                  YEAR       MAKE                         MODEL                       STYLE                            COLOR                   RELATED TO
    □ RECOVD
                                     MOTOR SIZE (CID)                               AUTO            MAN.                                INSURED BY
    □ SUSPECTS                                                              TRANS
                                                                                     □              □
OWNER                                                                           ADDRESS                                                                                         PHONE


INVENTORY        INVENTORY DATE                                 STORED AT                                    SECURED            DATE SECURED                           RELEASED TO OTHER

    □
                  TAG NUMBER                              STATE             YEAR           V.I.N.                                           TYPE
    □ STOLEN
                  YEAR      MAKE                        MODEL                                       STYLE                  COLOR                     RELATED TO
    □ RECOVD
                                     MOTOR SIZE (CID)                               AUTO            MAN.                                INSURED BY
    □ SUSPECTS                                                              TRANS
                                                                                     □              □
OWNER                                                                           ADDRESS                                                                                         PHONE


INVENTORY        INVENTORY DATE                                 STORED AT                                    SECURED            DATE SECURED                           RELEASED TO OTHER

    □
                  TAG NUMBER                              STATE             YEAR           V.I.N.                                           TYPE
    □ STOLEN
                  YEAR      MAKE                        MODEL                                       STYLE                  COLOR                     RELATED TO
    □ RECOVD
                                     MOTOR SIZE (CID)                               AUTO            MAN.                                INSURED BY
    □ SUSPECTS                                                              TRANS
                                                                                     □              □
OWNER                                                                           ADDRESS                                                                                          PHONE


INVENTORY        INVENTORY DATE                                 STORED AT                                    SECURED            DATE SECURED                           RELEASED TO OTHER

    □
                  TAG NUMBER                              STATE             YEAR           V.I.N.                                           TYPE
    □ STOLEN
                  YEAR      MAKE                        MODEL                                       STYLE                  COLOR                     RELATED TO
    □ RECOVD
                                     MOTOR SIZE (CID)                               AUTO            MAN.                                INSURED BY
    □ SUSPECTS                                                              TRANS
                                                                                     □              □
OWNER                                                                           ADDRESS                                                                                          PHONE



INVENTORY        INVENTORY DATE                                 STORED AT                                    SECURED            DATE SECURED                           RELEASED TO OTHER>

    □


                                                                                                                                                                   PLAINTIFF-002981(UI&S)
                    Case 1:20-cv-05233-SEG Document 115-17 Filed 01/18/24 Page 5 of 58
                     DEKALB COUNTY POLICE DEPARTMENT                      Case #:

                                      GA0440200                        19-090533

                                            OTHER PERSONS
Involvement Type:                   Name (Last, First Middle):                                                      Moniker:                         SSN:
PARE N T                            Mo n t o u r A pr i l N i ch ol e
Address                                                                                                   Home #:              Cell #:                     Work #:




-
10 4 5 M or g a n R d C an ton G A 30 1 1 5 -
DOB:                   Age:         Sex:             Race:                Ethnicity:   Resident Status:       Hair Color:         Eye Color:                  HGT:      WGT:
          -1984        35           F                W                    N            RESIDENT               B ROWN              BROW N                      505       130
SMTs:


Email:                                                           OLN #:                                             State:         Used:
                                                                 05280 9559                                         GA             □ Drugs     □ Alcohol       □ Computer
Occupation:                             Employer/School:                                     Address:                                                 Employer Phone:



Involvement Type:                   Name (Last, First Middle):                                                      Moniker:                         SSN:


Address                                                                                                   Home #:              Cell #:                     Work #:


DOB:                   Age:         Sex:             Race:                Ethnicity:   Resident Status:       Hair Color:         Eye Color:                  HGT:      WGT:


SMTs:


Email:                                                           OLN #:                                             State:         Used:
                                                                                                                                   □ Drugs     □ Alcohol       □ Computer
Occupation:                             Employer/School:                                     Address:                                                 Employer Phone:



Involvement Type:                   Name (Last, First Middle):                                                      Moniker:                         SSN:


Address                                                                                                   Home #:              Cell #:                     Work #:


DOB:                   Age:         Sex:             Race:                Ethnicity:   Resident Status:       Hair Color:         Eye Color:                  HGT:      WGT:


SMTs:


Email:                                                           OLN #:                                             State:         Used:
                                                                                                                                   □ Drugs     □ Alcohol       □ Computer
Occupation:                             Employer/School:                                     Address:                                                 Employer Phone:



Involvement Type:                   Name (Last, First Middle):                                                      Moniker:                         SSN:


Address                                                                                                   Home #:              Cell #:                     Work #:


DOB:                   Age:         Sex:             Race:                Ethnicity:   Resident Status:       Hair Color:         Eye Color:                  HGT:      WGT:


SMTs:


Email:                                                           OLN #:                                             State:         Used:
                                                                                                                                   □ Drugs     □ Alcohol       □ Computer
Occupation:                             Employer/School:                                     Address:                                                 Employer Phone:



Involvement Type:                   Name (Last, First Middle):                                                      Moniker:                         SSN:


Address                                                                                                   Home #:              Cell #:                     Work #:


DOB:                   Age:         Sex:             Race:                Ethnicity:   Resident Status:       Hair Color:         Eye Color:                  HGT:      WGT:


SMTs:


Email:                                                           OLN #:                                             State:         Used:
                                                                                                                                   □ Drugs     □ Alcohol       □ Computer
Occupation:                             Employer/School:                                     Address:                                                 Employer Phone:




                                                                                                                                     PLAINTIFF-002982(UI&S)
                   Case 1:20-cv-05233-SEG Document 115-17 Filed 01/18/24 Page 6 of 58
                   DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                   GA0440200                        19-090533

                                              NARRATIVE
Officer ID/Name:                              Date:                               Approving Officer ID/Name:                         Date:
2 80 4              H il l m l                9/27/2019 10:00:00 PM               2435                         Bo b o r l
Title:               INITIAL REPORT



O n '9-27-19 w hil e ha nd li ng a fire ca ll lo cated at in the parking lot of the \nJe ndy's lo cate d at 4643 Memo ria l Dr I was a pp ro ached
 by Ms . A pril Montour. She was frantic as s he adv ised that her d au,ghter. Ms. Natalie Rivas was a nm aw ay j l.lv,e nil e a nd a ls o
 r,e portedly -kidnapp ed· a nd bein,g he l,d a,ga inst her w ill at the Mot el (U nite d Inn} 4649 Memorial Dr. Next d oo r to the l,o cation
w he r,e we we r,e at. I ,attempted to ,get as uc h info rmation as I c oul,d fro he r as she we nt o n to say th at Natali,e was first in ,a
,grou p ho e. Murphy Ha rpst located in C edar Co untyGeor,gi,a . O n S epte ber 17th 20 1'9.

She adds that she w as o nly the re for the sp an of four days w he n she ra n away a nd a re port.was the n fi le d thr,ou,gh ati onal
C enter fo r Missing a nd Ex plo ited Ch ild re n ~case # 136'9087}. She the n we nt o n to state that the re was also a n FBI fi le a nd ,case
th,at we nt a lo ng w ith the initi al ,ca ll. Ms . Mo ntour s ays that Nata li e was posting photos o n social edi,a a bout being w ith a black
male o nly ide ntifie d by his last na e · R uffin· .and lnstag ra .ac count · sli mdun kinruffin· along w ith two othe r j uve nil e fe ma les .
S he says that he d rives a black Dodg,e C harge r th at w as s upp osedly see n in the rea r of the Motel by Ms . M,o ntour. Ms . M,ontour
adds that she d id not know w hat roo they w,e re in but the last post that w as see n was that of Natalie a nd ,a nothe r fe male
saying thatthey we re e,ating at the We ndy's. w here we we re . .and that they we re ,go ing bac k to the hotel. Ms. Montour adds that
th is informatio n was being passed ,a long foo a th ird party w ho was a lso ,a j u,,e nile fe ale of w ho s he sus pects was being
· r,e,,cru ite,r. The unknow n fe ale the n passed th is informahon to, Ms . M,o ntour as she was then prov iding updates to, me.

Ms . Mo ntour stated that · Ruffin· w as see n ,on his post w ith w ea pons , na r,c otics a nd eve n show n pictu r,es ,of hi I ly ing in the bed
w ith Natalie .and ,oth,e r j uv,e nil e fe males . She ,assl.l ed that · Ruffin· was a r ed a nd da ng,e ro us d u,e to the post that he was
s hown in. S he adds that he was eve n see n d riv ing ,a black Dodge C har,ge r in a few of his post w ith th e j uve nile 's fe males as
pa ssenge rs . Ms . Monto ur says that Natalie has stated that s he w ants to le,ave the otel a nd get ,away fro · Ruffin· · butthey
w on't l,et her·. They w,oul,d not a ll ow h-e r to ,c o    ,un icate-w ith a nyo ne but othe r g irls . Ms . Montol.l r ,continu,e d to-add that it was
i porta ntthat we get · Ruffin· in to- c ustody a nd re cov,e r atalie beca use-they w ere· stating that · Ruffin· was s upp osed to- be-
taking the o ut of the state.

 I the n ra ised d is patch e d a nd a lerted the     of w hat I was o ut ,o n a nd to sta rt       e add itio na l un its to start a perimeter o n the Mote l.
As un its qu ickly a rriv,e d. Ms. Monto ur state,d that an undated post to the unknow n fe male stated that they w ere cl ea r that the
polic e w ere a r,o und th e otel. They we re then to eet w ith her a t the Q uick Trip, located ,on N. Ind ian C r,ee k and .Decatur Rid .
I the n adv ised if Ms. Montour c ou ld sti ll see the Dodg,e C ha rge r and s he stated that s he just saw o ne le.ave th e p,arking lot a nd
,go ,east o n Me orial Dr towa rds that sa me d ir,e ction.
 I the n r,a ised the S pecia l V idi rns Unit a nd a le rted Det. Benton w ho is w ith Inte rnet C rimes ,aga inst C hil dr,e n Unit. I adv ised
the m of eve ryth ing that was taking plac e. They we r,e th,e n pr,ov id ed w ith photos fr,om Ms. Montour ,of Natali,e a nd a photo, of
· Ruffin· . Ms . Mo ntour th en r,ece ive d a n update that Nata lie was l,e.aving the QT a nd he,ad ing to the Burg,e r King that was d irectly
ac ross th e str,eet fro ,our lo cation.

\nJe th en w itnesse d a newe r mode l blac k D,od,g e Cha r,g,e r id li ng in th,e p.a rking l,ot of the Bu r,ge r Kin,g . As un its beg.an to g et d ose
th,e v,e hid e the n s ped off towa rds Memo rial Dr a nd 1-2,85 . It was unknow n if th is was ,g o ing to be the ve hid e at the time. Ms .
M,ontour th-e n g.ave a n,othe r update that stated th at they we re next to th,e Bur,ge r King at a servic e stahon a nd wa iti ng fo r he r in a
l.a r,ge w hite S UV. Ms . Montour the n lo oked up a nd a le rted me that s he th inks that she sees N.atali-e in the p,arking lot of the C itco-
G as Station locate d at 4640 Memo ria l Dr. \n,ile.arin,g a w hite blac k a nd re d fla nnel s hirt w ith a w hite s hirt unde r it and kh a ki p-a nts.
S he th en stated th at s he was w ith a nothe r y,oun,g w hite fema le w ho w as w,e.a ring sho rt s h,orts a nd a ,g ray swe.ater.

As I loo ked I c ould see the two fe males in the p,arking lot. I then we nt a,c ross traffi,c .and made c onta,ct w ith the two fe ales as
they ,attempte d to- wa lk away foom me. I aske d Natalie if her na me was N,atalie . S he re plie d · No , that's not my n,a me· . The
second fe ale, later id entifie,d as being Ms . Ha i li e Dunn stated that she as l7 yea r o l,d. I the n as ked if they had ID o n th em and
they state,d · No· . Ms. Dunn then stated that s he was go ing to go to the ro o w here her o was ,a nd get it. I the n g ra bb e,d both
females by the bac k of th-e ir s hirts a nd advised the th at they w ere ,g,o ing to wa lk w ith e a nd th at they we r,e being d etained. As
I began to wa lk closer to Ms . Montour w ho was stand ing in th e parking l,ot ,of the \nJiendy 's she bega n to say · Natali e w hat
we r,e yo u thinking· .

I notice d th.at Natali-e had seve ra l bru ises co-v,e ring he r neck a nd ,g,o ing d own to he r ,ches t. After se,,cu ring both fe ma les in the
r,ea r of y poli ce ve hicle . I the n s aw that Ms . Dunn w as te-x ting so eone . I then attempte,d to-re move the phone fr              he r ha nds
as s he the n bega n to clutch the phone . S he was advised to let the pho ne ,g o a nd that she c ould not use it at th is ti me. Still
ho l,ding th e pho ne w ith a ti ghter g rip, the n befo re Ms . Dunn stated th at s he was · texting h,e r ,case wo rk,e r to ,c o e and g,et he ( . I
then r,e move d the pho ne fro h,e r ha nds a nd plac ed it in th,e fro nt s eat of y polic e ve hid e. I th en r,o ll ed the w indows dow n a nd
secured the doo rs.
D,et. Benton the a rrived as I briefe d him o n the ,outco me. I the n as ked Ms . Dunn w ho they w ere riding w ith. She stated th at
th ey d idn 't know the guy but he was ·a big blac k ma le wea ring a blac k shirt a nd d riving a n o lde r big w hite SUV-. I saw that the
w hite S UV that they w ere s ee n wa lking fro was still in the pa rking lot but it was adde d that th is was not the sa e S UV. I the n




                                                                                                                                   PLAINTIFF-002983(UI&S)
                   Case 1:20-cv-05233-SEG Document 115-17 Filed 01/18/24 Page 7 of 58
                   DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                   GA0440200                        19-090533

                                            NARRATIVE
Officer ID/Name:                             Date:                          Approving Officer ID/Name:                   Date:
2 80 4              H il l m l               9/27/2019 10:00:00 PM          2435                         Bo b o r l
Title:               INITIAL REPORT



,oonti nue<l to spe.ak furthe r w ith Det. Benton as I notice d Nata li e atte pti ng to, pl.ace he r a rm throu,g h the midd le ,oa,g e to reach
the phone as s,omeo ne was ,ca lli n,g it. I the n cl osed the idd l,e pane l to- the ca,ge .

After ,gathe ring fu rthe r information Det. Benton was able to fi nd the ro om that they w ere stay in,g in. After spea kin,g w ith the lobby
he was provide d the roo nu ber as we atte pted to- oo nd uct a kn o ck a nd talk w ith a nyone that i,g ht be in the ro om. It w as
stated th at the same - Ruffi n· su bje ct was the sa e one w ho re nted the r,o om a nd s,een d riv in,g a bl,ac k D,od,g e C ha r,g,e r.
As I wa ite,d for Det. Benton to, getfu rthe r information o n the -Ruffi n- su bj e ct I ra n both fe ales in the N.ational C rime Informatio n
C enter syste . Ms . Dunn was showing to be w anted ol.lt of Dou,g l.asville Co unty S he riffs Offic e for P,a ro le V io lation and issing
j uve nil e w ith a nationwide extrad ition (wa rra nt #1'9JV0 89 1}. S he was a ls o showing to missing and have pend ing wa rr,a nts o ut ,of
C layton Co unty S he riffs Offi ce . atalie was showing to be a issing person out ,of C he ro kee O ounty She riffs Offioe (wa rra nt
#028 1'9J04 33}. I a lerte d y d is pa tch ,of the ir status. Ms . Dll nn was oonfir e<l by O perator Oox and Natalie was oonfir e,d by
O perator Ca ugh man.

I the n met back w ith Det. Benton as w e we nt to- th e ro o w hich was state,d to be w he re Ms . Dunn a nd Natalie we r,e - being
he ld- . As w e kno cked the r,e was no a nsw e r. I the n sto od at the d oo r as Det. Benton I-eft.to ,obtain a s,ea rc h wa rra nt for the
lo cation . \•Jh il e wa iting it was stated that Ms. Mo ntour prov ided Na ta lie a nd Ms . Dunn w ith fo od a nd d rinks. Sho rtly after Det.
Benton ,ca e b.ac k w ith wa rra nt in ha nd . \oJe then kno cked ,a,ga in a nnounc ing th at w e we r,e the D,e Ka lb County Po li,ce
D,e pa rtment. After making seve ra l kno cks a nd a nno uncin,g ou rselv,es ther,e was sti ll no ,a nswe r. A aster key th at w as ,o btained
fro the front lobby was the n use,d to ,ga in aocess in the lo cation . There wa s no othe r su bje cts in the lo cation . I the n returne,d to
my ve hicle a nd Offi cer B,.K. Anderson an,d I the n tr.a nsporte<l Ms . Dunn a nd Natali e to the De K.alb Col.l nty Headq ua rters w he re
they w,e re to be spoke n w ith further by dete ctiv,es in r,efere noe to th e call. D,e puty ,o ung w ith the D,oug lasvill,e County S he riffs
Office a rriv,e d to- the location to stand by .a nd tr,a nsport M.s Dunn to Ro e G eo rg ia d ue to-the oonfir :ation .

 Med Unit # 4 16 r,es ponded to, He,adqu arters to ,ex,a m the bru ises on victi        Natali,e Ri,,as neck.


 Body \•J,o rn Ca     era was o n d uring th,e stop.




                                                                                                                       PLAINTIFF-002984(UI&S)
                   Case 1:20-cv-05233-SEG Document 115-17 Filed 01/18/24 Page 8 of 58
                   DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                   GA0440200                        19-090533

                                               NARRATIVE
Officer ID/Name:                                Date:                    Approving Officer ID/Name:                  Date:
3451                Lane c d                    10/10/2019 6:37:42 PM    3043                         P aske t w     10/10/2019 8:36:29 PM
Title:               S U P P LE M E N T A L N A R R AT I V E



Repo rt Date : 10/1 0l20 19 1.8 :37 :12
R,e po rting Officer: 345 1 - Lane ,c ,d
A pp r,ov ing Offic er: 3043 - Pas ke t w

    O n O ctobe r 10 , 20 1'9 .at a pp roxi ate ly 5 :0 0 PM I, Offic er La ne #345 1 , a lo n,g w ith the rest ,of th e East Pre ci net ET tea
Task Fo rce was assisting Dete ctive Benton w ith the eXiecuti on of active a rres t wa rr.ants for Mr. Ja es Ruffin (12/0411'9'9 1). Mr.
Ruffi n was known to attem:Je d d asses at the G eo rg ia Pie dmo nt Te chn ica l Co lle ge located at 6720 Ma rbut Rd . At app roximately
5 :15 P'M underoove r un its stati one d at the oolle,ge o bserve d Mr. Ruffin arrive at the location in ,a g rey in oolo r Do dge Cha rge r
bea ring GA. plat C LTfr682 .

   Once Mr. Ruffin had exited the ve hicl e, NET un its ove d in . Mr. Ruffin was ta ~en into custody w ith,out inc ide nt. Mr. Ruffin 's
ve hid e was i pounded by State \nJide incide ntto a rrest. Mr. Ruffin was the n tr,a nsporte d by my un it to be q uestioned at De Kalb
Co unty He,adqua rters. He was then tra nspo rted to De Kalb County Ja il under his ,cu rre nt wa rra nts.

    My Body Ca mera was activated du ring the a rrest ,a nd ,du ring tra nsp ort. Go pi es of the w arra nts we re provided to the Ja i I. The
\nJa rra nts had not bee n put in the system yet so they d id not need to be oo nfir e,d ,ov,e r the ra,dio by the wa rra nts offic e.




                                                                                                                    PLAINTIFF-002985(UI&S)
                                 Case 1:20-cv-05233-SEG                                                    Document 115-17                                             Filed 01/18/24                                    Page 9 of 58
                            DEKALB COUNTY POLICE DEPARTMENT                                                                                                                                        Case#:
                                                                            GA0440200                                                                                                      l2-011117J.J
                                                                   INCIDENT REPORT
      nadl!nt Tl!)e:                                                                                                                              Gounts              nadentCO<II                          ONense NISdlc1lan                        rv,est Junsdcllol1
      16-10-25 (•1!!03) GIVING FALSE NAME, ADDRESS, OR BIRl IIDAI E                                                                                1                  f4803                                COUNTY                                   tOUNIY

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i     rrerriseType:
      HIGHWAY
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                                                                                                                                                                                                                                                              Loe Code:
                                                                                                                                                                                                                                                              561
                                                                                                                                                Incident Lccaliaft:
      S/7/2012 t:52:00 AM                          8/7/2012 1:52:00 AM                          8/7/2012 2:56:00 AM                             4649 MEMORIAL DR DECATUR GA
      Nane(ust, FinlMiddle):                                                                                                     Manier                                       DOB:                               Age:                      Se.:          Race:            Elllnicftr


      Achhss                                                                                                     Home#:                                Wot1< #:                                Cd#:                               &Nil:


      SSN:                           Resident StaluS:                       HGT·         WGT·            HairCafor                  Hair Sllle:                       Hair Le,,g1it                   EyeColor:                       OLN#:                               Stale:


      Clct&4Jation:                                         ~er:                                                        Address:                                                                                                                    Employ« PhOne:

~
~
      Voc:tim Type:                                                                Yes No       HYes, Nano al Vic1im'• Schaaf                                       LEOKAAchltyType:                                             LEO~A Assignment TYl)e:
                                                                    Sllldert
                                                                                    C 'l
      lrjllies:     □    None    -    Minot '7 Internal 7          Teel!1   r'
                                                                                                ,...,
                                                                                   Unconscious -'       Lacerations     D        Banes     D      Other                                            Used:         r      Dn,gs     7       Ala>hol   J     C~Uler
      SMTs:


      Re!ationsnic)To       11                                              {2)                                            [3)                                                   (41                                                    (5]
      Oflendm:              6)                                              m                                              (8)                                                   (9)                                                    (10)

      Ollen$OS              1)                                              (2)                                            (J)                                                   (41                                                    (5]
      ln'101ve,1:           6)                                              (7)                                            (8)                                                   (9)                                                    (10)

      N.,,.:                                                                                                                     Moniker                              DOB:                             Age:                       Su:                Raa,:          Elllnicily-
      BRAITHWAITE, MARIAH                                                                                                                                             --1995                           17                         F                  B
      Address:                                                                                                   HamePhOne·                          Wort. PhOne                               Cell Phone:                        Email:
      5266 LONG GREEN LN STONE MOUNTAIN GA 3008
      SSN:                           Resident Slalus:                       HGT          WGT             Hai'Calar                  HairSr,te:                        Hai' lenvtft                    Eye Colar                       OLNlt.                              Stall!:
                                                                            507           137                                                                                                                                         057640503                           GA
      0cc~aon:                                               Employer                                                    Ad,nss:                                                                                                                    ~loJlf PhOne.

a: UNKNOWN OR NO"! STA'!
I!:z SMTs:
~                                                                                                                     Offenses Involved:
I&.
0     1) 16-10-25           (4803) GIVING FALSE NAME, ADDRESS, C 4803                                                                  (21
      ])                                                                                                                                 (4)

      5)                                                                                                                                 (6)

      17)                                                                                                                                (8)
      9)                                                                                                                                 1rn1
            WANTED:
                        □ WARRANT· □
                                   D
                                     ARREST·
                                             1111              SUSPECT ARM£ll: N      WEAPON:                                                                                                                           Used.    LJ    Drugs L.: Alcohol .:J ~Uler

                  TOTAL NUMBER ARRESTED:
                                      VEHICLES
                                              ARREST AT OR NEAR OFfENSE SCENE:   Yes:        No:
                                                                                   CURREHCY. NOTES. ETC                          JEWELRY. PREC. METALS
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                    GCICENTRY
                                                   □ WARRANT                   □ \41SSING PERSONS                 □ VEHICLE                         □ ARTICLE                                    □ BOAT                               □ GUN                  □ SECl/RmES


 g~llDIN\IESTIGATIONINDICATETHATTHISINCIDENTWASDRUG-RELATED71F □ YES !II NO                                           O 1-Anl>hetaline 02-Barlillnle                                       D 3 -Cocaine D 4 • Hallucir1>gen                                  D s - Heroin
 ~~ES.PLEASE INDICATE TliE TYPf OF DRl/GiSJ USED BY OFFENDER
                                                                                                                      D 6 • Maj.ana    □ 1 - Melh~helanine                                 D s , 0pum 0 9 • Syn!heli: ~                                      D u. u_._
a:
i:lJ REQUIRED DATA AELDS
.J FOR CLEARANCE REPORT
                                         □ CLEARED BY ARREST □ EXCEPTIONALLY CLEARED □ UNFOUNDED                                                       DATE OF CLEARAHCE
                                                                                                                                                                                                             .                  □ ADULT □ JlNENILE
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REPORTING OFFICER                                                                                                     NUMBER                   APP!IOVING OFFICER                                                                                                   NUMBER
f L CHURCHILL                                                                                                    2895



                                                                                                                                                                                                                            PLAINTIFF-024272(UI&S)
             Case 1:20-cv-05233-SEG                Document 115-17              Filed 01/18/24             Page 10 of 58
            DEKALB COUNTY POLICE DEPARTMENT                                                    Case#;
                       GA0440200                                                            1:?-011871-l
                                      NARRATIVE
                                      Date.                                                                  Date


                INITIAL REPORT



On 8fln2 at 0152 hours while conducting a business check at 4649 Memorial Drive (United Inn Suites} I initiated a citizen
contact on a black female in the rear of the location. After infonning the subject of the local crime trends the subjedwili:%
provided her information (name and date of birth}. Ari NCIC check on lhe information provided (Diamond Williams              4)
yielded no results on NOIC. The suspect was detained for further investigation at this time and provided her correct
infonnalion. An NCIC check on the suspect. Manah Braithwaite. revealed she was wanted by the Dekalb County Sheriff's
Office for Prostitution_ The suspect was arrested and charged with Providing False Name / DOB 16-10-25 and Iran sported to
the Dekalb County Jail without inc1denl Warrants wil l be secured later this date.




                                                                                                            PLAINTIFF-024273(UI&S)
                                    Case 1:20-cv-05233-SEG                                               Document 115-17                                              Filed 01/18/24                               Page 11 of 58
                               DEKALB COUNTY POLICE DEPARTMENT                                                                                                                                  Case#
                                          GA0440200                                                                                                                                     12-060544
                                                                     INCIDENT REPORT
      nadenl Type·                                                                                                                                   P)U'11S           noden1Cooe                     Ollel\SII JunSdlc1on                      ~eS1 Junsdr:tion
     )6-11-39.1 (5309) HARASSING PIIONE CALLS 16-11-39. 1                                                                                            1                6309                            COUNrY



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                                                                                                                                                                                                                                                           551

     5/30/2012 9:02:00 PM 5/29/2012 10:02. 00 PM5/30/2012 8:33:00 PM 4649 MEMORIAL DR 320 STONE MOUNTAIN GA
      Name {l;lsl F"nt Middle):                                                                                                   Moni<er"                                    DOB:                          Age:                      Su:            Race:             EthllCity:
      KNIGHT, HILLARY                                                                                                                                                                       1991            21                          F            w
      Adinss                                                                                                      Home#:                                 Wo,t#:                             Ct!#:                              Email:
      2969 SANDSTONE TRL SW MARIETTA GA
      SSN:                             ResidfflStaius:                       HGT·         WGT·           HairCdor-                   Haif Style:                       1w Lengttt                   EY11Cdor                      OlNII:                               Slall:
                                                                             506           147
      Occvpalion                                             Err!>loY1!'                                                Address:                                                                                                                Employer Phone:

~
~ Individual
      VldimType:                                                                    Ye5 No       II Yes. Name ofVl:1lm"s School                                       LEOKA Ad'lily Type:                                    LEOKA Assignmenl Type:
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                     ~       None 'J                 Internal J              0      Unconscious D                       0                    r                                                             ,.,               'J
      l"uries:                           Muu C                       Teelh                             lacetalions                Bone,             O!her                                    Used:                 Drugs            AJcallDI D       COllllUle<
      SMTs:


      Relationsl,ip To         11   RELATIONSHIP UI\                         (21                                            (J)                                                  (41                                                (51
      Offenders:               61                                                                                           (8)
                                                                             (71                                                                                                 (91                                                (101
                               11 5309                                       (21                                            ())



     ~-:
      Offenses                                                                                                                                                                   (41                                                (51
      ln'olOIYe<I:
                               61                                            (71                                            (8)                                                  (9)                                                PO)
                                                                                                                                  Manilier                            DOB:                          Age:                     Su:                Race:             E111nici!y·
     UNKNOWN, DON                                                                                                                                                                                                            M                  u
     !Address:                                                                                                   Home Phone:                           W011<Phone:                         CdlPhone·                         Email:

      SSN:                             Residert S1a1Us-                      HGT          WGT·          Hair Coler                   Haif Style:                       Hair lenglh:                 EY11 Coler                  OlN#:                                  Stab!:
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      Occupation:                                             Employer                                                  Ad•ss·                                                                                                                  Empoyer Phone·
a:: UNKNOWN OR NOi" STAl
i
w
II.
      SMTs:


II.                                                                                                                  Offenoes IIW<n'ltd:
011                                                                                                                                       (2)
     31                                                                                                                                   (41
     5)                                                                                                                                   [6)
     tr)                                                                                                                                  (81
     9)                                                                                                                                   (10)
           WANTED        I          WARRANT
                                                   □
                                                   []
                                                             ARREST·       I I                     SUSPECT ARMED:           u                WEAPON:                                                               Used.   U      Drugs U        AlcDhol    r     ~uler
                 TOTAL NUMBER ARRESTED:                                      ARREST AT OR NEAR OFFENSE SCENE:                     Yes: □                 No:   iii
                                       VcHICl.£S                                   CURRENCY. NOTES. ETC                       JEWELRY. PREC. METAlS                              FURS
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i<               GOCENTRY
                                                    □ WARRANT                    □ MISSING PERSONS                □ VEHICLE                          □ ARTICl.£                              □ BOAT                            □ GUN                 D          SECURmEs


g   OIDINVESTlGATlONINOICATETHATTHSIINCIOENTWASDRUG-RElATED7lF □ YES Ill NO O 1-~hetanine
lslYES, PLEASE INDICATE THE TYPE OF DRUG{S) USED BY OFFENDER                Q
                                                                                                                                                     0 2- Bab!Ulllle                    0 l - Cocaine D 4 • Haluanogen                                  D 5• Heroin
                                                                              6 •Mziuana                                                             D 7 • Methan-!)hetaluno            0 B- Opiim 0 9 • Synthetic Natotic                              0 U• Unknown
a:
i1j REQUIRED DATA RElDS                    □ CLEARED BY ARREST □ EXCEPTIONAU.Y CLEARED □ UNFOUNDED
- ' FOR CLEARANCE REPORT                                                                                                                               DATE OF CLEARANCE                                                   □ AOULT □ JWENILE
0
REPORTING OFRCER                                                                                                     NUMBER                      APPRO\l!NG OFFICER                                                                                              NUMBER
N K POOLE                                                                                                        2992



                                                                                                                                                                                                                       PLAINTIFF-024274(UI&S)
                     Case 1:20-cv-05233-SEG Document 115-17 Filed 01/18/24 Page 12 of 58
                     DEKALB COUNTY POLICE DEPARTMENT                     Case#:
                                     GA0440200                       12, 0605-14
                                             NARRATIVE
Oft..,, 10:Name,                                               Appmwig Officer l~   e:


Title:                   INITIAL REPORT


On May 30, 2012. zit approximately2044 hours. I responded to 4649 Memorial Or. Zit the Uniled Inn & Suites. roam 320 in
reference to a harassing communications call. Upon arrival I spoke with the complaininl Ms. Hillary Knighl who advised me
tha t she has been receiving unw11nted messages regarding her performing sexu11I acts in exchange fur money via handwritten
me:5$ages and telephone.
           Ms. Knight advised the written message w11s placed on her door on Tuesday. May 29. 2012 between 1900 houre 11nd
1930 hours The phone calls started on Tuesday. May 29. 2012 around 2100 hours and she received the fast phone call on this
date around 2000 hours.
                   Ms. Knight wzis given a case number.




                                                                                                    PLAINTIFF-024275(UI&S)
                               Case 1:20-cv-05233-SEG                                                Document 115-17                                            Filed 01/18/24                                 Page 13 of 58



                               DEKALB COUNTY POLICE DEPARTMENT                                                                                                                                  Case#:
                                          GA0440200                                                                                                                                     14-071126
                                                                      INCIDENT REPORT
       nodentT,i,e                                                                                                                                  ,::Ounts           nadentCode                        Offense Junsd~n                             "'1•S1 Junsdicbon
      [6-6-9 (4004) PROSl l'I U rION 16-6-9                                                                                                          l                 ~004                              COUNTY                                      ~OUNTY



I       ~Type:
      tJnilcd Inn & Suilcs
          118 Re!Jort                                 lncidenlSllft
                                                                                         Weapon Type:


                                                                                                 lnciclenl End:                                    Incident Locaon:
                                                                                                                                                                   FO!Qble:
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                                                                                                                                                                                            Stranger To Stancp:
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           /16/2014 5;36:00 PM 7/16/2014 5;36:00 PM 7/16/2014 6:30:00 PM 4649 Mcmorfal OR 326 Dccalur GA
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       AdG'ess                                                                                                     Homell:                               Wortll:                            Cel II:                              Emal:

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                                                                                                 tr Ye,, Name ol \lictnfs Schoal                                    LEOKA AciMly T,i,e:                                         LEOKA Assignment Type:


       Injuries:
       SMTs:
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       Relationship To         I)                                           (21                                              (3)                                                  (4)                                                   (5)
       Ollendefs:              6)                                           (7)                                              (6)                                                  (9)                                                   pO)
       Ollenses                1)                                           (2)                                              (3)                                                  (4)                                                   (5)
       Involved:               6)                                           (7)                                              (8)                                                  (9)                                                   (10)
      ~:                                                                                                                           Moni~                               008:                           Age:                       Se,:                 Race:          Etmitilr
      Duff. Janine Andrea                                                                                                                                           . .1986                           27                         F                    R              N
      ~dreu:                                                                                                       Home Phone:                           Wort Phone:                     Cell Phone:                            Emal:
      2488 Lakewood AVE Atlanla GA 30315-
       SSN:                            Resident Stalls:                     HGT           WGT            Hair Color.                 Hair Sl)te:                       Hair length:                   Eye Color                    OLN11;                                 Slate:
                                       RESIDENT                             504           160            BLACK                       STRAIGHT                          LONG                           BROWN                          D100-421-86-963-1 FL
      O=i,alion:                                               Employer-                                                  Address:                                                                                                                   Employer Phone:
a: UNKNOWN OR NOT srAT
~ SMTs:
zw
IL                                                                                                                     Offenses Involved:
IL
0 1) 16-6-9 (4004) PROSTITUTION 16-6-9                                                                               4004                (2)
      3)                                                                                                                                 (4)
      5)                                                                                                                                 (6)
      fl)                                                                                                                                (8)
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                TOTAL NUMBER ARRESTED:                     l                ARREST AT OR NEAR OFFENSE SCENE:                       Yes:.                  No:   I l
                                       VEHICLES                                   CI.RIRENCY. NOTES. ETC                       JEWELRY. PREC. METALS                             FURS
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                   GOCENTRY
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g 010 IN\IESTIG,l,TION INDICATE THAT THS INCIDENT WAS DRLJG.RELATED7 IF O YES 11B NO 0 1 • ""1lhetanine D 2 • Bnturate
~ !Yes, PLEASE INDICATE THE TYPE OF ORIJG(SJ USEO BY OFFENDER                        D
                                                                                                                                                                                        0       J - Cocane         D 4 • lliluanogen                       D s - Her0111l
                                                                                                                             6 •Ma,uana             D 7 -Me111a!'4)hetnine              D s- opu.rn                0 9 • Synthe1j; ~                      D u. Unknown
er:
~ REOUtRED DATA FIELDS
_, FOR CLEARANCE REPORT
                                          Ill     CLEAREOBYARREST □ EXCEPTIONA!.LYCLEARED                            □ lJNFOUl'flEO                      DATE OF CLEARANCE              07-16- 2014                          Ill     AOA.T           □ JlNENILE
0
REPORTING OFFICER                                                                                                      NUMBER               APl'ROVING OFFICER                                                                                                     NUMBER
~ MCCOWN                                                                                                          2722




                                                                                                                                                                                                                   PLAINTIFF-024276(UI&S)
                   Case 1:20-cv-05233-SEG         Document 115-17                      Filed 01/18/24       Page 14 of 58


                    DEKALB COUNTY POLICE DEPARTMENT                                                   Case#:
                               GA0440200                                                           J.J -07 tl!6
                                        NARRATIVE
Officer IDIName.                                                     ApPfO""'W Officer 1D1Ni111e


                       INITIAL REPORT


 On Wednesday. July 16. 2014, the OeKalb County Police Depertmenrs Vice Unit conducted a police operation targeting
 females that engage in acts of prostib.Jbon by advertising escort services on backpage.com_ Al approximately 5.36 PM I called
 a femzile that posted an advertisement on backpage.com. The first picture of the ad was of a 1DplC$8 black female expoising her
 breasts but covering her nipples with her hands The female was later identified to be Ms- Janine Duff.
    I called Ms. Duff and said lhat I wanted to spend thirty minutes with her. She said okay and told me ttu1t she was in a hotel
 on Memorial Drive near Interstate 285_ I asked her exactly where she was and she IDld me that she would text me her address_
 As soon aswe got of the phone she text me. "United In 4649 memorial drive deCl!llurga 30032." That as the address to the
 United Inn & Suites. a hotel on Memorial Drive
    About thirty minutes later I Cl!llled Ms. Duff and told her that I was driving into lhe parking lot of the hotel. She told me that
 she was in Room 326.
    Approximately three minutes laterl knocked on the door. and Ms_Duff. the same person that was feab.Jred in the
b11ckpage.com advertisement answered the door wearing lingerie I entered the room and Mtt_ Duff told me that thirty minutes
of her time would cost me S60 I said okay and took out three twenty dollar bills from the Official DeKalb County Investigative
Fund_ I asked Ms. Duff I could have · everythin1t for the S60 and she said yes. She then asked me whall meant by everything.
and said thatshe didn't have anal sex_ I said. "Okay. head and pussy then?" She sai d yes. (rtead" and "Pussy" means Oral
Sex and Vaginal Sex respecbvely_)
    Ms. Duff then said that I was paying for her time and companionship_ \'Jhile we were miking I sawn dresser drawer full of
condoms_
    I hended Ms. Duff lhe three twentyd01l11rbills and she put them in her dresser drawer Shortly after she took the money she
was taken into custody for the crime of prostitution.
    Detective M Johnson. #2183. found the money that I gave Ms. Duff in the top dresser drawer amidst the condoms. Sgt H L.
Brannon. #1911, was in the room and saw two fifty dollar bills behind the television. Ms. Duff said that she wanled to take her
money with her ID jail. and SgL Brannon thought that she meant that money_ He picked up two fifty dollar bills and knew
immediately that they were counterfeit due ID the texture of the money_ He looked at the serial numbers on both fifty dollar bills
and noticed that they were both the same.    is     60911663A."
    Sgt. Brannon asked Ms. Duff where she got the money from She said that she received the money from one of her dients.
who passed rt off on her_ Sgt Brannon took possession of the money and gave itto De!Bctive McCown. It was placed into the
property room as evidence.




                                                                                                             PLAINTIFF-024277(UI&S)
                          Case 1:20-cv-05233-SEG                                                  Document 115-17                                             Filed 01/18/24                                       Page 15 of 58


                         DEKALB COUNTY POLICE DEPARTMENT                                                                                                                                      Case#:

                                    GA0440200                                                                                                                                           H-073678
                                                                 INCIDENT REPORT
      nodr!Type                                                                                                                                     COunlS             ,..._,ntCDa                     Olfonsa JunsdicllOn                         ~es1 JunsdctJon
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      i,a~                                                                                                                                        Incident location.
      11/23/2014 3:25:00 PM 7/23/2014 3:15:00 PM 7/23/2014 3:20:00 PM 4649 MEMORIAL DR 239 DECATUR GA
      Nano {Last. FntMidclo):                                                                                                   Monil<er                                       DOB:                            Age:                      Sei:           Race:             Elllnicity
       SAMUELS, DAMEKIA BRENDA                                                                                                                                                 --1995                          19                        F              B                 N
       Adcnss                                                                                                    Home#:                                  WOlt#:                            Cel#:                                 Emai:
       3908 PINEHURST VALLEY DR DECATUR GA 30034-
      SSN:                       Resident SllllllS:                       HGT          WGT            HairCokr                      Hair Style:                        Hair Length:                 Ero Color                       OL.N#:                                Stall!:
                                 RESIDENT                                 501           156           BLACK                         WAVEY                              MEDIUM                        BROWN                          057987333                             GA
      Occupnan.                                           en.~                                                       Address;                                                                                                                      Emplorer Phone:

~

~ Individual
       V1t1n1Tr11e                                                              Yes No        II Yes. Nane ol Vclil'l\'S Sc:nool                                      LEOKAl4:MyTr11e:                                          lEOKA Asslgnmen1Tr11e:
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      SMTs;


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      Olfonden:         ~6)                                               (7)                                             {BJ                                                    (9)                                                    (ID)

      Olh,nses          ~ll 4004                                          (2)                                             (3)                                                    (4)                                                    (5)
      '"""ved:          k6J                                               (7)                                             (8)                                                    (9)                                                    (ID)
      INane:                                                                                                                    t..loniw-                             DOB.                           Age:                        Se,:              Race:              EthniCill'.
       Unknown
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      SSN:                       Res.tent Status:                         HGT          WGT            HairCdor-                     Hair Slyle:                        Hair Length:                 Eye Color                       OLNII:                                s~
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      Occupation:                                         Effll)loyef-                                                Adcnss:                                                                                                                      Efl1)loyer Phone:
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It                                                                                                                 Offenses lmolved:
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      3)                                                                                                                                (4)
      5)                                                                                                                                ~
      7)                                                                                                                                1a;
      9)                                                                                                                                (10!

                      □                       □
           WAM'ED:              WARRANT                   ARREST         I I                     SUSPECT ARMED·            y                 WEAPON. MANOS                                                            Used·     1 Drugs C           Alcohol C         Cofl1lutl!r
              TOTALNUMBERARR£STED: [ ]                                   ARREST AT DR NEAR OFFENSE SCENE                         Yes. □                  No: -
                                 VEHICLES                                       CUIRENCY. NOTES. ETC                            JEWELRY. PREC. METAI.S                           FURS
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                  GOC ENTRY                     □ WARRANT                     □ MISSING PERSONS                  □ VEHICLE                           □ ARTICLE                               □ BOAT                              □ GUN                     □ SEDJRmES



lsgDID INVESTIGATION INDICATE THAT ntS INCIDENT WAS DRUG-RELATED? IF O YES II NO 0                                                                   0 2-Bartlltllllte                  0                          D 4 • Hallucinogen                      D s- Heron
                                                                                                                           t • Afl1)helamne                                                      l • COcane
   ~ES. PLEASE INDICATE THE TYPE OF DRUG($) USED BY OFFENDER                                                       □
                                                                                   6- M~uana                                                         □ 1• Me~hetamine                   0        8 , 0pi1111       0 9-Synthetic~                          D IJ· Unknown
:in::_, REOOIRED
        FOR CLEARANCE REPORT □ CLEARED BY ARREST □ EXCEPTIONALLY CLEARED □ UNFOUlllED
                 DATA FIELDS
                                                                                                                                                         DATE OF CLEARANCE                                                 □ ADIA.T □ JVYENILE
0
REPORTING OFFICER                                                                                                  N\JMBER                    APPRO\IING OFFICER                                                                                                  NUMBER
N H WILLIAMS                                                                                                 2735




                                                                                                                                                                                                                   PLAINTIFF-024278(UI&S)
                 Case 1:20-cv-05233-SEG           Document 115-17                 Filed 01/18/24    Page 16 of 58


                  DEKALB COUNTY POLICE DEPARTMENT                                               Case#
                             GA0440200                                                        14-071678
                                      NARRATIVE
Olker ID/Name:                        Date:                     Aj)proving Officer IDIN.rne


                     INITIAL REPORT


On 7/23/2014 zit 3 36pm I was dispatched to 4649 Memorial Or. United Inn and Suites room 239 for a rape czill

See supplemental report for further information




                                                                                                     PLAINTIFF-024279(UI&S)
                   Case 1:20-cv-05233-SEG        Document 115-17                    Filed 01/18/24      Page 17 of 58


                       DEKALB COUNTY POLICE DEPARTMENT                                             Case#.
                                  GA0440200                                                     )-1. 071678
                                       NARRATIVE
Qft',ce, IOIName                                                   Appnt,,119 Office< IO!Name


                        SUPPLEMENTAL NARRATIVE


Suspect::1 Street name "E". 30 year old. light skinned black male. Height 5' 10· 1s5-1701b1S dean shaved. short hair. tattoo on
                   4



left side of his face near or in hair fine. wearing a grey short sleeve shirt and green cargo shorts_
On 712312014 at 3 36pm I wai, dispatched to 4649 Memorial Dr. United Inn and Suites room 239 for a rape call I made amlZlct
with victim Damekia Samuels. who stated Sus pect#l raped her at 3:15pm. Ms. Samuels showed me her cell phone that had
text messages from susped#l The messagea read *(Him}Baby girl I want you to deep throat lhis drck and let your druel drop
down to my ballswhileyou rub them (Him) how about S50. (Her} kool. (Him) olc. (Her) where u atcuzim bymyseff~She said
when he gel there '1us dick was hard and he was ready to go·. Boeh suspect# 1 and Ms. Samuels took all of their own clothes
off. She asked him ifhe had the money. he staled I don't have itwilh me rt's in the car. I can go get it when were done. She said
•He had a condom ready and put rt on. He then forced me onto the bed and bent me over. faced down with my ASS in the air.
and my face shoved into the pillow He fucked me hard and fast He IStlJck his dick in!D me. NOT rrry ASS! MY VAGINA!" She
said it lasted only five minutes. He then !Did herl didn't know my account was over drawn and he had no money. She said he
,an !D the bathroom and flushed the toiJe l He got dres:sed real fast and ran out the door. She followed him but was unable lo
catch him. She then called the police. She had received anolhertextfrcm "E". •stating I don't have Che money now and thatl
will get U next time.ft She advised me that she only know him as "E" and that they had sex for money two other limes within a
months' time frame, prior ID this event Ms Samuels was seen by EMS but refused trealmenl She was given a case number
and instructions on how ID obtain a report
Med 79 responded l:ut did not transport SW DET Rus:sell #973 and Sgt l ove were notified and responded They made
conractwith Ms. Samuels for further investigation. Per Sgt l ove the report name was changed to p~rion




                                                                                                          PLAINTIFF-024280(UI&S)
                               Case 1:20-cv-05233-SEG                                            Document 115-17                                               Filed 01/18/24                              Page 18 of 58


                              DEKALB COUNTY POLICE DEPARTMENT                                                                                                                             Case#

                                         GA0440200
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                                                                                                                                                                                    15-07911,
                                                                 INCIDENT REPORT
      rw:ioen1Tn,e                                                                                                                              p)Unts             naclenlCode                    Oflt<1>e-
       6-6-9 (4004) Prostitution                                                                                                                 1                 4004                           COUNTY                                    ;:ouNTY



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      S/12/2015 2.00:00 PM 8/12/2015                                                         8/12/2015                                         4649 Memorial Drive Stone Mountain GA
      Har,- (ust Fnl Mldllt):                                                                                                 Morwr                                         DOB.                      Age:                       Su:            Race:           Elricity:
      State of Georgia
      Adcnss                                                                                                 Home#:                                  Wort#:                          Cel#:                               Email:
      Tucker Tucker GA 30084-
      SSH:                          Resldenl S-:                        HGT·          WGT·           HairCdar:                   Hait Style:                       Hairlenu,t,:              Eye Coler                     OLN#.                                Stall:


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      lrins:         ~       None     Minor      Internal D      ree111 0      Una,n$dous 0          Lacerations              Bones            Olher                                      Used:      .:l       Drugs
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      SMTs:


      RN!ionship To            11                                       (2)                                             {3)                                                   (')                                               (5)
      Oflendefs:               6)                                       (7)                                             (8)                                                   (9)                                               (10)

      OlleflSt1                1) 4004                                  i21                                             (J)                                                   i4)                                               (5)
      i.r..,lved:                                                                                                                                                             (9)                                               (10)
                               6)                                       171                                             181
      ,iane:                                                                                                                  MoMJ!t'                              DOB:                       Age:                       Sex:               Raai:           Elmicily·
      Smith, Tonisha Vernice                                                                                                                                     --1992                       23                         F                  B               N


                                                                                                                                                                                      •
      ~s:                                                                                                    Home Plicne:                            Wot.Phone.                      CtllPhone:                          Email
      1428 Stone Ray Drive Atlanta GA 30331-                                                                                                                                                               I
      SSN:                           Residenl S~s:                      HGT·           WGT           H;iirCdcr                   Hair Style:                       Hairle¢                   EyeCdor                        OLN#:                               Stale:
                                     RESIDENT                           507            175            BROWN                      UNKNOWN                           MEDIUM                    BROWN                          0588831109                          GA
      Occ,,p,lion:                                         ~                                                         Addle$$:                                                                                                               ~rPhone:
a::
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L&.                                                                                                                Offenses Involved:
LL.
0 1) 16-6-9 (400-1) Prostitution                                                                                 400-1                (2)

      J)                                                                                                                              (')

      51                                                                                                                              (6)




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      9)                                                                                                                              (10)

            WAHTI:D·     I          WARRANT·    I I       ARREST·                              SUSPECT ARMED·            N              WEAPOlt                                                                Used: '- Drll9$ ' > .tkohol '

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   YES PLEASEtNOCATETHETYPE Of DRUG!SIUSEDBYOFFENOER          □ YES
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u
REPORTING OFRCER                                                                                                   tfJMBER                  APPROVING OFFICER                                                                                               t-UIBER
Schofield t s                                                                                                2876                           Brannon h I                                                                                                 1911




                                                                                                                                                                                                           PLAINTIFF-024281(UI&S)
                  Case 1:20-cv-05233-SEG          Document 115-17                   Filed 01/18/24              Page 19 of 58

                  DEKALB COUNTY POLICE DEPARTMENT                                                           Case#·
                             GA0440200                                                                 15-07911]
                                       NARRATIVE
Officer ID/Name                        Dal!                         Approw,g Officer D/Nane                          On!
2876                Schofield I s      8/13/201 5 6 30·00 PM        1911                      Brannon h I
                     INITIAL REPORT


On the afternoon of August 12. 2015 The Del<z!lb County Police Vice Unit conducted a prootitution openition at4649 Memorial
Drive (United Inn and Suites Hotel) While working in an undercover capaaty along with Officer c_King #2984, I (Detecbve TS.
Schoti eld #2876) made contact with a female via telephone after foca ling nn advertisement on website "backpage.com_• The
backpage advertisement displayed exotics picture of a black female and telephone number (                          listed underneath.
    Upon myself and Officer C King #2984 meeting the female later identified ao (Tonishn Smith) Ms Smilh and I conversed
verbally and through text via telephone about meeting up. The conversation entailed when she would b e available. where she's
located. prices of her servicee. etc. Ms. Smith advised that she was located at 4649 Memorial Drive (Unrted Inn and Suites in
room #101). In addition, she wou ld be available at 4 0Op m and for an hour ofsexual intercourse the price would be 5150 (for
two people).
    1told her verbally that I would be bringing my boyfriend and that I would call her once we were approaching the exit
Approximately 15 minutes later, I called Ms_Smith via cellular phone and told her that we were approaching the hotel. Ms.
Smith Gtated that she WH m tniffic due ID an accident and that she would be at the hotel sho,Uy. She later texted via telephone
asking kind of vehicle I was driving and stated that she was in a silver Honda.
    Moments later. Officer C. King #2984 and I observed a gray Honda Accord occupied by two females coming from the rear of
the hotel The female on the passenger side (Tonisha Smith) waved her hand and exited out of the vehicle. Ms Smith walked
towards our veh1de as Officer C_King and I were exiting the vehicle. She stated "Hello" to the both of us and apologized fur the
delay. We all walked towards lhe hotel room door that displayed 101. Upon arriving. Ms. Smith could not locale the room key.
therefore: she slated ·Please don·t leave have to go ID the front office to get another key: I rephed. "Ole. not a problem." She
later wnlked back to the hotel room with Z:l key and opened the door Both Officer C King and I proceeded ID walk inside the
hotel room
    I aeked Ms Smilh what WH off hmils regarding the sexual encounter. She stated. ·Nothingr I replied. "Ok great!" She
stated. 1 use a condom for everything including oral sex.· She confinned the price of S150 for an hour and I reached in my
pocket and gave her S160 {derived from Del<z!lb County Investigative Funds). Ms. Smith sta ted. "Gel ccmmrtable, and let me
tum the air on for yall" She asked, l)o yall smoke? I fike to smoke weed · , responded. "No· She staled. -You are so beautiful
and yall both look so professional." I replied. "Thank-You'" I stated. •tfo all for his birthday." We wanted to do :something
different and exo!ic: She reoponded. 1h nothing wrong with thal t am glad yall found my ad ZJnd picked me· Ms. Smith
removed her clothing as we continued ID converse. Officer C. King and I walked towards the hotel door and took off our shoes.
    Shortly thereafter. the arrest team knocked on the door and Officer C King opened the door. Ms Srruth wzis taken into
custody without incident and transported to DeKalb County Jail Intake where she was lodged under the charge prostitution
(warrant number 15-079333)




                                                                                                                 PLAINTIFF-024282(UI&S)
                           Case 1:20-cv-05233-SEG                                                   Document 115-17                                                Filed 01/18/24                                  Page 20 of 58

                              DEKALB COUNTY POLICE DEPARTMENT                                                                                                                                       Case#·
                                         GA0440200                                                                                                                                         15-0H-1321!
                                                                  INCIDENT REPORT
       nademType.                                                                                                                                       ~•nts             nadenlCode                        Offeftse .M1$dlt110n                       ""'esl Junsdit1Jon
            6-6-2 (110-1} Aggravated sodomy                                                                                                              1                110-1                             COUNTY
        6-R--H (1207) Armed robbery - residence - gun                                                                                                    1                ~207                              COUNTY


I     116-5-21 (1314) Aggravated assault - gun
      t'lem<seTn,e:
      RESIDENCE
      DaRepcot                                    lnc:idenlStat
                                                                                       W,apon Tn,e:
                                                                                       01
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                                                                                                                                                                     Fortible:
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                                                                                                                                                                                                            COUNTY
                                                                                                                                                                                                S1ran90t To Shlger               Hall Molivall!d:
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                                                                                                                                                                                                                                                                 LocCode·
                                                                                                                                                                                                                                                                 560

      B/26/2015 8:38:00 AM 8/26/2015 8:30:00 AM 8/26/2015 8:37:00 Al\! 4649 MEMORIAL DR 120 DECATUR GA 30032-
       Nano (ust. f"nt Mldlle):                                                                                                     Monil<er                                     DOB:                            Age:                       Se,:             Rael!:         E1hnicity,
       RICHARDSON, BRITTENY ANTIONETTE                                                                                                                                                          1987             27                          F               B              N
       Adcnss                                                                                                        Home#:                                WOii<#:                              Cel#:                               Em.11:
       ~649 MEMORIAL DR 120 DECATUR GA 30032-
       SSH:                         Resident Status;                       HGT·          WGT·           HairCclor                      Hair Slyle:                        Hair Length:                  E,e Color:                       OLNII:                             State·
                                    RESIDENT                               50.J          135             BLACK                                                                                          BROWN                            053105423                          GA
       Occupllion:                                           Elr!Jloyer                                                  Address:                                                                                                                      Empoyer Phone.
~
~ Individual
       Voctim Type:                                                               Ye, No        IIYes. NameolVtnm's Scl!ool                                              LEOKA Activity Type:                                      LEOKAAsSlgnmenl Type·
                                                                   SIUdent
                                                                                  □ 0
       lnjws:     .e1    Nor,e C     Minot '.J
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                                                  Internal        Teeth                                La:eratiOns                  Banes              01hcr                                        Used:               Drugs              Aicot,aj    C    Corri,ier
       SMTs:


       Relationship To        11 STRANGER                                  (21                                                (3)                                                   (4]                                                    (51
       Offenden:              6)                                           (7)                                                (I)                                                   (9)                                                    (10)
       Offenses               11 1104                                      (2) 1207                                           (31    1314                                           (4] 1313                                               (5)
       lnvdved:
                              61                                           (7)                                                181                                                   (9)                                                    POJ
      N;rne:                                                                                                                        Moniker                              DOB:                           Age:                       Su:                 Race:            Etllnci1r
       rD 3089 15-084328, UNKNOWN                                                                                                                                                                       01               25        M                   B                N
      Li.dffls:                                                                                                  HomePhOne·                                Wcrt.PhOne:                      Cell Phone:                            Emal:

       SSN:                         Residenl Stau:                         HGT·         WGT·            H.. Color                      H.. Sljte:                         Hair length:                  Eye Color                    OLNII:                                 Stale·
                                                                           601          150             BLACK                          SHAVED                             MEDIUM                        BROWN
      Octuiiation:                                           Employer                                                     Adinss:                                                                                                                      Employer Phone:
a::
~ SMTs:
::t
w
tl:
0 1116-6-2 (1104)
                                                                                                                       Offenses lnvdved.
                                     Aggravated sodomy                                                                110-1                  (2)    16-8--11 (1207} Armed robbery • r~sidcncc • gun                                                                      1207
      3) 16-5-21         (131-1) Aggrav.itl!d assault • gun                                                           131-1                  (4)    16-5-23.1 (1313) Battery                                                                                             1313
      5)                                                                                                                                     {6)

      l7J                                                                                                                                    (IJ
      9)                                                                                                                                     (10)
            WANTED [      l        WARRANT       I I         ARREST       I l                     SUSPECT ARMEO:              y                WEAPON:         FIREARM                                                  Used:      ' Drugs D Al,:at,aj C Corri,ulef
               TOTAL NUMBER ARRESTED: ~                I                  ARREST AT OR NEAR OFFENSE SCENE·                          Yes: [         J         No:
                                    VEHICLES                                     CURREt«:Y. NOTES. ETC                            JEWELRY. PREC. METALS                             FURS
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& I
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~               OOC EHTRY                        □ WARRANT                   □ t,tSSINGPERSONS                       □ VEHICLE                           □ ARTICLE                               □ BOAT                            □ GUN                     □ SECURITIES
<
g2i   DID INVESTIGATION INOICATE THAT THS OCIDEHT WAS DRU~ElATED7 IF O YES
      ~ES PLEASE IP,(JICATE THE TYPE OF DRUG(SI USED BY Ofl'ENDER
                                                                                                         i. NO O 1• M'!Jhl!lamne D 2·8artli1lnle                                           D J, Cocar,e D 4• Halluc:ir-,gen                                  D 5 •Heroi~
                                                                                                               0 6-Maj.-         D 7• Me111ar4>helanine                                    D 8 • Opium 0 9 - S,ntt,etieti¥totic                              D U, Unl.nown
a:
~ REOUIRED DATA FIEtoS
...J FOR CLEARANCE REPORT
(,J
                                       D       CLEARED BY ARREST □ EXCEPTIONALly Cl.EARED                             □ UNFOUNOED                          DATE OF CLEARANCE                                                    □ ADI.LT □ JlNENILE
REPORTING OFFICER                                                                                                     NUMBER                   APPROVING OFFICER                                                                                                      MJMBER
Connors m a                                                                                                      3089




                                                                                                                                                                                                                     PLAINTIFF-024283(UI&S)
                Case 1:20-cv-05233-SEG    Document 115-17       Filed 01/18/24           Page 21 of 58


                DEKALB COUNTY POLICE DEPARTMENT                                     Case#

                           GA0440200                                              15-0RH21!
                           ADDITIONAL INCIDENT TYPES
Incident Type                                          Counts     Incident Code        Offense Junsdiction   Arrest Jurisdiction


~6-5-23.1 (1313) Battery                               1          1313                 COUNTY




                                                                                         PLAINTIFF-024284(UI&S)
                     Case 1:20-cv-05233-SEG                                     Document 115-17                                          Filed 01/18/24                         Page 22 of 58



                   DEKALB COUNTY POLICE DEPARTMENT                                                                                                                       Case#

                              GA0440200                                                                                                                             15-08-1'28
                                              ADDITIONAL OFFENDERS
Name:                                                                                                   Monil-er.                          DOB                          Age:                      Sex:            Race:             Elhnioty-
ITD 3089 15-08-1328, UNKNOWN                                                                                                                                            01              19        M                B                N
!Address:                                                                       HlrnePhOne:                         Work Phone:                   Cel Phone:                   Emal:

 SSN                   ResldelllSlnls:              HGT       WGT·        Hair Cclcr               Hair Sr,te:                     Hairlengtl1:            Eie Color:                   01.N #:                                        SI.Q:
                                                    508       160         BLACK                    BRAIDED                         MEDIUM                  BROWN
 Occupation:                                      ~                                                      Address:                                                                                              &np1oyer Pllone:

l>MIS:


                                                                                                        Offenses!-
 1) 16-8-41    (1207) Armed robbcry - residence - gun                                    1207                     (2)
3)                                                                                                                (4)
5)                                                                                                                (6)

m                                                                                                                 (8)
9)                                                                                                                (10)

     WANTED·
               □      WARRANT·
                                    □      ARREST
                                                     □                     SUSPECT ARMED·           u                   WEAPON:                                                    Used:     -     01U9S C      Akoh<II     c.. ~Iller
                                                                                               □                               □ 2-Batiturale                  D J -Cocaine                                             D s- Hwn
blD INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRlJG.RELATED? If                                  1 • Air!>helanine                                                             0     4 • Halucinogen
                                                                      0      YES ONO
 ES. PlEASE IHDICATE THE TYPE OF ORUG(S) USED BY OfFOOER
                                                                                               □     5-Maiuana
                                                                                                                               □ 7• Melha'l'f)hllalnone        D B•Opium           O     9. SrnMc N.aocolic             0 U• Unl:imwn
Name:                                                                                                   Monike,                            DOB                         Age:                       Sex:            Race:             Elllnicllr


1Ad1nss:                                                                        Hlrne Phone:                       Wort.Phone:                    Col Phone:                   Email:


 SSN:                  R~enlSU111s:                 HGT       WGT·        Hair Cclcr               Hair Sl)'le:                   Hair lengllt             Eie Colot                    OlN#:                                          Slal«

 Occupalion·                                     Enoployer                                              Adcnss·                                                                                                Enoploye< Phone.

~MT1:


                                                                                                       Offenses lnYDlved
1)                                                                                                            (2)
Jf                                                                                                                (4)

5)                                                                                                                (6)

71                                                                                                                18)
91                                                                                                                (10)

     WANTED·
               □      WARRANT·
                                    □      ARREST    □                     SUSPECT ARMED:                           WEAPON:                                                        Used:     ~    lllugs C      Alcohcl i..      C~Uler

JID INVESTIGATION IMJICATE THAT lHIS IHClDENT WAS DRlJG.RELATED? IF
                                                                      O m ONO
                                                                                            □ 1 • Air!>ho!anine □ 2-Barbilura!e                                □ l • Cocaine       O    4-~ucinogen                     0    5-Henlin
 ES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER
                                                                                            □ 5 -Marijuana      □ 7 -~heLanine                                 □ 8-0piii,,         0    9-S)'lllllelicN~D1ic            0    U•Unl<nawn
Name:                                                                                                   Morw-er                            DOB:                        Age:                       Sex:            Race:            Elllnlcitr


Ad<nss:                                                                       Home Phone:                         WM.Phone:                       Col Phone:                   Email:

SSN:                   Rosidenl Stalus:             HGT       WGT     Hair Colct                   Hair Sl)'le:                   Hair l.engUI:            EieCclor                    OlN#:                                           State:

Occupation:                                      EnnP!o,er.                                             Address:                                                                                               EnnPlorer Pllone:

,MTs:

                                                                                                       Ollense.s 1...,.1/0d:
1)                                                                                                                (2)
3)                                                                                                                (4)
5)                                                                                                                (6)
7)                                                                                                                (8)
9)                                                                                                                (101

     WANTED:
               □
                      WARRANT·
                                    □      ARREST   □                      SUSPECT ARMED:                           WEAPON:                                                        Used -'        lllugs C      Alcallol -  -    ~ute,


PIO INVESTIGATIOH INDICATE THAT THIS INCIDENT WAS DRlJG.RELATED1 IF                                1 • ~heLanine            D     2-e.tJillnle
                                                                                                                                                          □       J -Cocaine   0       4 • Halucinogen              0       S-Hfflin
~ES. PLEASE ltlOICATE THE TYPE OF DRUG(S) USED BY OFFENDER            0YES0tiO~
                                                                                                   6-Marijuana              D 7-Mecnan,,helanine          D 8-0piii,,          0 9 • Synthetic Narcotic             0       U • Unl<llown




                                                                                                                                                                                   PLAINTIFF-024285(UI&S)
                       Case 1:20-cv-05233-SEG         Document 115-17      Filed 01/18/24                             Page 23 of 58

                        DEKALB COUNTY POLICE DEPARTMENT                                                      Case#:
                                   GA0440200                                                          13-0HH2!1
                                    INCIDENT PROPERTY
 Class                                           Oescnp,an.                                       Si.nus:
 B                                               Curr~ncy. notes, l'IC.                           5
 Make.                                       Model:                                             Serial:

 Pmperty l..ocation:                                     OTY·                                  Value:                                       UCRCode:
 SUSPECT                                                   l                                   S100.00                                     1207
 RelRIITo:                                             Date Reco,ered.        Recave,y Code:                  Jllisdidion SUllen:      Jllisdction Recovllld:
 RICHARDSON, BRITTENY ANTIONETTE                                                                              2
 Cass:                                           Desaipticn                                       Stallls:

 MN:                                         Model-                                            Serial:

 Propenyl.ocation:                                       QTY                                   Value:                                      UCRCode:

 Related To:                                           Date Reco'o1!red:      Reawer,Code:                    Jurisdidion Slclen:      Juris6acln Re<O\lffld:

 Class:                                         Oescnption.                                       Stao.is:

 Make:                                       Model:                                            Serial:

 Property loalion:                                       QTY                               Value:                                          UCRCode:


Related To:                                            Date Reco"'1!d:        Recovery Code:                  Jllisdic:tion Stolen:    JllisdictiGn Recoveml:

Class:                                          llesa1itiorr                                     Siatus:

Make:                                       Model.                                             Sena:


Property Localion:                                       QTY                               Value:                                          UCR Code:


Related To:                                            Date Recoveml:        Recovery Code:                  Jurisdiction Sflllen:    Jllisdiction Recove!td:


Class:                                          Description                                      Status·

Make:                                       Model.                                             Serial:

Property loalion:                                        QTY                               Value:                                          UCRCode·


Related To:                                           Date Recovtftd:        Recovery Cock                   Jurisdiction Slclen:     Jurisdicticn Recovered:

Cass:                                           Desaip~on:                                       Stalls:

Make:                                       Model:                                             Serial:

Praperty Location:                                      QTY·                               Value:                                         UCRCode:

Related To:                                           Date Recovtftd:        Rec,mry Code:                   Jllisdiction Stolen:     Jllisdiction Recove.ed.

Class:                                          Descriplion:                                     Siatus:

Make:                                       Model:                                         Serial:

Property l..ocation:                                    QTY-                               Value:                                         UCRCode:

Related To:                                           Date Reco'o1!rtd:      Recovery Code:                  Jurisdietion Slclen:     Jurisclctioi, Recove!td.

Cass:                                           Desaiptian:                                     Stalls:

Male:                                       Model:                                         Serial:

PIOpeny l..ocation:                                     QTY-                              Value:                                          UCR Cade:


Related To:                                           DateRoaMfed:           Recover, Codi!:                 Jllislkticn Stolen:      Jurisclttion Recovered:




                                                                                                                       PLAINTIFF-024286(UI&S)
                  Case 1:20-cv-05233-SEG            Document 115-17                      Filed 01/18/24     Page 24 of 58

                  DEKALB COUNTY POLICE DEPARTMENT                                                      Case#
                                       GA0440200                                                    15-08-l32H
                                       NARRATIVE
Officetlll/Nane                        Dale                           App,o,.,ng Olfiter ID/Name:                 DD
3089                Connors m a        11/16/2015 CJ 2-1 -16 AM
ritle                INl1 IAL REPORT



Su sped# 1 Black male, tight complexion. 6'1". Glim build 150 lbs .• 19&25 years of nge. black baseball cap w/white writing.
wearing grey T-shnt w/black wnling. blue Jeans. armed with black semi-automatic handgun (possible Glock)

   Suspect # 2· Black male. dark compleJCion.   s•s·. 160 lbs_ dread leeks. black baseball cap. all black clothing. 19-25 years of
age. unknown if armed.

 On August 26, 2015 at apprc,amately 8.40 a.m~ I was d,spalched a call ID 4649 Memorial Or(United Inn). Room It 120.
Decatur. GA. in reference to an armed robbery that juist occurred call.

   The commenls stated thnt the above suispec:m nUcmpted to Gexunlly usaull lhe victim nnd stole S100 dollars

 Upon my arrival I met with the compfa,nanr/victim, Ms Bri11ney Richardson Mn Richardson stated that suspect# 1 a rssaulted
her with a handgun, forced her to perform sodomy and tookSl0O dollars in cash.

  Ms. Richardson stated that she received a phone call from who she believed to be the above suspects. She slated that she
didn't know who they were and told them that they had !he wrong number. She staled that a short while later someone knocked
on the door and she anGWered it Ms Richardson slated that she opened the door without looking to see who it wns because
she thoughtlt was her boyfriend and thought that he had forgotten his room key. She then stated tha t suspect I: 1 and# 2 came
in111de. Mo. R1chardnon etated lh11t suspect,: 1 Gtruck her on the l eft cide of !he face ne11r her temple with a black handgun. She
stated that he a~ked her~Jhere is !he money", and she fcld them that she only had S 100 dolfans to pay for the room. Ms.
Richardson stated that they ransacked the room pulling out dresser drawers looking for money. She stated that suspect# 1 told
her that since she di dn't have any money she was going lo give him something Ms. Richardson IStated that she begged him not
to kill her and told hi m that she would do anything. She elated that suspect# 1 took a condom from her nightstand. put iton his
penis and forced her to perform oral sodomy. While in lhe act. Ms Richardson stated that herneighbor's 5 year old daughter
knocked on the window asking for her Marta Breeze card so her mother could lake her fD school. Ms_Richardson slated that
euspect # 1 made her check lo see who was knocking on the window She sti!lted that when she showed them that it was her
neighbor's 5 year old daughter suspect# 1 stated that 9Tots aintrighr. They both then ran out of the room in separate
directions Ms. R1chardaon slated suspect# 1 fled in the northbound direction across the street and got inlo a small grey
vehicle. Suspect# 2 fled behind the business i n the southbound direction_

  Ms. Richardson refused Zrealment by EMS I broadc:asled the suspect's description over the radio and notified Special Victims
 Unit Detl!cbve Oargon # 981 and advised him of the mc1denl Detective Oargon responded to the incident location and the case
 was turned over to SVU Ms Richardson was iHued a case number.




                                                                                                               PLAINTIFF-024287(UI&S)
                              Case 1:20-cv-05233-SEG                                               Document 115-17                                            Filed 01/18/24                                    Page 25 of 58

                            DEKALB COUNTY POLICE DEPARTMENT                                                                                                                                      Case#
                                                                        GA0440200                                                                                                       15-01!-1'21!
                                                                  INCIDENT REPORT
      ncule"l ljlle                                                                                                                                µ,uni$             no<ltnt Cede                    Olfenso Junsd1C11on                        l'll'•st Junsdoction
      l6-6-2 (110-1) Aggravated rndomy                                                                                                              1                ~10-1                            COUNl'Y

-       6-8- ,n (1207 ) Arm11d robbery - residence - gun                                                                                            1                ~207                             COUNTY


I       6-5-21 (131-1) Aggravated assault - gun
       rerT>SeType.
      RESIDENCE
      DaleR~                                       lnodent Slat
                                                                                     Weapon Type:
                                                                                     01
                                                                                               lnadent End:
                                                                                                                                                    1

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                                                                                                                                                                     ~3H
                                                                                                                                                                 Fon:iblor
                                                                                                                                                                                             y
                                                                                                                                                                                                      COUNTY
                                                                                                                                                                                             SnngerToS.anger-               HaeMolivaied:
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                                                                                                                                                                                                                                                           Loe Code:
                                                                                                                                                                                                                                                           560
                                                                                                                                                  Incident Localion:
      P/26/2015 8: 38:00 AM 8/26/2015 8:30 00 AM 8/26/ 2015 8·37:00 AM -1649 MEMORIAL DR 120 DECATUR GA 30032-
      N_,. (tast. F"nl Milldlo)·                                                                                                 Monhr                                        DOB:                         ,.,,.,                     Su:              Race:            Elhnidty:
       RICHARDSON, BRITTENY ANTIONETTE                                                                                                                                       --1987                        27                         F                B                N
       Adcnss                                                                                                     Home#:                                Wert#:                              Cel#:                               Email:
       -16-19 MEMORIAL DR 120 DECATUR GA 30032-
      SSN.                          Resident S111115:                    HGT           WGT·            HairCdor                      HairSlyll:                       Hair LenvtJ<                  Er•Cdor                      OLN#:                                  Sim:
                                    RESIDENT                             50-1           135            BLACK                                                                                        BROWN                        053105423                              GA
      Occupation:                                           fnl,lo,er                                                 Address:                                                                                                                   Emplortf Phone:

~ VIClimTypo:                                                                  Yes No          If Ye,. N_,. of Vic:1111's Scllool
~ Individual
                                                                                                                                                                     LEOKA Actioity Type:                                    lEOKA Assignment Type:
                                                                  SIUdent:
                                                                                -
                                                                                ~
                                                                                      -~
       l~llies:
                      7   Hone r            -
                                      Minor -      Internal L     ree111 :J     lJnaJMCICIUS   C      Lacerations     r          Bones       -    oa,.,                                       U$ed:        '7       Otu;s    7       Altnhol -         C~iur
      SMTs:


      Relaonship To           1)   STRANGER                              (2)                                               (3)                                                   (4)                                                 (5)
      Offenders.            6)                                           (7)                                               (8)                                                   l9i                                                 (10)

      Offenses                1)   1104                                  (2) 1207                                          (3) 13H                                               (4) 1313                                            (5)
       lnvol,ed.            6)                                           (7]                                               (8)                                                   (9)                                                 (10)

      Nana:                                                                                                                      t.loniker                           DOB:                           Age:                      Su:                Race:             Elhnicit(
      ro 3089 15- oe-132s. UNKNOWN                                                                                                                                                                  01              25       M                   B                 N
      !Address·                                                                                                HomePnone:                             Watl< ~ ne.                          Cl!IIP!lone:                      Email

      SSN:                          Residenl S~                          HGT           WGT            Hair Cdcr                     Hair Slyll:                       Hairl e,,gth·                 E)'l!Cdor                    OLN#:                                  State:
                                                                         601           150             BLACK                        SHAVED                            MEDIUM                        DROWN
      Occupation:                                           Employer                                                   Adctess:                                                                                                                  E-.iiortr Phone:
a:
~ SMTs-
z
w
II-                                                                                                                 Offenses Involved.
II-
0     1) 16-6-2           (110-1) Aggravated sodomy                                                                110-1                 (21 16- 8--11 (1207) Armed robbery • rcsidl!nce • gun                                                                      1207
      l) 16-5-21          (131-1) Aggravated assault • gun                                                         13H                   (4)     16-5- 23, 1 (13 H) Ba lli,ry                                                                                       1313
      5)                                                                                                                                 ll>l
      17)                                                                                                                                (8)
      9)                                                                                                                                 (10]

            WANTED:
                          □        WARRANT

                  TOTAlNUMBERARRESTcD·
                                                  □
                                                  El
                                                           ARREST·
                                                                        □                        S!JSl'ECT ARMED

                                                                        ARREST AT OR NEAR OFFENSE SCENE·
                                                                                                                           y
                                                                                                                                 Yes:    r1
                                                                                                                                             WEAPON.      FIREARM
                                                                                                                                                        No:_.
                                                                                                                                                                                                                    Used.   L     Dnlgs tJ        Alcohol L        eo..,111e1

                                    VEHICLES                                   CURRENCY. NOTES. ETC                            JEWELRY PREC METAI.S                              FURS
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~                  GOCENTRY                       □ WARRANT                  □ MISSING PERSONS                    □ VEHICLE                         □ ARTICI.E                               □ BOAT                             □ GUN                   □ SEQIRfrES
<
!s OIDINVESliGATION INDICATETHATTHSINCIDENTWASDRUG-l!ElATED?IF O YES Ill NO 0 1 - ~ ~
2ilYE5, PLEASE INOICATE T'fiE TYPE OFDRUG(S) USED BY OFFENDER               □
                                                                                                                                                    D z -ear1i1urate                    D 3-Cocaone D 4 · Halucinov<n                                    D s - Heron
                                                                              6· Maijuana                                                           0 I • Mel!l~hetnne                  D 8 - 0pum              D 9- s,nthetic Narmlie                   □   \).Unknown
Ir
~ REOUIRED DATA F1ElOS                  □ CLEAREDBYARREST □ EJ<CEPTIONAI.LYCLEARED □ UNFOUNDED
_, FOR CLEARANCE REPOITT                                                                                                                                DATE Of CLEARANCE                                                   □ ADULT □ JlNENILE
u
REPORTING Ofl'ICER                                                                                                  NUMBER                     APl'!IOll1NG Cf'FICER                                                                                             NUMBER
tonnors ma                                                                                                    3089




                                                                                                                                                                                                                PLAINTIFF-024288(UI&S)
                Case 1:20-cv-05233-SEG       Document 115-17      Filed 01/18/24               Page 26 of 58


                DEKALB COUNTY POLICE DEPARTMENT                                        Case#·

                           GA0440200                                               15- 011-l '\211

                             ADDITIONAL INCIDENT TYPES
Incident Type                                            Counts    Incident Code            Offense Jurisdiction   Arrest Jurisdiction


a6-5-23 .1 (1 'H3) Battery                               1         1313                     COUNTY




                                                                                                PLAINTIFF-024289(UI&S)
                     Case 1:20-cv-05233-SEG                                       Document 115-17                                       Filed 01/18/24                         Page 27 of 58




                    DEKALB COUNTY POLICE DEPARTMENT                                                                                                                       Case#.

                               GA0440200                                                                                                                            15-Ul!-1121!
                                               ADDITIONAL OFFENDERS
Name:                                                                                                    Mor,1er                           DOB                          Aoe:                     Sex.                Race·            Elhnicily:
tro 3089 15-08-1328, UNKNOWN                                                                                                                                            01              19       M                   B                 N
!Addr<ss:                                                                         Home Phone:                      Wart Phone:                    Cell Phcfle:                 Email

 SSN:                  Resident S,...,,.s:             HGT·         WGT·    Hair Cola:              HairSt,te:                     Har Lengdt               Eye Cclor                   OLN#.                                           Slalll:
                                                       508          160     BLACK                   BRAIDED                         MEDIUM                  BROWN
 Oca41aioft:                                          En-4Jlorer.                                         Address:                                                                                               en.,io,..Pnone:

5MTs:

                                                                                                         Offenses lnwohed:
 1J 16-8-41     (1207) Armed robbery • residence • gun                                     1207                    12)
 3J                                                                                                               {4J
 SJ                                                                                                               (SJ
 1)                                                                                                               (8J
 9J                                                                                                               (10)

      WANTED·
                D     WARIWff
                                      D      ARREST      □                   SUSPECT ARMED:          u               WEAPON:                                                      Used:      0    Drugs    r Alcohol - Computer
)10 INVESTIGATION INDICATE THAT THIS INCIOE/ft WAS DRUG-RElATED7 IF                             O     1 • All'plwlamine
                                                                                                                                □ 2• Bartlillnle               D 3 - Cocane      0      4 • Haluc:inogen                 D s- Heioon
'ES. Pl.EASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER                 OYESONo
                                                                                                D 5-M~uana                      □ 7 • Metlla!1)helamine        D 8 - 0pi1111     0      9 • Synetielic Narc®C            0     \I- Unknown
Name:                                                                                                    Mon,1er                           DOB                          Age:                     Sex.               Raar              Elhnot,


Address:                                                                          Home Phone:                      Wort<Phone:                   Cel Phone:                    Email.


 SSN:                  Resident S111Us:                HGT·         WGT·   Hair Cclor               Hait Sl)te:                    Harlengf/1.              Eye Color                   OLN#                                            Slale:

 Oa:up.iion:                                      e.rer                                                  Adcnss:                                                                                                 e.ier Phone"

6"'7s:


                                                                                                        Offenses lnl'Ol\lell:
 1f                                                                                                               (2)
3)                                                                                                                14)
SJ                                                                                                                {6)
7)                                                                                                                (6)
9)                                                                                                                (ID)

      WANTED:
                □     WARRANT        D       ARREST      D                   SUSPECT ARMED·                          WEAPON:                                                      Used:           Oru!IS C. Alcohol :: Complller

bl0 INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRUG-RELATED? IF                            O      1 • Alr!>lwlamine        D 2• Batlilu<alll                D 3-Coc;ino       D , . Hallucinogen                      0     5-Heftlin
~ES. PLEASE INDICATE TIE TYPE OF DRUG(S) USED BY OFFENDER                  OYESONo
                                                                                              D      S•M.quana                D 7•M~hela'l'ine                 D 8•0pi"11        0      9• Synlllelic Nan:olie           0    U·Ullknown
N.'lme:                                                                                                  Moniker                          DOB:                         Age:                      Sex:               Race:             Elllnicily


~ms:                                                                            Home Phone:                       Won Phone:                     Cell Phone:                   Email:

 SSN:                  Residenl Status:                HGT·         WGT    Hair Color               Hair Sl)te:                    Haiflengttt             Eye Colar                 OLN#                                              Slale:

Oca41illlon:                                      Cff'l)loyer                                           Adcnss:                                                                                                  Cff'l)loyer Phone:

SMTs:


                                                                                                       Offenses lnl'Ol\led:
1J                                                                                                                (2)
3)                                                                                                                {4)
5)                                                                                                                (6)
7)                                                                                                                (8)
9)                                                                                                                (10)


                □                    □                  □
     WANTED·          WARRANT                ARREST                         SUSPECT ARMED:                          WEAPON:                                                      Use<I: L        Drugs .:J        Alcohol 0       ~

b10 IHIIESTlGATION INDICATE THAT THIS INCIDENT WAS DRUG-RELATED? IF                                 1 • Arr!>hela'l'ine    D 2•BanilUrala                  D 3· Cocaine D 4 • Halh,:inoven                            D 5-Hernin
 ES, PLEASE INDICATE THE TYPE OF 0RIJGiS) USED BY OFFENDER                 0YES0NO~
                                                                                                    S•M~uana               D 7 • Melhan1Jhetallne          □ 8-Clpium          □ g.synthelic~                         D U• Unknown




                                                                                                                                                                                 PLAINTIFF-024290(UI&S)
                     Case 1:20-cv-05233-SEG          Document 115-17   Filed 01/18/24                            Page 28 of 58

                      DEKALB COUNTY POLICE DEPARTMENT                                                   Case#·
                                 GA0440200                                                       15-0!!-I • 2!1
                                  INCIDENT PROPERTY
Class:                                         Desaip~011:                                   Status
 B                                             Currnncy, notes, etc.                         5
Mae:                                      Model·                                           Serial:

Propertyl.acalion:                                     QTY                                va1..,,                                     UCR Code:
SUSPECT                                                 1                                 s100.00                                     1207
Relaled To:                                          Date Recovered:      RecovefJCode:                  Jurisdiction Sllllen:    .harisdction Rea,vl!!Wd:
RICHARDSON, BRITTENY ANTIONETTE                                                                          2
Oass:                                         Oescripicn:                                    Stalus:


Make:                                     Model:                                          Serial:

Property lacalion:                                     QTY:                            Value:                                         UCRCode:


Related To:                                                                                                                       .llm6c:lion Reca_        _
                                                     Date Reca-:         RecovefJ Code:                  JurisdictiotlSlolert


Oass:                                         Description:                                   Sllltus:


Make:                                     Model:                                          Serial:

p_,iy l.acation:                                       QTY·                            Value:                                         UCRCode·


Related To:                                          Date Recove,ed:     ReaMtY Code:                    Jurisdiction Slolen·    .Misddian Rocoven,d:


Oass:                                         Description:                                   Slallls:


Mal.a:                                    Madel:                                          Serial:

PropertyLac:atian:                                     QTY                            Value:                                          UCRCode:


Related To:                                          Date Recove,ed:     RecClfflY Code:                Jl#isdictiaftStdefl      Jusiscidion Rl!Cllve<ed.


Oass:                                         Description:                                  Status:


Mal.a:                                    Madel:                                          Serial:

Propertylocam:                                         QTY·                           Value:                                          UCRCode:


Related Ta:                                          Date Recave<ed:     ReaMtY Code:                   J,.;sdiction Slolert     Misdiction R - d :


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Property Location:                                     QTY                            Value:                                         UCRCade:


RelaledTo:                                          Dale Recave<ed:      ReaMIY Code:                   J,.;sdidion SUiien:      Jurisdicti011 Recmered:


Oass:                                         Description:                                  Slalus:

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Property location:                                    QTY·                            Value:                                         UCR Code:


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Property location:                                    QTY'                            Value:                                         UCRCode:


Related To:                                         Date Rea,ve<ed:      Recovery Code:                 JurisdictionSlolen:      Juri$cidian Rec:rmred:




                                                                                                                   PLAINTIFF-024291(UI&S)
            Case 1:20-cv-05233-SEG                 Document 115-17              Filed 01/18/24            Page 29 of 58


             DEKALB COUNTY POLICE DEPARTMENT                                                       Case#
                        GA0440200                                                              t 5.011-11211
                                       NARRATIVE
                                       Dai..                                                                   O.a
                C o nnors m a          8/26/2015 9, 24 ·4f, t\ M
Tl1!e:           INITIAL REPORT


 Suspect# 1· Black male. light complexion, 6T. sfim build. 150 Ibis.. 19·25 years of age, black baiseball cap wlwhite writing.
 wearing grey T-shirt w/black writing. blue Jeans. armed with black semi•automatic handgun (possible Glock).

  Suspect # 2 Black male. dark complexion.     s·s·. 160 lbs. dread leeks. black baseball cap. all black clothing. 19-25 years of
 age. unknown if armed

  On August 26. 20 15 at approximately8 40 a.m.. I was dispatched a call lo 4649 Memonal Dr (United Inn}. Room,: 120.
 Decatur. GA. in reference to an armed robbery that just occurred call

   The comments stated lhat the a bove suspecils attempted to sexually asoault the victim and stole S100 dollars

  Upon my arrival I met with the complainant/victim. Ms. Bnttney Richardson Mo Richardson stated thatouspect# 1 u saulled
 her wi th a handgun, forced her to perform sodomy and tcokS100 dollars in cash

  Ms Richardson stated that she received a phone call from who she believed to be the above suspects She stated that she
didn't know who they were and told them that they had the wrong number. She stated that a short while later someone knocked
on the door and she answered it Ms. Ri chnrdson stated tha t she opened the door without looking m see who it was because
she thoughtitwas her boyfriend and though t that he had forgotten his room key. She then stated that suspect# 1 and# 2 came
in11ide. Mo. Richardson stated lhnt suspect# 1 struck her on the left cide of the face near her temple with a black handgun. She
stated that he asked her '\'/here i s the money•. and she told them that she only had S 100 dollars to pay for the room. Ms.
Richardson staled that they ransacked the room pulling out dreoser drawers looking for money. She stated that suspect# 1 told
her that si nce she didn't have any money she was goi ng to give him something_Ms_Richardson stated that she begged him not
to kill her and told him thatohe would do anything. She stated that suspect # 1 took a condom from her nightstand. put ,ton his
penis and forced her to perform oral sodomy. \N'hi le in the acl Ms Richardson staled that her neighbor's 5 year old daughter
knocked on the window asking for her Marta Breeze card so her mother could take her to school. M:)_Richardson stated that
ouspect# 1 made her check to see who was knocking on the window She atated thntwhen 11he showed them that it was her
neighbor's 5 year old daughter suspect# 1 stated that 'This amt nghr. They both then ran out of the room in separate
direction&. Ms R1chard110n stated s,111pect,: 1 fled m the northbound direction across the street and got into a email grey
vehicle. Suspect # 2 fled behi nd the business in the southbound direction.

  Ms Richardson refused trealment by EMS I broadcasted the suspect's description over the radio and nolified Special Victims
 Unit Detecbve Dargan II 981 and advised h,m of the .ncidenl Detective Oargon re~ponded to lhe mcident locabon and the case
 was tum ed over le SVU Mt; Ri chardson wa:i issued a case number




                                                                                                           PLAINTIFF-024292(UI&S)
                            Case 1:20-cv-05233-SEG                                                Document 115-17                                              Filed 01/18/24                                 Page 30 of 58


                            DEKALB COUNTY POLICE DEPARTMENT                                                                                                                                  Case#·
                                       GA0440200                                                                                                                                      15-01141 28
                                                                 INCIDENT REPORT
       nooent Type:                                                                                                                                 C.unts           nadonlCode                      Offense ""1Sdot1ion                        J'lll'o:!ll.lul\llllt11Dn
       16-6-2 (1104) Aggravated sodomy                                                                                                               1              1104                             C OUNTY

-      16-8-41 (1207) Armed robbery - residence - gun                                                                                                1              1207                             COUNTY


I      i6-5-21 (1314) Aggravated assault - gun
       r,emise Type:
       ~ESIDENCE
       Dalli Rei,o,t                             Incident Stat
                                                                                     Weapon Type:
                                                                                     01
                                                                                              lncidenl End:
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                                                                                                                                                   Incident u,caan:
                                                                                                                                                                    131-1
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                                                                                                                                                                                         y
                                                                                                                                                                                                     COUNTY
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                                                                                                                                                                                                                                                             IJIC Code:
                                                                                                                                                                                                                                                             560

       8/26/2015 8:38:00 AM 8/26/2015 8:30:00 AM 8/26/2015 8:37:00 AM 4649 MEMORIAL DR 120 DECATUR GA 30032-
       NaN (last Fn1 Mlddle):                                                                                                    Mcx,nr                                      008:                         Age:                      Sex:                Raca:                Ethnldty:
        RICHARDSON, BRITTENY ANTIONETTE                                                                                                                                      . . .1987                    27                        F                   B                    N
       Ad3W                                                                                                       Hame#:                                 W01U                            Cell#:                             Email.
       16-19 MEMORIAL DR 120 DECATUR GA 30032·
       SSN:                        Residenl Stalus:                       HGT:         WGT·           Hair Colar                     Hair Style:                     Hair length:                 Ere Cclar                    OLN#:                                         Slate:
                                    RESIDENT                              50-1         135            BLACK                                                                                       BROWN                        053105423                                     GA
       Occupltion:                                        &rq,lorer.                                                  Address:                                                                                                                   Emplore, Phone·




~      V'ic:ti11Type:
        Individual
                                 - Minof 7 Internal '7
                                                                  Sllldffl:
                                                                                 Yes Na
                                                                                 □ B
                                                                                              It Yes. Name of V'IClrn's School                                      LEOKA AcMy Type.                                       l EOKA ASslgnment J ll)I


       1!1LNS'       7
                         None                                    Teeth    D      Unconscious D       Lacera11ons      - Banes D                    Olhor                                     Used.       '7      Dnlg1     ~      Al:olKf _]            ~Ulel
       SMTs:


       Rolatianshpla        11 STRANGER                                   (2)                                              131                                                 {41                                                [5)
       Offenders:           6)                                            (T)                                              181                                                 191                                                llflt
       Offenses             ~II 1104                                      (21 1207                                         Ill 1314                                            {41 1313                                           (5)
       l,r,olved:
                            6)                                            (T)                                              181                                                 {91                                                (llij

       !Name:                                                                                                                    t.loniker                          008:                          Age:                      Sex                  Raca                  Ellvllcily·
       TD 3089 15-084328, UNKNOWN                                                                                                                                                                 01             25         M                    B                     N
       IAdcnss:                                                                                               HamePhane:                              Warl<.Phane:                       Cell Phone·                       Ernao.

       SSN:                        Resident Status:                       HGT·         WGT·           HairCaar                       HairSlyle:                      Hairler,g!h:                 EyeColot                    01.NII:                                        Slate.
                                                                          601          150            BLACK                         SHAVED                           MEDIUM                       BROWN
       Occupation:                                        Employer                                                    Address·                                                                                                                  Empt,c,Ptocne.
a:
l!:z SMTs:
w
I.I.                                                                                                                Offenses lnvaj*:
""0 1) 16-6-2 (1104) Aggravated sodomy                                                                             1104                  (2)    16-8-41 (1207) Armed robbery • residence • gun                                                                              1207
       3) 16-5-21        (131-1) Aggravated assault • gun                                                          131-1                 (4)    16-5-23.1 (1313) Battery                                                                                                    13B
       51                                                                                                                                (6)
       [7)                                                                                                                               (8)

       91                                                                                                                                (10)


                      □                             □
             WANTED:          WARRANT I I    ARREST                  SUSPECT ARMEO·                                        y                 WEAPON: FIREARM                                                     Used·      I Drugs -             Alcohol :.J ~Uler
                  TOTAL MIMBER ARRESTEO: ~ I        ARREST AT OR NEAR OffENSE SC!:NE:                                             Yes:   D               re:   lilJ
                                    \/EltCLES                                   CURRENCY. NOTES. ETC                             JEWELRY, PREC. METALS                         FURS
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~                   GOC ENTRY                   □ WARRANT                     □ MISSING PERSONS                    □ VEHICLE                         □ ARTICLE                             □ BOAT                           □ GUN                        □ SEC\IR'l!ES
"'
g  IMO INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRlJG.RElATE07 IF O YES II NO 0 I •~heUrnine D 2-eallitura10
2i YES. PLEASEINDICATETHETYPEOFORUG(S)USEDBY OFFENDER                              O
                                                                                                                                                                                      D J . C.Cane 0 4 • Hallucinogen                                     D s . tte,o,,
                                                                                                                           6 •M.;ju111a              D r -Me111~tietanine             □ 8· Op,i,n             0 9- S,ntt,eticNartobt                      □ U· IJ•~
a:
~ REO\JIREO DATA AELOS
...., FOR CLEARANCE REPORT
                                       □ CLEAREDBYARREST □ EXCEPTIONALLYClEARED □ UNFOUNDED                                                              0A TE OF CLEARANCE                                              □ ADULT □ J\JVENILE
0
REPORTING omCER
-
, -onnors m a                                                                                                 3089
                                                                                                                    NUMBER                     APPROVING OFFICER                                                                                                     NUMBER




                                                                                                                                                                                                              PLAINTIFF-024293(UI&S)
                Case 1:20-cv-05233-SEG   Document 115-17       Filed 01/18/24              Page 31 of 58


                DEKALB COUNTY POLICE DEPARTMENT                                     Case#.

                           GA0440200                                             15-011-l 1211
                          ADDITIONAL INCIDENT TYPES
Incident Type                                         Counts     Incident Code           Offense Jurisdiction   Arrest Jurisdiction


6-5-23.1 (1313) Batt~ry                               1          1313                    COUNTY




                                                                                            PLAINTIFF-024294(UI&S)
                      Case 1:20-cv-05233-SEG                                     Document 115-17                                        Filed 01/18/24                            Page 32 of 58




                    DEKALB COUNTY POLICE DEPARTMENT                                                                                                                       Case#.

                               GA0440200                                                                                                                             15-llll-B28
                                                ADDITIONAL OFFENDERS
r..rie:                                                                                               Moniler                              DOB                           Age;                      Se,;         Raar              Edlniol'f.
TD 3089 15-08-1328, UNKNOWN                                                                                                                                              01               19       M            B                 N
Address:                                                                         Home Phone:                       Won<Ptoone:                     CelPhone:                      Em.it


 SSN:                   Resident Stallls:             HGT:        WGT:    HairColar              Hair Style:                     Hair langth:               EyeCdor.                      OLIO:                                     Slate:
                                                      508         160        BLACK               BRAIDED                          MEDIUM                     BROWN
 Occupation:                                        Eff1,layer.                                        Addms:                                                                                                 Employer Phone:

"MTs:

                                                                                                      Offenses I n - :
 1) 16-8--11    (1207) Armed robbery • residence • gun                                   1207                (2)
 3)                                                                                                             (4)
 SJ                                                                                                             (6)
7)                                                                                                              [8)

9)                                                                                                              (10f

      WANTED:
                □      WARRANT·
                                     □       ARREST    □                     SUSPECT ARMED:       u                 WEAPON:                                                         Used       C Oru9s D ~              7      eon-.,uter

                                                                                                                                                                                    0 4 . Halucinogen
blO INVESTIGATION lt()ICATE THAT lttlS INCIDENT WAS DRUG-RELATED? IF
~ES. PLEASE INDICATE lttE TYPE OF DRUGIS) USED BY OFFENDER
                                                                         OvEsONO □                 1 -An1>hotamine
                                                                                                                          □       2· 8.wbilUrall
                                                                                                                                                                 □  3 • Cocaine                                     0 S· HIIOin
                                                                                              □ 6 • Marijuana             □ 7• M~helamne                         □ 8- 0pum          0 9- Synlhelic Narcolic         0 U - Unknc7wm
Name:                                                                                                 M0111'ker                           008:                           Age·                      Su           Race              Elllnicil'f


~--s:                                                                           Home Pnone:                        Wal<Pnone:                      Cell Phone:                    Emal:


 SSN:                   ResideftlSWUS:                HGT·        WGT·    HairColar              HairSl't1e:                     Haw Lef191h:               Eye Color:                    0LN#:                                     Slate:

 Oca.,palltkt                                      ~~                                                 Adciess:                                                                                                e.J!f Phont'
5MTs:


                                                                                                     Ollenses Involved:
1)                                                                                                              (21
3)                                                                                                              (4f
5)                                                                                                              [6)

71                                                                                                              (81
9)                                                                                                              (10)
                                                                                                                                                                                               -
      WANTED:
                □      WARRANT
                                     □       ARREST
                                                       □                     SUSPECT ARMED:                        WEAPON:                                                          Used:          Oru9s -    Alcohol .J       ~

                                                                                                                                                                                   D 4-Halucinogen                  D 5-liefllin
                                                                                             □                            □ 2- Bnturate                        □
JI0 INVESTIGATION lft'.llCATE THAT THIS INCIDENT WAS DR1JG.RELATE01 IF                             1• An1>tietanine                                                 3 -Qlcaine
'ES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER
                                                                         0    YES ONO
                                                                                             □ 6-M.,.uana                 □       7 • Melh~hetanine
                                                                                                                                                               □ 8-0pum            0 9 • Synlhelic Narcatic         0       U - Unknc7wm
Hane:                                                                                                 M0111'1.er                          008:                          Age:                       Sez:         Race:            Elllnicil'(


Address:                                                                       Home Phone:                      WartPlllne:                        CelPhone:                      Emai:


SSN:                    Resident StabJs:              HGT         WGT     Hair Cob-              Hair S1't1e:                    Hairle"91ft                EyeColot.                  0LN#:                                       Slate:

Occupaion:                                         err.i1ow                                          Aclcnss:                                                                                                 ~ie,Phone:

SMTs:


                                                                                                     Ollenses In-:
1)                                                                                                              (2l
3)                                                                                                              [41
SJ                                                                                                              (61
7)                                                                                                              (81
91                                                                                                              (10)


                □                    □                 □                                                                                                                                           Oru;s .J Alcohol :J
      WANTED:         WARRANT               ARREST·                          SUSPECT ARMED:                        WEAPON:                                                          Used:    .J                               ~

                                                                                                                                                                                  0 4 • Hallucinogen
                                                                         0 YES ONO □                                     □                                  □
blO INVESTIGATION INDICATE lttAT ms INCIDENT WAS DRUG-RELATED? IF                                1 -An1>hetanine                 2 · B;wliblrale                   3-Cocaine                                      0 5-Heroin
~ES. PtEASE INOICATE THE TYPE OF DRUG(S) USED BY OFFENDER                          □
                                                                                     6-M.,.uaia
                                                                                                                         □ 7- Melll.....,hetarrine          □ 8-(4,i...,          0 9 • S,nthetic Narcatic        0 LI-Unknown




                                                                                                                                                                                    PLAINTIFF-024295(UI&S)
                        Case 1:20-cv-05233-SEG         Document 115-17      Filed 01/18/24                               Page 33 of 58


                         DEKALB COUNTY POLICE DEPARTMENT                                                       Case#
                                    GA0440200                                                           15-U8.J'l2K

                                     INCIDENT PROPERTY
Oass·                                            Oesa,peon                                          S1atus:
B                                                Currency, notes, etc.                              s
Mala:                                        Model:                                               Serial:


Pl'Cll)e01y Localion:                                     QTY-                                Vah.e:                                           UCRCode:
SUSPECT                                                    1                                  S100.00                                          1207
Rtllled To:                                            Date R ~ :             ~Code:                            Jurisclic:tion Sll:len:    Jurisclction Recovered:
RICHARDSON, BRITTENY ANTIONETTE                                                                                 2




-:
Oass:                                            ~on·                                               S!a!us:


                                             Model:                                               Serial:


Property Loc:ati0n:                                       ClY                                 Vu:                                              UCRCode:


Related To:                                            DIie Reco'o'ffld       llecoffly Code:                   Jiiisdictioll Slden:      .lll'isck1ion f!e<:lr;ffld:


Class:                                           Desmpion•                                          Status:


Male:                                        Modd:                                             Serial:


~Localion:                                               QTY·                                 Value:                                           UCRCode:


Relaled To:                                            Dale RecoYffld.        Re,;overy Code                   Jurisdielion Stolen:       Nisdiction~:




-:
Cass:                                            Oescriptiorr                                       Slatus:


                                             Modi!!:                                          Serial:

Plopel!Jl.oeation:                                       QTY                                  Value:                                           UCRCode:


Related To:                                            Date Recovered:        Re,;overy Code:                  Jurisdiction SIOlen:       .h.risdiction Recoverod:


Class:                                           Oescription.                                       Slatlls:


Male:                                        Model:                                           Serial:


~ Localion:                                              QTY·                                Value:                                            UCRCode.


Relal2d To:                                            Date Recovered:        Re,;overy Code:                  JUfisdicti0nSlden.         Jurisclction Recovmct


Cass:                                            Oesaiption:                                        StalUS:


Maie:                                        Modl!I:                                          Serial:


Property l.oeati0n:                                      QTY·                                Value:                                            UCRCode


Related To:                                            DateRecoveN!d:         Rear,,l!f'/ Code:                Juri$diction Sll:len:      Junsclction Recoveied·


Cass:                                            Desl:nption:                                      StalUS:


Make:                                        Model:                                           Serial:


Proper1y Localion:                                       QTY·                                Value:                                           UCR Code.


Related To:                                            Date Reco'o'ffld:      Recovery Code:                   Jurisdiction S1den.        Jurisclction Rew;ered:


Class:                                           Desaiplion:                                       Sta!us:


Make:                                        Model:                                           Serial:


l'mpe!IY lotaUon:                                        QTY-                                Value:                                           UCRCode:


RelaledTo:                                             Dallt Reco'o'ffld:     Recovery Code:                   Jurisdiction Sidon:        Jurisclcti011 Recovered.




                                                                                                                           PLAINTIFF-024296(UI&S)
                     Case 1:20-cv-05233-SEG              Document 115-17                  Filed 01/18/24     Page 34 of 58

                      DEKALB COUNTY POLICE DEPARTMENT                                                   Case#·
                                 GA0440200                                                           15-ll8H21!
                                          NARRATIVE
()ff"ice, DINalno:                        Date                           Approw,g Offieer IO!N;rne
30119                  C on nors m a      II/ 26/ 2015 9.2-l.-16 Al\-1
                        IN ITIAL REPORT


Su sped# 1 Black male. light complexion.         s·r .
                                             slim build. 150 lbs . 19-25 years of age. black bBSeball cap wfwhite wri~ng.
weanng grey T--5hirtw/black wnbng, blue jeans. armed with blacksenu-automatic handgun (possible Glock).

 Suspect It 2· Black male. dark complexion. 5'8". 160 lbs . dread locks. black baseball cap. all black clothing. 19-2 5 years of
age. unknown if armed

  On August 26. 2015 at approximately 8.40 a.m.. l was dispatched a call le 4649 Memorial Dr (United Inn). Room 1t 120.
 Decatur. GA. in reference 10 an armed robbery lhat just occurred call

  The comments stated that the above su1Specm attempted to isexually assaull lhe victim and stole S100 dollars

 Upon my arrival I met with the complainant/victim. Ms Brittney Richard5on. Ms. Richardson stated that sui;ped # 1 aisnulted
her with a handgun, forced her to perform sodomy and took S100 dollars 1n cash.

 Ms. Richardson staled that she received a phone call from who she believed to be the above suspects She stated that she
didn't know who they were and tol d them lhat they had the wrong number. She staled that a short whrle later someone knocked
on the door and she answered il Ms. Richardson slated that she opened the door without looking to see who it was because
she thoughhtwas her boyfriend and thought that he had forgotten his room key. She then l'.ltated that suspect# 1 and# 2 came
inoide. Mo. Richard11on stated that suspect# 1 struck her on the left aide of the face near her temple with a bfack handgun She
slated that he asked her"\l'/here is the money·. and she told them that she only had S 100 dollars to pay fur the room Ms
Richardson stated that they ransacked the room pulling out dreoser drawers looking for money. She stated that su5pecl,: 1 told
her that since she didn't have any money she was going to give him something. Ms. Richardson stated that she begged him not
to kill her and told hrm that she would do anything She stated that suspect# 1 lcoka condom from her nightstand. put 1ton his
penis and forced her to perform oraf sodomy. 1/Jhile in the act Ms Richardson stated that her neighbor's 5 year old daughter
knocked on the window asking for her Marta Breeze card so her mother could take her le school. Ms. Richardson stated that
suspect # 1 made her check to see who was knocking on the window She stated that when ahe showed them that it was her
neighbor's 5 year old daughter suspect# 1 staled that 'This aint rig hr. They both then ran out of the room in separate
direction&. Ms Rrchardson !Stated st.uspect ft 1 fl ed in the northbound direction across the street and got inlo a Dffll!III grey
vehicle. Suspect# 2 fled behind the business in the soulhbound direction.

 Ms Richardson refused b'ealmenl by EMS I broad casted the suspect's description over the radio and notified Special Victims
Unit Delecbve Oargon # 981 and advised him of the incident Detective Dargon re$ponded to the incident locabon and the case
wa s tumed over to SVU Ms Ri chardson was issued a ca se number




                                                                                                              PLAINTIFF-024297(UI&S)
                                   Case 1:20-cv-05233-SEG                                                  Document 115-17                                             Filed 01/18/24                                 Page 35 of 58


                               DEKALB COUNTY POLICE DEPARTMENT                                                                                                                                        Case#·

                                          GA0440200                                                                                                                                          15-011-11>2!1
                                                                     INCIDENT REPORT
      nadentType·                                                                                                                                          µ>unts           nciclenl Code                     Offense Ji.nsdaon                      ~eS1MSd"11Cfl
      ~6-6-2 (1104) Aggravated sodomy                                                                                                                       1              ~ 1(14                             COUN"l Y
      ~ 6-11-41          ( 1207) Arml!d robbery • rl!sidl!nce - gun                                                                                         1              ~207                               COUNTY
ffi   ~6-5-21 (1314) Aggravated assault - gun                                                                                                               1              PH                                 COUNTY
~ rremseType:                                                                                Wt. . Type:                                                               Forcillle:                 Slran<p To Sl'anve,-           Hate Matvaled:                 LocCl>de:
  RESIDENCE                                                                                  01                                                                        y                          y                                              □              560
      Dall! Report                                   lnade!IISlat                                    lnciclelt End:                                       Incident loc*n:
      l!/26/2015 8:38:00 AM 8/26/2015 8:30:00 AM 8/26/2015 8:37:00 AM 4649 MEMORIAL DR 120 DECATUR GA 30032-
       Name ILasL fnt t.idllk!):                                                                                                         Monu-                                      009:                          Aw,:                      Su:             Race:           Ethnidtr
       RICHARDSON, BRITTENY ANTIONETTE                                                                                                                                                            1987            27                        F               B               N
       Adnss                                                                                                              Home#:                                wo,u                              Cel#:                            Email:
       4649 MEMORIAL DR 120 DECATUR GA 30032-
       SSN:                            RosldertSlalb$:                        HGT·            WGT·           HairCclcr.                      Ha, Slyle:                     Hair~                         Ere Cclar                     OlN#:                               Slall!·
                                       RESIDENT                               504              135           BLACK                                                                                        BROWN                         053105423                           GA
       Oca,pation:                                            Eff1,loytr                                                      Address:                                                                                                               Emplo,er PhOne:

~

~ Individual
       VldimTn,e:                                                                       Yes No       II Yes, Name or Voctm·s Scheel                                        LEOKA Activlly Type:                                   LEOKA Assignment Tl1)e:
                                                                        Sludent          - .:!.
                                                                                         ~




                                                                                                                                                    C                                                                              -,
       Ir-juries:    :!...    None J    Minor -      Internal -       Teeth -           Unconsciolls '--    Lacerations       L..;
                                                                                                                                         Bones            Olher                                       Used:      :J      Drugs            Alaihol    J      Cquter
       SMTs:


       Relationship To             11 STRANGER                                12)                                                  (3)                                                (4)                                                 151
       Offenders:               6)                                            (7)                                                  (B)                                                (9)                                                 110)
       Offenses                    1) 1104                                    12) 1207                                             (3) 1314                                           (4) 1313                                            151
       lnvalved:                6)                                            (7)                                                  (8)                                                (9)                                                 (10)
      N;wne:                                                                                                                             Monil<et                           DOB:                          "ve:           .,.       SU:               Race:             Elmiclly·
      rD 3089 15-08-1328, UNKNOWN                                                                                                                                                                         01             .:)       M                 B                 N
      !Address:                                                                                                       Home PhOne:                               WorilPhone:                     Cell Pllone:                       Em.it:


       SSN:                            Resident Slalu.:                       HGT·            WGT·           Hair Cclcr                     Hair Slyle:                     HairlengU,:                   Eye Cclar                     O!.N#:                              Siam·
                                                                              601              150           BLACK                          SHAVED                          MEDIUM                        BROWN
       Octui,ation:                                               Employer                                                     "'ldress:                                                                                                             Eff1,lo,er l'nolle:
a:
:!f SMTs:
zw
II.                                                                                                                         Otlenses lnvcl>ied:
II.
0 1) 16-6-2 (110-l) Aggravated sodomy                                                                                      110-l                 (2)     16-8--11 (1207) Armed robbery - residence - gun                                                                   1207
       J) 16-5-21             (1314) Aggravated assault • gun                                                              1314                  (4)     16-5-23.1 (1313) Battery                                                                                          1313
       5)                                                                                                                                        (6)

      l7)                                                                                                                                        (8)
       9)                                                                                                                                        (10)
            WANTED:          f l     WAARANT       □          ARREST· I             I                   SUSPECT ARMED:               y              WEAPON:        FIREARM                                               Used:   .J     Drugs ..J        AlcohOI LJ    Ccn11utl!I
                    TOTALNUMBERARRESral:            El                       ARREST AT OR NEAR OFFENSE SCENE:                             Yes:
                                                                                                                                                 □               No:   llil
                                       VEHICLES                                         CURRENCY. NOTES. ETC                             JEWELRY. PREC. METALS                        FURS
                    ISTOLEN                                                                                                              ;o.oo
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                               1s0.00
                    IRECOVERED 150.00
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                                                                                        OFFICE EOUIP.
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& I                                                                                                                                      ;o.oo
If
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                                                                                                               LIVESTOCX
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   I                 STOLEN            to.oo                              CO.DO                                ~0.00                                     co.oo                                    tl00.00
                    :RECOVERED           0.00                       I        0.00                       I       0.00                             I        0.00                              I       0.00
                                                                                                                                                                                                                                      I
~<                  GOCEUTRY                         □ WARRANT                    □ YISSlt-lGPERSONS                       □ VEHICLE                        □ ARTICLE                              □ BOAT                           □ GUN                    D      SEC\JRmEs




2ig!YES,
    010 IN\IESTIGP.TION INDIC,.TE THAT THS INCIDENT W"5 ORUG-REIJ,TE07 IF □ YES Ill NO O 1- ~hetamine D
         PLEASE INDIC,.TE THE TYPE OF DRUG(S) USED BY OFFENDER                         □
                                                                                         6•M"1Ull\a   D 1- Me111an"flhelnille
                                                                                                                                                                   2-11n1..act               D l·Cocane D 4 • Hducinogen
                                                                                                                                                                                             D a-Opium 0 9 • Synthetic -
                                                                                                                                                                                                                                                             D s-Hernin
                                                                                                                                                                                                                                                             D U•Unknown
a:
~ REOUIRED DATA AELOS
...J FOR CLEAR,\NCE REPORT
                                           □ CLEARED 9Y ARREST □ EXCEPTIONALLY CLEARED □ UNFOUNDED                                                              DATE OF CLEARANCE                                                □ ADULT □ JlNENILE
0
REPORTING OFFICER                                                                                                           NUMBER                      APPROVING OFFICER                                                                                             NUMBER
::onnors m a                                                                                                          30119




                                                                                                                                                                                                                      PLAINTIFF-024298(UI&S)
                Case 1:20-cv-05233-SEG      Document 115-17       Filed 01/18/24          Page 36 of 58


                DEKALB COUNTY POLICE DEPARTMENT                                        Case#

                           GA0440200                                                15-0l!-B28
                             ADDITIONAL INCIDENT TYPES
Incident Type                                            Counts     Incident Code         Offense Jurisdiction   Arrest Jurisdiction

b6-5-:?3 .1 (1313) Battery                               1          1313                  COUNTY




                                                                                           PLAINTIFF-024299(UI&S)
                      Case 1:20-cv-05233-SEG                                    Document 115-17                                     Filed 01/18/24                          Page 37 of 58




                    DEKALB COUNTY POLICE DEPARTMENT                                                                                                                   Case#

                               GA0440200                                                                                                                        15-011-11:?8
                                                ADDITIONAL OFFENDERS
 Name:                                                                                              Moniker                            DOB                           Age:                      Sex:         Race             Elhnicity:
 ITD 3089 15-08-1328, UNKNOWN                                                                                                                                        01              19        M             B               N
 ~lfflS:                                                                         lbTIOPhone:                   WcrkPhone:                      Cd Phone:                    Email:


  SSN:                  Resldenl Stalus:               HGT·      WGT·    HairColcr             HairSl)1e:                      Har Lenvtt,:             Eye Color:                   OLN#:                                     State:
                                                       508       160     BLACK                  BRAIDED                        MEDIUM                   BROWN
 Occupatioll:                                         Emp!oyer                                       Address:                                                                                            Employer Pllone.

1>M1s:


                                                                                                    Offenses Involved:
 11 16-8-41     (1207) Armed robbery • residence • gun                                   1207                 (2)
 J)                                                                                                           (4)
 5)                                                                                                           (6)
 7)                                                                                                           (8)
 9)                                                                                                           (10)

      WANTED:
                □      WARRANT         □     ARREST     □                  SUSPECT ARMED:       u                   WEAPON·                                                    Used:      0    Drugs 7    Al=llal ~        C-u!e!

DID INVESTIGATION INDICATE lttAT THIS lt/CIDENT WAS DRUG-RELATED? IF
"ES. Pl.EASE INDICATE 1l£ TYPE OF DRUG!S) USED BY OFFENDER              Oves □ NOD I • ~hetanine D 2 • Barbiturate                                          D J. Cocaine      0 4 • Halucinoven                  0 5-tiefain
                                                                                              D 6-~                      D 7 - MelhaTl)htlamne              0 8-0pi;.,n       0 9 - Synlhebc Natabc              0 U- Unknown
 Name:                                                                                              Moni.er                            DOB.                         ~•:                       Sei:          Race·           Elhnial'(

~ddrett                                                                         Home Phone:                   WcrkPhane:                      Cd Phone:                     Email:


 SSN:                   Residenc Status.:              HGT·      WGT·    Hair Color            Hait Style:                    Hairlefllllh.             EyeColot.                    OLN#:                                    State:

 Oct1111alion                                     &,Jloier                                          Ad<iess.                                                                                             Emp(Oyer Phone

SMTs:


                                                                                                   Offenses lnwlved:
 11                                                                                                          (2)
 ])                                                                                                          (4)
 5)                                                                                                          (6)
 7]                                                                                                          (8)
 9J                                                                                                          (10)

      WANTED:
                □     WARRANT·
                                      □      ARREST·    □                 SUSPECT ARMED:                           WEAPON.                                                    Used:            Drugs D    Alcohol C    Corr4Mer
010 INVESTIGATION INDICATE THAT THIS INCIDENT WAS OAUG-RELATEO?IF
                                                                        Oves □ NO □
                                                                                                 1 - M"4)11etanine      D 2- Bnilura!o                      D ]-Cocaine D 4-t1a1uonogen                          D s-Hemi•
•ES. PLEASE INDICATE THE TYPE OF DRUG!SJ USED BY OFFENDER
                                                                                            D 6 - Marijuana             D 7- Melh~he1amone                  D 8 •0pilll1 0 9-SynlhebcNartobc                     D U-Un"-n
Name:                                                                                              Moniker                            DOB                          Age:                       Sei:         Race:            Elhnicil'(

Addn!ss:                                                                      HonPllone:                     Wort.Phone.                      Cell Phone:                   Email:

 SSN:                  Resideffl Slallls.:             HGT·      WGT·    Hair Color:           Hair Style:                    H.-Lenvtt,:               Eye Cdot                  0LN#:                                       State:

 Oc:a,palion:                                     ~                                                Ad<tess:                                                                                              Employer Phone:

5MTS:


                                                                                                  Offenses ln.otvect
 I)                                                                                                      (2)
Ji                                                                                                           (4)
5)                                                                                                           (ti)
t71                                                                                                          (81
9)                                                                                                           (10)


                □                     □                 □
                                                                                                                                                                                                                       ~""'
      WANTED:         WARRANT·               ARREST                       SUSPECT ARMED:                       WEAPON:                                                        llse<I:   ~     Drugs C    Alcohol ':J


                                                                        OYES □ No          O 1-~hetamine               D                               D                    D 4 - tta11ucmooen               D s-Heroin
blD INVESTIGATION lr«JICATE THAT TlflS INCIDENT WAS DRUG-RELATED? IF                                                          2- BnilUrale                    ]·Cocaine
lies. PLEASE INDICATE THE TYPE Of DRUG(S) USED BY OFFENDER
                                                                                           D 6-M3iu.11a                D 7• MelhainpheUmne             D 8 • C,,ium         D g • Sy,$,ecic Nan:utic         D U-Un"-n




                                                                                                                                                                             PLAINTIFF-024300(UI&S)
                      Case 1:20-cv-05233-SEG          Document 115-17    Filed 01/18/24                           Page 38 of 58

                       DEKALB COUNTY POLICE DEPARTMENT                                                   Case#:
                                      GA0440200                                                    15-0tU,2H
                                   INCIDENT PROPERTY
 Oass:                                          Descriptior,:                                  SIJ!Us·
 ll                                             Currency, nolcs, etc.                          5
 Make:                                      Moda:                                            Serial:

 Pn,petty lDcaion:                                       QTY·                               Value:                                     UCR Code:
 SUSPECT                                                  1                                 Sl00.00                                    1207
 Rllated To:                                          DIii Reco.eted:       Reco.e,yCode:                 Jutlsdiction Slden:      Jurisdiction RtcOYeA!d:
 RICHARDSON, BRITTENY ANTIONETTE                                                                          2
Om:                                             ~tion:                                         Slatus:

Mike:                                       Model:                                          Serial:

Pn,petty LocalicNt                                       QTY·                               Value:                                     UCRCode:


Relaled To:                                           Date Rec:overed:      RecMry Code:                  Jurisdictiafl Stolen:    Jurisck1ion Recownd.


Oass:                                          Description:                                    Status:

Make:                                      Model:                                           Senal:

Pn,petty l.ocalion:                                     QTY·                             Value:                                        UCR Code:


Related To:                                           0111 Reco.e,ed:      Rec0Yt!Y Code:                 Jurisclidion Slden:      Jurisclction Recovell<I


Cass:                                          Description:                                    Staus:

Make:                                      Model:                                           Serial:

Pn,petty Loealion:                                      QTY                             Vllue:                                         UCRCode:

ReialedTo·                                            Date Rec:overed:     Rec0Ytl'f Code:               Jurisdiction Stolen:     Jurisdiction Recoven,d:


Class:                                         Description:                                   Status:

Make:                                      Model:                                           Serial:


Pn,petty Location:                                      QTY·                            Value:                                         UCRCode:


Related To:                                           DaleRecovmd:         Recover, Code:                J\lisdit1ion Stolen:     JurisclCl,on Rec:overed.


Oass:                                          ~•on:                                          Slatlls:

Make:                                      Model:                                           Serial:

l'lopeny Location:                                      QTY-                            Value:                                        UCRCode:


Relalad To:                                          Dace ROCOYOled:       Rec0Yt!Y Code:                Jurisclidion Stolen:     Jurisclctian R ~ .


Cass;                                          o.sa.>tion:                                    Status:

Make:                                      Model:                                        Serial:

Properly Location:                                      QTY-                            Value:                                        UCR Code:


RelaledTo:                                           Date Recovered:       Recovery Code                 Jurisdiction Stolen:     Jurisdction Recovered:


Oass:                                          Description:                                  Saatus·

Make:                                      Model:                                       Serial:

Propefty Loealion:                                     QTY·                            Value:                                         lJCR Code:


Related To:                                          Date Recovered:       Recove,y Code:                Jurisclidion Slden:      Jurisdiction RtcCMfed




                                                                                                                   PLAINTIFF-024301(UI&S)
                    Case 1:20-cv-05233-SEG         Document 115-17                       Filed 01/18/24        Page 39 of 58

                     DEKALB COUNTY POLICE DEPARTMENT                                                     Case#
                                GA0440200                                                             I 5-01!-IUII
                                        NARRATIVE
Ofl'icer I0/N.Yne                       Oa:e                        "Pllfll..,IIQ Officer 10/N;rne·                  0...
3089                  Connors m a       !!/26/2015 9 2-1 -1 6 AM
Tille·                 INITIAL REPORT


Su:spec:t # 1· Black male, light comp leX10n. 6'1•. slim build. 150 lbs~ 19-25 years cf age. black bHeball cap wfwhite writing.
wearing grey T-shirtw/black wribng. blue Jeans. armed with black semi-automatic handgun (possible Glock).

  Suspect # 2· Black male. d ark complexion. 5 '8". 160 lbs . dread locks. black baseball cap. all black clothrng, 19-25 years of
 age. unknown if armed

  On Augu!lt 26, 2015 at approximately 8.40 a.m.. I was d1spatcl1ed a call lo 4649 Memonal Dr (United Inn). Room It 120.
 Decatur. GA. in reference to an armed robbery that just occurred call

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she thought it was her boyfriend and thought that he had forgotten his room key. She then elated that:suspect# 1 and# 2 came
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stated that he asked her 'Vniere is the money·. and she told them that she only had S 100 dollars to pay for the room. Ms.
Richardson stated that they ransacked the room pulling out dreGser drawers looking for money. She stated that SUIIJ:Ject # 1 told
her that since she didn't have any money she was going to give him something Ms. Richardson stated that she begged him not
to lall her and told him that she would do anything. She mated that suspect # 1 took a condom from her nightstand. put iton has
penis and forced her to perfonn oral sodomy VJhile in the act Ms Richard,on stated that her neighbor's 5 year old daughter
knocked on the window asking for her Marta Breeze card so her mother could take her ID school. Me. Richardson stated that
suspect# 1 made her check to 11ee who was knocking on the window She stated that when 11he rshowed them that it was her
neighbor's 5 year old daughter suspect# 1 stated that "This ai ntnght". They both then ran out of the room in separate
directionn. Ms Richardson atated suspect# 1 fled m the northbound di recbon acro!ls the street and got inlo a small grey
vehicle. Suspect# 2 fled behind the business in the southbound direction

 Ms Richardson refused trealment by EMS I broadcasted the suspect's description over the radio and notified Special Victims
Unit Detective Oargon # 981 and a dvised him of the incident Oetecbve Oargon responded to the incidentlocalion and lhe case
was turned over to SVU. Ms R1chard!l0n was issued a case number.




                                                                                                                 PLAINTIFF-024302(UI&S)
                           Case 1:20-cv-05233-SEG                                               Document 115-17                                             Filed 01/18/24                                  Page 40 of 58



                          DEKALB COUNTY POLICE DEPARTMENT                                                                                                                              Case#;

                                     GA0440200                                                                                                                                   16-126690
                                                              INCIDENT REPORT
     nadenl Type:                                                                                                                              ~Uni$            nadentCode                      Ollense MSdaOn                              ~•st Junsdidlon
     l 6•5-23 (lJ H) Simple battery                                                                                                             1              1313                             COUNTY                                      COUNrY



i    !'lenise Type:
     ;:OMMERCIAL
     Pata Repoll:         Incident Start
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                                               lncidert End:
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                                                                                   We.,pan Type:


                                                                    Incident Llx:atian:
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                                                                                                                                                            Foreible:                S1range, To S~anll!I"             Hale Moavaled:                LDC Code:
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     U/25/2016 4:03 :01 AM12/25/2016 3:53:05 AM12/25/2016 4:03:11 AM-1649 MEMORIAL DR 40 DECATUR GA 30032·
     Name (Last FQI Middle):                                                                                                  Manil.er                                  008:                           A91:                        Su:          Race:            Etlinici1y:
      ANDERSON, HORATIA                                                                                                                                                           -1997                19                          F             B               N
     AdiftSS                                                                                                Home#:                                  Wen#:                         Cd#:                                   Emai:
      -1649 MEMORIAL DR 40 DECATUR GA 30032-
      SSN:                         Resident Slatus:                   HGT:          WGT·            tiairCda:                    HairStyte:                     Hair length:               EyeCdcr                            OLN#:                              Stata:
                                   NON-RESIDENT                       502           100             BLACK                        STRAIGHT                       LONG                           BROWN                          058599518                          GA
     Occupation:                                         ~yer                                                      Address:                                                                                                                 Employer Phone:

I
~ lndividuill
      VIC1in T'1)e:                                                          Yes Na         11 Yes. N.wre 01 Vltfin\'s Scf1001                                LEOKA Ac1iwy Type:                                        LEOIIA Assignment Type:
                                                               SIUdent:
                                                                              Cl    "1
                                                                                                                                         ~


      lquries:     0    None r.,     Mira ::::J   lnlemal 0   Teeth ;:J       Unconscious          Lacerations     'l         Bones      - Othet                                       !Jsed:          tJ     Drugs      D        AJcohai   D c~-
      SMTs:


      Relatianship To      1J NOT APPLICABLE                          (2)                                               (3)                                                (4)                                                    (5)
      Offenders:           61                                         (7)                                               (8)                                                (91                                                    (10)

      Offenses             1) 1313                                    (2)                                               (3)                                               {4)                                                     {5)
      lnwlved:             61                                         (7)                                               (8)                                                (91                                                    (10)

     Na,,e:                                                                                                                   Moniker                           008:                           Ai,e:                     Se,:                Race:         ElhniCily"


     Addnm:                                                                                                 Harne Phone:                            Wor\Phone·                    Cell Phone:                            Ema.I:


      SSN:                         Residenl Staws:                    HGT           WGT             HairCGlar                    Hair Style:                    Hair Length:               Eye Caler                          OLN#:                              Stale:


      Occupat1011·                                        Employer                                                  Address:                                                                                                                ~loyer Phone:
a:
~ SMTs:
zw
It                                                                                                               Offenses lnvoll'l!d:
                                                                                                                                      (21
01)
      3)                                                                                                                              (4)

      5)                                                                                                                              (6)

     [71                                                                                                                              (8)

      91                                                                                                                              (10)

                                                                                                                                                                                                                               (!rugs □
                       □                          □                  □
           WANTED:                 WARRANT               ARREST                       SUSPECT ARMED:                                     WEAPON:                                                                sed:    :.J                   Alalhal C     ~Iller

                 TOTAL N\JMBER ARRESlEl:          []                 ARREST AT OR NEAR OFFENSE SCENE:                          Yes: □                No:   llil
                                    VEHICLES                                 CURRENCY. NOTES. ETC                             JEWELRY. PREC. METALS                        FURS
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                  GOCENTRY                        □ WAIIRANT                □ MISSING PERSONS                  □ VEHICLE                         □ ARTIQ.E                             □ IIOAT                                □ Gl.JN                osE         R ES



g2i  D10 IN\IESTIGATION INDICATE THAT THIS INCIDENT WAS DRU~B.ATEO? IF O YES Ill NO 0 1 • M1)hetamine
     YES, P1EASE ll'lllCATE THE TYPE OF DRUG(S) USED BY OFFENDER                    O
                                                                                                                                                 0     2• Bnlllrate               0 l •Cocaine              0 4 • Halluanog                          D s • He<1i•
                                                                                      6-M;rijuana                                                0     7-Melhamphelanine          D s-ep;um                 D 9 - Syntt,etjc N.Yco11c                D U•Unknawn
0::
~ REQUIRED DATA FIELDS
.J FOR CLEARANCE REPORT
                                        □ C1EAREO BY ARREST □ EXCEPTIONAU YCl.EARfO □ UNFOUNDED                                                      DATE OF CLEARANCE                     I
                                                                                                                                                                                                                       □ ADlA.T □ . INENILE
u
REPORTING OFFICER                                                                                                NUMBER                      APPROVING OFFICER                                                                                             NUMBER
Milllhcws o j                                                                                              3216                              Dilvis r s                                                                                                 1663




                                                                                                                                                                                                            PLAINTIFF-024303(UI&S)
                   Case 1:20-cv-05233-SEG          Document 115-17                   Filed 01/18/24                Page 41 of 58


                   DEKALB COUNTY POLICE DEPARTMENT                                                           Case#
                              GA0440200                                                                    16-126690
                                         NARRATIVE
OfficerlOINa'Tlo                         Daie·                    Appmvmg Offic:er 10,~;rno:
3216                 Mil tthcws o j      12/25/2016 4 ·07·46 AM   1663                         Davis r s
TIiie:                IN IT IAL REPORT


On December 24. 1responded to 2701 N Decatur Ad (Dekalb Medicnl) EA room 8 in reference to a assault call Upon arrival f
made contact wilh the medical doctor who did !he initial evaluation of the victim (Horatia Anderson). The doctor advised
Anderson wais very uncooperative and refused to answer many questiono The doctor advised Anderson otated to her that she
had been sexually assaulted but refused to give more infcnnation in reference to the aheged sexual assault The doctor also
stated Anderson became irate zi t one point and started to take off her doth1ng.

Upon ma king contact with Anderoon she advised she was at 4649 Memorial Or (United Inn & suites) leaving room number 40
when an unknown male came from out of room 116 and assaulted her. Anderson slated the suspect grabbed her crutch and
then struck herin the face with a closed fist I did not observe any visible injuries to lhe facial area of Anderson. After asking
Anderson zigain to recall the events that had oca.arred she switched her story several tim9 and was not consistent with the
story she had given !he doctor northe story she had initially given me. Al no pointd1d she ever make me aware of her being
sexually assaulted like the story ohe provided the doctor Anderson wa!S issued a czise number end advised on how ID obtain a
copy of the report




                                                                                                                     PLAINTIFF-024304(UI&S)
                             Case 1:20-cv-05233-SEG                                                    Document 115-17                                              Filed 01/18/24                                Page 42 of 58


                             DEKALB COUNTY POLICE DEPARTMENT                                                                                                                                     Case#:
                                        GA0440200                                                                                                                                          17-05-1676
                                                                 INCIDENT REPORT
       ncul!nt Type:                                                                                                                                  ~unts              nodent t ode                    Offense J..,sdK:tion                         l\rreslJunsdcllon
       lt6-5-20 (1313) Arresl //Simple Assault                                                                                                         1                1313                             COUNTY                                       i:OUNTY
       ~6-7-24 (2903) Arrest//lnlerforence with government properly (dam,                                                                              1                2903                             COUNTY                                       ~OUNTY


i      '6-10-24 .3 (7399) Arrest/ /Interfering with calls for emergency assist
       ~TYl)e:
       RESIDENCE
       PillReport:                               lnadenl Slart
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                                                                                                                                                                                                                                                                Loe Cede:
                                                                                                                                                                                                                                                                560

       ~/2/2017 9:00 :00 PM                      6/2/2017 9.00 :00 PM                             6/2/2017 9:00:00 PM                                4649 Memorial Drive Decatur GA
       N- (la$l Fill Middle)·                                                                                                       l.toniler                                    DOB:                         Age:                         Sex:             Race:           Elllnicity.
        Brown, Karis Nicole                                                                                                                                                                   1979            37                           F                B               N
       Adctess                                                                                                      Home#:                                 Work#:                             Cel#:                               Email:
        4649 Memorial Drive Room #345 Decatur GA 30032-
       SSN:                       ResidenlSlalus:                           HGT·          WGT·             Hair Color                   HairSlyle:                       Hai- l.englh:                Eye Color                       Ol.N It                               State:
                                  RESIDENT                                  504           200                                                                                                                                         057150943                             GA
       Occupation:                                        Efr4iloyer                                                       Address:                                                                                                                   Employer Phone:
;
~ Individual
       Voaim Type:                                                                 YI!$ No        II Yes, Name ol v,clinl"s Sthool                                      LEOM AcllYlly Type:                                      lEOM Asslgnmenl Type:
                                                                     Slllderc:
                                                                                    □ 0
       lnjunes:          None      Milllf CJ     lnlemal L       Tmh        0      l/nt:on$doU$    □ l.a:eralio'1s         D        Bones       □    Oilier                                      lMd:        ~       D<vgs       RJ AA:ohol 'J ~wr
       SMTs:


       Relationship To       1J BOYFRIEND OR GI                             (2)                                              {3)                                                    14)                                                  (SJ
       Offender$:            6J                                             (7)                                               IBJ                                                   19]                                                  (10)

       Offenses              11 1313                                        (2)   2903                                        ill 3899                                              141 NONC                                             (SJ
       ln'odved:             61                                             (7)                                               (BJ                                                   19)                                                  (101
       Nani:                                                                                                                        Moniqf"                              DOB:                         Age:                        Se<:                 Race:           Ethnicity·
       Kellan, Jamie                                                                                                                                                               -1973              H                           M                    B               N
       Address:                                                                                                     Home PIIOne:                         Wen Phone:                           CellPhone:                          Email:
       i649 Memorial Drive #345 Decatur GA 30032-
        SSN:                      Residenl SlillUs.                         HGT           WGT              HairCdcr                     HairSlyle:                       Hair length:                 Ere Cdor.                       OI.Nit                                SIR:
                                  RESIDENT                                  511           230
       Occupation:                                        Employer.                                                         Address:                                                                                                                  Efr4iloyer PIIOne:
a:
~ SMTs:
zw
LI.                                                                                                                      Offenses Involved:
LI.
0 11 16-5-20 (1313) Arrest/ /Simple Assault                                                                             1313                (2)     16-7-24 (2903) Arrest// Interference with govern men                                                                   2903
  31 16-10-24.3 (7399) Arrest// Interfering with calls for                                                              NONC                (4)

       SJ                                                                                                                                   (6)

       17)                                                                                                                                  (8)

       9)                                                                                                                                   (10)

                      □ WARRANT· □                                                                                                                                                                                                                      Alcohd □
             WANTED:                                      ARREST·                                    SUSPECT ARMED:                             WEAPON:                                                              U~:        :.J    Drugs ::J                       ~ub!f

                  TOTAltM.IBER ARRESTED·
                                                D                          ARREST AT OR NEAR OFFENSE SCENE:                          Yes: □                 No:   1111
                                  VEHICLES                                         ClJIRENCY. NOTES. ETC                            JEWELRY. PREC. METALS                           FURS
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~                  GCICENTRY                     □ WARRANT                       □ f.llSSING PERSONS                    □ VEHICLE                       □ ARTICLE                                □ BOAT                               □ GUN                    D    seCtJRmes
<
gl!i   DID INVESTIGATION INl:NCATE THAT THIS INCIDENT WAS DR~ElATED7 IF !II YES
       YES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER
                                                                                                             O NO 0
                                                                                                                         □
                                                                                                                               I - Arr4>helanine       D 2•Blmltnte                        D 3-Cocaine D 4-Halll'.:iqen                                        D s . Hemin
                                                                                                                               6-Maijuana              D 1 - Me~helanine                   D 8-0pillffl 0 9 • Synthetic Narcotic                               D u.unknown
0:::
~ REQUIRED DATA FIELDS
  FOR CLEARANCE REPORT
...1
                                      □ ClEARED BY ARREST □ EXCEPTIONAi.LY CLEARED □ UNFOUNDED                                                             DATE OF CLEARANCE                                                 □ ADULT □ JUVENILE
0
REPORTING OFFICER                                                                                                        NUMBER                   APPROVING OFFICER                                                                                                   NUMBER
Daniels i w                                                                                                         2175




                                                                                                                                                                                                                   PLAINTIFF-024305(UI&S)
                              Case 1:20-cv-05233-SEG                                                     Document 115-17                                                   Filed 01/18/24                                   Page 43 of 58


                                                                           GA0440200
                                             FAMILY VIOLENCE INCIDENT REPORT
                                                                                                                                                                                              I    Case#:
                                                                                                                                                                                                17-054676
      noclent TIP"                                                                                                                                         l,;OUl11$           noclt!tlCode                  Otten~ Junsdlcilon                              11treS1 Junsdlcti11-,
      tn-5-2ll (nni Arrest/ /Sim pl<' Ass.lull                                                                                                              I               1311                             CO UN IY                                        ;:o NI 'I
      J6-7-2-I (290,) Arrest//lnhirforcnce with govt?rnment property (<lam, 1                                                                                               2903                             COUNlY                                          ;:'.:OUNlY


i     ~ 6-10-24.3 (7399) A nest// Interfering with calls Cor emergency ass isl 1
      ,......se Tn,e:
      RESIDENCE
      PateRepart                                     lncidan1Start:
                                                                                          Weapon Type:
                                                                                          03
                                                                                                    lndclenl End:
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                                                                                                                                                                            NONC
                                                                                                                                                                          Forcible:


                                                                                                                                                           Incident Location:
                                                                                                                                                                                                   N
                                                                                                                                                                                                             COUNTY
                                                                                                                                                                                                   Slr.lnQer To Stan II""               Hate Mlltiva!ed;
                                                                                                                                                                                                                                                             COUNTY
                                                                                                                                                                                                                                                                          LocCode.
                                                                                                                                                                                                                                                                          560

      p/2/2017 9:00:00 PM                            6/2/2017 9 :00 :00 PM                          6/2/2017 9 :00·00 PM                                   4649 Memorial Drive Decatur GA
      Nano {las1. F"ntMiddleJ:                                                                                                        Moniker                                           DOB:                          Aqa:                    Se1;                Race:              Ethridty
      Brown, Karis Nicole                                                                                                                                                                          1979             37                        F                   B                  N
      Adcnss                                                                                                         lbnet.                                      Wort#:                             Cel #:                                    Email;
       16-19 Memorial Drive #Room #345 Decatur GA 30032
       SSN:                           Residenl Slallls:                        HGT·         WGT:            Hair Coler                    Hair Style:                           Hairungtlt               Eye Color.                           OlN#:                                      Slalll:
                                      RESIDENT                                 504          200                                                                                                                                               057150943                                  GA

i Occupati<M,:                                                        Employer                                                        Addreu:                                                                                                                 E~loyer Phone:


~ In<livi<lual
       V-mType:
                                                                        Sllldent:
                                                                                      .
                                                                                     Yes No
                                                                                            ("
                                                                                                    II Yes, Name of Vcin1'$ SchOol                                             l£0KA ~ Type:                                              LEO KA AsSignment T111e:


       Injuries:    I...   None .,;     P.tra C:     lmemal C          Tee!!I ;_J     Unconscious    U     Lacl!filtions              Bones
                                                                                                                                                 ...
                                                                                                                                                 ~
                                                                                                                                                       ~




                                                                                                                                                           OIiier                                    Used.         !::'.:       Orugs     ~       AJCllhol    u C~uti:r
       Relationsti!J To       1)   BOYFRIEND OR GI                             (2)                                              (3)                                                          (4]                                                (5)
       Offendffl:             6)                                               (7f                                              (8]                                                          (91                                                  1101

       Offenses               1J 1313                                          (2)   2903                                       (JJ 3899                                                     (4) NONC                                           (5)
       lnl'Oi~:               6)                                               (7f                                              [8)                                                          (9)                                                (10)

      N.rne:                                                                                                                               Mrier                                      008:                        Age,                          Sei:                  Race:               Etllnicitr
      Kellan, Jamie                                                                                                                                                               11111-1973                      44                              M                   B                   N
      Ades:                                                                                                             Home Phone:                              Won.Phone:                         CellPhc<le:                              Email
      i6-19 Ml'morial Drive ##345 Decatur GA 30032-
       SSN:                           Residenl Sta!uS:                         HGT          WGT:            Hair Coler                    Hair Style:                           Hairle,,g11,:             Eye CGlcr                           OLNii:                                     St.1111:
«                                     RESIDENT                                 511           230

ia:
w
       Ottupation:                                                    Employer                                                        Adc!IHs:                                                                                                                ~~ lllyer Phone.


   SMTs:
Cl
C,
~                                                                                                                          Offense, Involved:
~ 1) 16-5-20 (1313) Arrl'sl//Simplc Assault                                                                                1313                  (2)       16-7-24 (290 3) Arrest/ / lnt c- rforencc with gov c rnmcn                                                                29(13

I
If 5]
       JJ 16-10-2-1.3 (7399) Arrcst//lnterfering with calls for                                                            NONC                  (4)

                                                                                                                                                 {11

       7J                                                                                                                                        (8)

       9)                                                                                                                                        1101

                        □ WARR.ANT □ ARREST ARREST AT OR NEAR OffENSE SC£rE.
            WANTED:                                                                                    SUSPECT ARMED                               WEAPON                                                                       Used: !        Orug1 r._;        Alcohol U           Comput!r

                   TOTAL NUMBER ARRESTED []                                                                                            Yes: □                       No·
                                                                                                                                                                          liil
~. WERECIIILOREN INVOLVED?       □ YES E NO
~- WAS ACTCOMMITfED WITH CIIILDREN PRESENTI         □ YES 11 NO
~ NUMBER OF PREVIOUS COMPLAINTS AS ADVISED BY VICTIM:
~- EXISTENCE OF PRIOR COURT ORDERS:
                                                              □ 0
                                         □ YF.S □ NO II UNKNOWN
                                                                         1•5 □
                                                                                                                                         •                                6-10 □             MORETIIAN 10                   □   UNKNOWN

5. WAS VIC11M ADVISED OF AVAll.ABLE REMEDIES AND SERVICES?      II YES □ NO
                                                                                     FOR THE FOLLOWING ITEMS CHECK ALL THAT APPLY
5 ITl'E AND EXTENT OF ALLEGED ABUSE BY THE PRIMARY AGGRESSOR:                  □    1 • FATALINJURY □ 2 • PERMANENT PHYSICAL DISABILllY
      □            3 - TEMPORARY DISABILITY □ 4 • BROKEN BONES □     5 • GUN fKNlFE WOUNDS 11 6 • SUPERFICIAL INJURIES
      ■            7 • PROPER1Y OAMAGElTHEFT □ 8 • THREATS □     9 • ABUSIVE LANGUAGE a        10 • SEXUAL ABUSE □ 11-0THER
7 , POUCEACTIONTAKEN
      IF NO ARREST MADE WHY NOT?
       □
                                                   •
                                    1 • ARREST □ 2 - CITATION □ 3 • SEPARATION □ 4 TMEDIATION □ 5 • OTHER □ 6 • NONE
                                         □ 1 • JUVENILE
                 3 - INSUFFICIENT PROBABLE CAUSE
                                                                    □ 2 M • PRIMARY AGGRESSOR WASNOTATTIIESCENE
                                                         □ 4 • Ont ER REASON

13. HOW WAS PRIMARY AGGRESSOR IDENTIFIED?                                                 II 1 - PIIYSICAL EVIDENCE                               0 2 • TESTIMONIAL EVIDENCE                                    □           3-0THER
9, DID INVESTIGATION INDICATE TIIATSUBSTANCEABUSE WAS INVOLVED?                 [II YES □ NO
   IFYF.S, INDICATE SUBSTANCE(S) USED BY PRIMARY AGGRESSOR(Al AND/OR VICTIM(V)
    A.      □ 1 - DRUGS   0 2 TALCOHOL              V: II 3 - DRUGS      II 4 · ALCOIIOL
10. RELATIONSHIP OF PRIMARY AGGRESSOR TO VICTIM(Sl:                                                                 □      1 • PRESENT SPOUSE                           □ 2 • FORMER SPOUSE                                     □   3-PARENT
  □ 4 • CIIILO  □ 5 TSTEPPARENT    □ 6 • STEPCHILD   □                                                              7 TFOSTER PARENT                                □ B • FOSTER CIIILO
  ■ 9 . NONE OF THE ABOVE, BUTUVES IN SAME IIOUSEHOLD


 0:
:1i REQUIRED DATA AELDS
                        □ CLfAREDBYARREST □ EXC£P'TlONAUYCLEARED D UNFOUNDED                                                                                     DATE OF CLEARANCE                                                      □ ADLA.T □ JUVENILE
.J FOR CLEARANC£ REPORT
 0
REPORTING OFFICER                                                                                                   NUMBER                       APPROVING OFFICER                                                                                                            NUMBER
Daniels j w                                                                                                         2175




                                                                                                                                                                                                                                PLAINTIFF-024306(UI&S)
                Case 1:20-cv-05233-SEG   Document 115-17      Filed 01/18/24          Page 44 of 58


                DEKALB COUNTY POLICE DEPARTMENT                                  Case#.

                           GA0440200                                           17-054676
                         ADDITIONAL INCIDENT TYPES
Incident Type                                        Counts    Incident Code        Offense Jurisdiction   Arrest Jurisdiction


"AMILY OFFENSE FREE TEXT                             t         3899




                                                                                       PLAINTIFF-024307(UI&S)
                  Case 1:20-cv-05233-SEG           Document 115-17                      Filed 01/18/24      Page 45 of 58


                  DEKALB COUNTY POLICE DEPARTMENT                                                     Case#:
                             GA0440200                                                             17-05-1676
                                        NARRATIVE
Officer 10/Name                         Dale                        AjlpfO"ng Oltlcer 10/N.w,,e.
2175                D.in icls j w       6/3/2017 8 00 00 PM
TIiie:               IN IT IAL REPORr


-1. along wilh Sgl Johnson, Sgt Parker and Ofc. Sa~entresponded to the United Inn (Exmnded Stay) Hotel. located at4649
Memorial Drive. in reference ID trouble unknown call

The caller, who elected to stay anonymous. stated that from his/her room, he overheard loud screams. profanities and what
sounded like someone was being aissaulted Upon our arrival. we knocked at room 345 and were allowed entry into the room by
a male subject. Once inside. we then made contact with a female subject. who was also occupying the room. Both mal e and
female appeared to be very intoxicated.

The room was in IDtal and complete disarray; with the bed (mattress} lumed upside down. clothing and trash scattered about
the floor and several empty beer cans and other alcoholic beverage bottles There was also various drug paraphernalia (crack
pipes etc.) inside the room .

We were able to separate the male from the female. though they were still in an active verbal dispute. by taking the male
subject outside the room. Once alone. the female. identified as Kans Brown/victim, 37. staled that after a verbal dispute over
monies owed fI> her sexual favors. a sa.iffle ensued. That scuffle escalated into a physical altercation. with lhe male suspect.
Jamie Kellan. 44. striking the victim in the face and chest area. w ith a dosed fisl The victim did display a few minor scratches
about her facial area
The victim also stated that while attempting to call 911. the suspect.grabbed her cellphone. thereby preventing her from calling
the authorilieu far help.

With sufficient probable cause present I placed the suspect under arrest under the domestic violence laws.

The suspect. far his part. was not being i!ln effedive advocate for his 'side of the sfI>ry'. During my enbre encounter with him. he
was loud. uncooperative. combative and inlDxicated. He was cursing and being very disrespectful He referred fI> this officer as
a bitch nigger". •a punk ass officer" and aCCtJsed me of "taking that bitch's word over mine"_

While enroute to the jail with the suspect. he began ID fon::efully kick the inside doors on my 2013 counly'-issued Chevrolet
Caprice. He continued to kick my door. which inevitably caused damage to my patrol vehicle Upon my arrival at the jail Ofc
Sargent who accompanied me. assisted me with wal king the suspectfrom myvehide to the intake jail area.

While inside the intake area. it took several detention officers ID detain and control the suspect. due tc his violent behavior.

After the suspect was booked in. I returned fI> my vehicle only to di5COver that my driver's side rear door had been damaged
due to the suspect violently kicking on my doors. The door would not dose completely.
Sgt Johnson was notified and responded ID the scene. A 'Damage to County Property Paperwork' will be completed A new
charge was also added to the suspect's jarl docket


Arrest warranl5 and any further prosecution wrll be handled b y this officer.




                                                                                                               PLAINTIFF-024308(UI&S)
                   Case 1:20-cv-05233-SEG          Document 115-17                    Filed 01/18/24     Page 46 of 58


                    DEKALB COUNTY POLICE DEPARTMENT                                                Case#:
                               GA0440200                                                        17-054676
                                       NARRATIVE
Ol[,cer ID/Name:                        Oat.!                        .-_,.,,g Offic:er IO~ane
33,16                Sa rgcnl j m       6/2/2017 9 1719 PM
                      INITIAL REPORT


Report Date·
Reporting Officer:3346 •Sargentjm
Approving Officer •



   On 06/02/2017. at approximately 2040 hours. I responded to 4649 Memorial Orive(United Inn & Suites) 1n reference to a
domestic disturbance. Upon arrival, I met with Ms Karis Brown(Victim} and
Mr. Janue Kellan(Suspecl) The Victim s1ated. the Suspectfolfowed her into her room. Room #345. The Suspect accused the
Victim of stealing his money. The Suspect then 1umped" the Victim striking her in the face. ripping her t1hirt, and slamming
her into thewalL She advised the Suspect she wa$ contacting the Police and the Suspect •snatched. the Victim"s cellphone
from her hand. The Victim made it the front window and pulled open the curtain At. that time. the Victim observed an
unidentified black male outside the window. The Victim screamed for help toward unidentified male. The Suspect then pulled
the Victim away from the window. throwing her to the floor. He then forced her to remove her clothi ng Upon my arrival. the
Victim was wearing only her bra and underwear

  The Victim believed the unidenbfied male contacted Police The call w as receiv ed by a male. who disconnected the line
when call takers asked for his name. The Victim could net provide any further information about the caller. I attempted to
contact the Complainant zit the number which was used to contact 9 11(404-836-8100) The number came back to the
business. United Inn & Suite:!.

    I observed slight swelling to the Victim's right cheekbone. Herl-shirt was tom at her right shoulder. The room had been
completely ransacked. Both the Victim and Suspect stated. this was caused while the Suspect searched for his money. There
were empty. and full, beers cans strewn about the room. Both the Victim and Suspect appeared to be under the influence. and
w ere emanating the odor of alcohol from their persons. There w ere pieces of what appeared to be a broken crack pipe on the
bathro om floor. and burnt brillo resting on the bathroom sank. Adjacent ID the bathroom door. in a blue trash can. was a small
empty Ziploc bag. The bag appeared it had contained crack cocaine residue. Both the Victim and Suspect accused the other
of consuming the crack cocaine. They ea ch istaled, they had only consumed alcohol

   The Suspect was escorted away fro m the scene. an d placed in the back seat of Officer JW Daniel's(#2175) patrol car. I
provided the Victim with a case number and Victim Contact Cant She was advised of the Temporary Protective Order
Process

   Before departing the incident location. I observed the Suspect kick the left and right rear doors of Officer Dani els" patrol car.
The Suspect w as yelhn g profanitieis at the Victim. and Officer Dziniels AlS Officer Danie tis and I arrived at The DeKalb County
Jail. I observed the left rear door of Officer Daniels' patrol car protruding slighlfy outward. Before removing the Suspect. he
kicked the rear doors several more times The Suspect elated the patrol car under his own power and was lodged in the j ail.
Upon further inspection of Officer Daniels' patrol car. I observed distinct shoe prints on the interior of the rear doors The left
rear door protruded slighlfy after bemg dosed.




                                                                                                          PLAINTIFF-024309(UI&S)
                                 Case 1:20-cv-05233-SEG                                                 Document 115-17                                           Filed 01/18/24                                Page 47 of 58


                               DEKALB COUNTY POLICE DEPARTMENT                                                                                                                                Case#.
                                          GA0440200                                                                                                                                     17-054676
                                                                      INCIDENT REPORT
       nolltntTJl)e                                                                                                                                    i:;ounlS        IICIOefllCode                  Offense Junsdlcilon                        ~,rest Junsdialon
       )6-5-20 (131J) Arrcst//Simple Assault                                                                                                            1             1313                            COUNIY                                     ;:OUNI Y
,_ l6-7-24 (2903) Arrest//lnterforence with government property (dam, 1                                                                                               2903                            COUNTY                                     ::ouNTY
~ 1 6-10-24 3 (7399) Arrest//lnterfering with calls for emergency assist 1                                                                                            NONC                            COUNTY                                     ::oUNTY
~ t'l'<fflS8 Type:                                                                         Weapon Type:                                                           F010ble:                  s~ To St111ger                HllaMolivafed:                    Loe c..i.:
       RESIDENCE                                                                           03                                                                     y                          N                                            t..               560
       IJllll Rfl)Glt                                 Incident Si.t                                Incident End:                                      Incident location:
       6/2/2017 9:00 :00 PM                           6/2/2017 9:00:00 PM                          6/2/2017 9:00:00 PM                                4649 Memorial Drive Decatur GA
       N.,,. (Lzt Fn1 Middle):                                                                                                      Monil:er                                  DOB:                         Age:                     Se,.              Rate:
        Brown, Karis Nicole                                                                                                                                                    ---1979                     37                         F               B
       Adchsl                                                                                                                                                                              Cel#:                             Email:
       1649 Memorial Drive Room #345 Decatur GA 30032-
       SSN:                             Residen1Sla1us:                        HGT·         WGT·           Ha, Colar                    Ha, Style:                    Hair Leng11t                 Eye Color:                 OI.N#:                                     Sia:
                                        RESIDENT                               504          200                                                                                                                                  0571509-13                              GA
       Ocalpation:                                             ~ye,-                                                       Adinss:                                                                                                                Emplore, Phone:

i
~ VcllT1TY11e:                                                                        Yes No        If Yes. Name of \lic:11,,s School                                 LEOKA AcMy TJPe:                                      LEOKA Asslgnmentlype
                                                                          Sludent
> Individual                                                                          0     !?l
       lnjllies:     '-'    None G'..    Mino, C      Internal C      feeth    D      Unconsciol,s D      utffltions      :.        Bones ._          Otller                                  Used:       ~       Drugs     71     Afcohol -          C....,uter
       SMTs:


       Relabol\ShJI To           11 BOYFRIEND OR GI                            {2) _ _ _ _ _ _ _ _ _ilJ _ _ _ _ _ _ _ _ _14) _ _ _ _ _ _ _ __                                                                                      (51
       Olftndcrs:              6J                                              (7)                                            (8)                                                (9)                                               (10)
                                 1) 1313                                       {2)   2903     ill 3899                                                                           14J NONC
       Olftnses
       Involve<!:              6)                                              (7)
                                                                                     ---------                               {!)                                                 {9)
                                                                                                                                                                                       ----------                                  {5)

                                                                                                                                                                                                                                   (10)

       N.,,.:                                                                                                                                                         DOil                         Age:                     Sex:                  Rate:            Elllnicity:
       Kellan, Jamie                                                                                                                                               --1973                          44                       M                     B                N
       l,e.d<ress:                                                                                                  Home Phone.                          Wor1< Phone:                      Cell Pl1one:                     Email
         !649 Memorial Drive #345 Decatur GA 30032-
       SSN:                             Resident Slabls:                       HGT·         WGT            Hao- Color                   H'"' Style:                   Ha, Lengllt                  Eye Color                  OLN#:                                      Sla!e.
                                        RESIDENT                               511          230
       Occupation:                                             Empla,er                                                                                                                                                                          E~ier Phone:
ac::
~ SMTs:
z
~t-------------------------,Ofle=nses---nvoMd.-.--,---------------------------~
0      1) 16-5-20 (1313)                   Arrest//Simplc Assault                                                      1313                 (2)    16-7-24 (2903) Arrest// lntcrfcrencc with governmen 2903
       3) 16-10-24.3                                            ----
                                    (7399) Arrest// Interfering with calls for                                         NONC                 (4)
       5]                                                                                                                                   (6) - - - - - - - - - - - - - - - - - - - - - - -

       7)
            --------------------------- ----------------------- -----
            - - - - - - - - - - - - - - - - - - - - - - - - - - - (10)----------------------- -----
                                                                                                                                            (8)
       9)

                           f l                      L l                                                                                                                                                                                         1 AlcolloJ l I

                                                                                                                                                            No.                                                                                                    Corr!IUiet
            WANTED:                  WARRANT                  ARREST                                  SUSPECT ARMED                            WEAPON:                                                            Used: _: Ora115
                   TOTAL NUMBER ARRESTED.            □                         ARREST AT OR NEAR OFFENSE SCENE                       Yes: □
                                        VEHUES                                       CIAIRENCY. NOTES. ETC                       JEWEL.RY, PREC. METALS                          FURS


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It                                      AREARMS                             CONSUMAIILE GOODS               r'LIVE.:.=.ST;.;:OCaaK______,,         ,-OTH.=ER________                         TOTAL
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~
<
                    GOCENTRY
                                                      □ WARRANT                     □ MISSING PERSONS                 □ VBIICLE                         □ ARTICLE                            □ BOAT                          □ GUN                        □ SECURmES


g   DID IM\IESTIGATION INDICATE THAT THS INCIDENT WAS DR~El.ATED? IF
Q: !YES. Pl.EASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER
                                                                                                  II YES □ NO O 1- An-4)hetanine O 2 • Barli1urate
                                                                                                              □
                                                                                                                                                                                        D J - C..aine D 4 - Hallucinogen                                  D 5- Heroi•
c                                                                                                               6 • Maijuana     D 7 • Melh~llelaTline                                  D 8 - Opium O 9 - Synll>elic Nato1ic                              0 U• UN<J\OV,fl
a:
~ RECUIREODATAFIELOS                        □ CLEAREDBYARREST □ EXCEPTIOHAI.LYQ.EARED □ UNFOU~EO
-' FOR CLEARANCE REPORT                                                                                                                                     DATE OF CLEARANCE                                         □ ADULT □ JlNENILE
(J

REPORTING OFACER                                                                                                        NUMBER                    APPROVING OFFICER                                                                                               NUMBER
~aniels j w                                                                                                        2175




                                                                                                                                                                                                                PLAINTIFF-024310(UI&S)
                        Case 1:20-cv-05233-SEG                                               Document 115-17                                           Filed 01/18/24                                   Page 48 of 58


                                                                 GA0440200
                                      FAMILY VIOLENCE INCIDENT REPORT
                                                                                                                                                                          I   Case#:
                                                                                                                                                                       l 7-05467n
     nddenl T1Pe:                                                                                                                          ~vnts          rcodent Code          Offl,nse .ll.llsdlt110n                        "1m>l JU11$daon
     ln-5-211 (1'11) Arrest//Simple ,\ssault                                                                                                1             nn                    COUNI)                                         C:OUN I Y
     16-7-24 (2903) Arrest//lnlcrference with government property (Jam, 1                                                                                 290'\                          COUN1Y                                C:OUNTY


i    16-10-24.3 (7399) Arrest/ /Interfering with calls for emergency assisl 1
     P1!t!1se T1Pe:
     ~ESIDENCE
     pa Report:                Incident Start
                                                Wtapon TIPC:
                                                03
                                                     lncidenl End:
                                                                                         y
                                                                                            NONC
                                                                                         F010ble:

                                                                            lrcideflt Localion:
                                                                                                       N
                                                                                                              COUNTY
                                                                                                       Stranger To Shllger' Hate Motivated:
                                                                                                                                        □
                                                                                                                                            '.:OUNTY
                                                                                                                                                     Loe Code:
                                                                                                                                                     560

     6/2/2017 9:00:00 PM 6/2/2017 9:00:00 PM 6/2/2017 9 . 00:00 PM 4649 Memorial Drive Decatur GA
      Nana (LAL F'nt l.lddle]:                                     Moni<ar                        DOB:               AIIO:       Se,:          Rate:        Elh~
      Brown, Karis Nicole                                                                              1979         37           F             B            N
     Adltess                                                                                              Home#:                                Wort.#:                          Cel#:                                Email:
     46-l9 Memorial Drive #Room #345 Decatur GA 30032
     SSN:                      Reside!l SIIIIUs:                     HGT·          WGT·          HairCGlor                   Hair Style:                   Hairle"911r.               Eye Color                     OlN#:                         Stale:
                               RESIDENT                              504           200                                                                                                                              057150943                     GA
~
     Occupdoll:                                             ~                                                            Address:                                                                                              ~Phone:


~ Individual
     T,Pe:
     I/aim
                                                              S111dent
                                                                            Yes No        If Yes, Nana of Vlciim's School                                 LE0KA Activity T1Pe:                                    LEOKA Asslgrment T1Pe:
                                                                             -I
                                                                                     -
     l,.uries:        None ~     Minor C...   lntemal ..J    Teelh   ... Unconsaous             ~ns               '      Bones             Cllher                                 Used:         :!!.,    Otvgs    ~     Alcohol L   Corrp. .

     Relnonship To      1) BOYFRIEND OR GI                           (2)                                           (J)                                                (4)                                               (5)
     Offl,nden:         61                                           (7)                                           (8)                                                                                                  (101
                                                                                                                                                                      191
     Offenses           11 1313                                      (21 2903                                      (3) 3899                                           (41 NONC                                          (5]
     I~:
                        61                                           (7)                                           (8)                                                (91                                               (101
     Nane:                                                                                                                    Moniker.                         DOB:                            Age:                     Sex:         Race:          Elhnidtr
     Kellan, Jamie                                                                                                                                             . .1973                         44                     M              B              N
   ~s:                                                                                                    Home Phone:                          Wo,t,.Pho!le.                     Cell Phone:                        Email:
   ~6-19 Memorial Drive # #345 Decatur GA 30032-
   SSN:           Resident Status:   HGT   WGT                                                   Hair CGlcr                  H•Slyle:                      Hair length:               t)'I Color                    OLN#:                         State.
a:                RESIDENT           511   230
0
     Occupa110n:                                            Employer
~
                                                                                                                         Address.                                                                                              E•yer Phone.
UJ
~ SMTs:
C)
<                                                                                                             Offenses lnvoheG:


i
If
     1) 16-5-20 (1313) Arrest//Simple Assault
     3) 16-10-24.3 (7399) Arrest/ / Interfcring with calls for
     5)
                                                                                                           1313
                                                                                                              NONC
                                                                                                                                 (21 16-7-24 (2903) Arresl//lnterforence with govcrnmen
                                                                                                                                 (4)
                                                                                                                                 tl)
                                                                                                                                                                                                                                                 2903



     7)                                                                                                                          (8)
     9)                                                                                                                          (10)

                                                                                                                                                                                                                       Drugs U Alcohol ' . Corrp111e<
                      □ WARRANT· I I .ARREST· ■
          WANTED                                               SUSl'ECT ARMED                                                       WEAPON                                                               Used:
                 TOTAL i'MJ8ER ARRESTED' []   ARREST AT OR NEAR OFFENSE SCENE                                             Yes. L J              No.   [fl!
1. WERECIIILDREN INVOLVED?        □ YES II NO
2. WAS ACT COMl\fl'ITED WITH CIIILDREN PRESENT:'  □ YES 11 NO
3 NUMBER OF PREVIOUS COMPWNTS AS ADVISED BY VICTIM·
4 EXISTENCE OF PRIOR COURT ORDERS:      □ YES □ NO ■ UNKNOWN
                                                            □ 0       1-5 □
                                                                                                                            •                         6-1D □         MORETHAN10 D UNKNOWN

S. WAS VICTIM ADVISED OF AVAILABLE REMEDIES AND SERVICES?       YES □ NO
                                                                                                              •
                                                                           FOR THE FOLLOWING ITEIIIS CHECK ALL TIIAT APPLY
• 1YPE ANO EXTENT OF ALLEGED ABUSE BY THE PRIMARY AGGRESSOR:           □    1 • FATAL INJURY □ 2 • PERMANENT PHYSICAL DISABILl1i'
  □     3 • TEMPORARY DISABILITY □    4 • BROKEN BONES □     5 • GUN/ KNIFE WOUNDS ■ 6 • SUPERFICIAL INJURIES
    •   7 • PROPERn' DAJ\lAGEITHEFT □ 8 - THREATS □
7. POUCEACTIONTAKEN          ■
                                                         9 • ABUSIVE LANGUAGE □
                                  1• ARREST □ 2 - CITATION □
                                                                                        10 - SEXUAL ABUSE □ 11 -OTHER
                                                                 3 • SEPARATION □ 4 • MEDIATION D 5-OniER □ 6-NONE
    IF NO ARREST MADE WHY NOT?        □ 1 • JUVENILE              □ 2 M • PRIMARY AGGRESSOR WAS NOT ATTIIE SCENE
     □         3 • INSUFFICIENT PROBABLE CAUSE        □ 4 • OTIIER REASON

B HOW WAS PRIMARY AGGRESSOR IDENTIFIED?                                           Ill 1 - PIIYSICALEVIDENCE                         □    2 • TESTIMONIAL EVIDENCE                          □        3-0THER
9 DID INVESTIGATION INOICATETIIATSUBSTANCEABUSE WAS INVOLVED?                    Ill YES □ NO
  IF YES, INDICAIB SUBSTANCE(S) USED BY PRIMARY AGGRESSOR(/\) AND/ OR VICTIM(V)
  A:       □ 1 - DRUGS   □ 2 • ALCOHOL

10 RELATIONSIIIP OF PRIMARY AGGRESSOR TO VICTIM(S);
                                                   V· ■ 3 · DRUGS            4 - ALCOIIOL
                                                                                                      □
                                                                                                                            •
                                                                                                           1 • PRESENT SPOUSE     □ 2 • FORMER SPOUSE                                                   □   3-PARENT
  □ 4 • CIIILO  □ S • STEPPARENT     □ 6 · STEPCHILD  □                                                7 - FOSTER PARENT      □ 8 - FOSTER CHI LO
  ■ 9 • NONE OF THE ABOVE. BUT LIVES IN SAME HOUSEHOLD


0::
i5
-' FOR Cl.EARANCE REPORT □ CLEARED BY ARREST □ EXCEPTIONAllYO.EARED □ UNFOUNDED
    REQUIRED DATA FIELDS
                                                                                                                                               DATE OF CLEARANCE                                                 □ ADULT □ J\NENIU:
u
REPORTING 0FF<CER                                                                                    NUMBER                      APPROVING OFFICER                                                                                         NUMBER
baniels j w                                                                                          2175




                                                                                                                                                                                                        PLAINTIFF-024311(UI&S)
                Case 1:20-cv-05233-SEG   Document 115-17          Filed 01/18/24           Page 49 of 58


                DEKALB COUNTY POLICE DEPARTMENT                                        Case#

                           GA0440200                                                17-05-1676

                         ADDITIONAL INCIDENT TYPES
Incident Type                                        Counts         Incident Code         Offense Jurisdiction   Arrest Jurisdiction


1:AMILY OFFENSE FREE TEXT                            I             3899




                   .                                                    .




                                                              .




                                                                                            PLAINTIFF-024312(UI&S)
                Case 1:20-cv-05233-SEG              Document 115-17              Filed 01/18/24       Page 50 of 58


                DEKALB COUNTY POLICE DEPARTMENT                                                 Case#.

                           GA0440200                                                         17-ll5-t676
                                        NARRATIVE
Otra< ID/Name                           o.._
2175              Daniels j w           6/3/2017 8 00·00 PM
r111e:             INITIAL REPORT


- 1. along with Sgt Johnson. Sgt Parker and Ofc Sargent responded ID the United Inn (Extended Stay) Hotel, located at 4649
Memorial Drive. in reference ID trouble unknown call.

The caller. who elected ID stay anonymous. stated that from his/her room, he overheard loud screams. profanities and what
sounded hke someone was being assaulted Upon our arrival. we knocked at room 345 end were allowed enlry into the room by
a male subject. Once inside, we then made contact with a female subject. who was also occupying the room, Both male and
female appeared lo be very intoxicated.

The room was in total and complete disarray: with the bed (mattress) bJm ed upside down. clolhing and trash scattered about
the floor and :several empt-, beer cans and other alcoholic beverage bottles There was also various drug paraphernalia (crack
pipes elc.) inside the room .

We were able ID separate the male from the female. though they were still in an active verbal dispute. by taking the male
subject outside the room. Once alon e. the female. identified as Karis Brown/victim. 37. stated lhat after a verbal dispute over
monies owed ID her sexual favors. a scuffle ensued. That scuffle escalated into a physical altercation. with the male suspect.
Jamie Kellan. 44. striking lhe vtctim in the face and chest area. with a closed fist The victim did display a few minor :scratches
about her facial area
The victim also stated that while attempting ID call 911. lhe suspect grabbed her cellphone. thereby preventing her from calling
the authoriliea for help.

With sufficient prcbable cause presenl I placed the suspect under arrest under the domestic violence laws.

The suspect. for his part. was not being an effective advocate for his 'srde of the story'. During my entire encounter wtth him, he
was loud. uncooperalive, combative and intoxicated He was cursing and being very disrespectful He referred to this officer as
a 'bitch nigger•, •a punk ass officer" and accused me of "t.aking !hat bitch's word over mine•.

\-.Jttile enroute ID the jail with the suspect. he began ID forcefully kick the inside doors on my 2013 county-issued Chevrolet
Caprice. He continued to kick my do or. which inevitably caused damage to my patrol vehicle Upon my arrival at the jail. Ofc.
Sargenl who accompanied me. assisted me with walking the suspect&om myvehide to the intake jail area

While inside the intake area. it took several detention officers lo detain and control the suspect. due to his violent behavior

After the suspect was booked in. I rellJmed ID my vehicle only ID discover that my driver's iside rear door had been damaged
due ID the suspect violenlly kicking on my doors. The door would not dose completely.
Sgt Johnson was notified and responded to the scene. A 'Damage to County Property Paperwork' will be completed A n ew
charge was also added to the suspect's jail docket


 Arrest warrants and any further prosecution w ill be handled by this officer.




                                                                                                         PLAINTIFF-024313(UI&S)
                    Case 1:20-cv-05233-SEG           Document 115-17             Filed 01/18/24         Page 51 of 58


                     DEKALB COUNTY POLICE DEPARTMENT                                              Case#:
                                GA0440200                                                      17-054676
                                         NARRATIVE
Officer tlJIN.ne·                        0;11e                       Appm,n9 ~ 10/N;me.
3346                  Sargent j m        6 / 2/ 2017 9 17 19 Pl\.!
                       INITIAL REPO RT


Report Date
Reporting Officer: 3346 • Sargent j m
Ap proving Officer -



   On 06/0212017. al approximately 2040 hours. I responded to 4649 Memorial Orive(United Inn & Suites) in reference tD a
domeslic disturbance. Upon arrival. I met with Ms Karis Brown(Victim) and
Mr_Jamie Kellan(Suspecl) The Victim stated. the Suspect followed her mtD her room. Room #345. The Suspect aa:used the
Victim cf stealing h is money. The Suspect then Jumped· the Victim sbiking her in the fzice. ripping her t~hirt. and slamming
her into the wall. She advised the Suspect she was contacting the Police and the Suspect "'snatched" the Victim's cellphone
from her hand The Victim made it the front window and pulled open the cur1ain. At that time. the Victim observed an
unidentified black male outside the window. The Victim screamed for help toward unidentified male. The Suspect then pulled
the Victim away from the window. th rowing her tD the floor. He then forced her tD remove her dothing. Upon my nm val. the
Victim was wea ring only her bra and underwear.

  The Victim believed the unidentified male contacted Police The czill wzis received by a male. who disconnected the rine
when call takers asked for his name. The Victim could not provide any further information about the caller. I attempted to
contact the Complainant at the number which was used tD contact 911 {404-836-8100.) The number came back to the
business. United Inn & Suites.

   I observed slight swelling to the Viclim's rig ht cheek bone. Her khirt was tom at her right shoulder. The room had been
completely ransacked. Both the Victim and Suspect stated. !has was caused while the Suspect searched for his money. There
were empty. and full. beers cans strewn a bout lhe room. Bolh the Victim and Suspect appeared to be under the influence. and
were emanating the odor of alcohol from their persons. There were piea,s of what appeared to be a broken crack pipe on the
bnlhroom floor. and burnt b rillo resting en lhe ba throom 11ink. Adjacent tD the bathroom door. in zi blue tn111h can, was a small
empty Ziploc bag. The bag appeared it had contained crack a>caine residue. Both the Victim and Suspect accused the other
of consuming the crack cocaine. They each stated. they had only consumed alcohol.

   The Suspect was escorted awny from the scene, an d placed in the back seat of Officer JW Oaniel's(#2175) patrol car I
provided the Victim with a case number and Victim Contact Card She was advised of lhe Temporary Protediw Order
Precess.

   Before deparling the incident location. I observed the Suspect kick the left and right rear doors of Officer Daniels' patrol car.
The Suspect was yelhng profanities zit the Victim. nnd Officer Daniel s k Officer Daniels and I amved al The DeKalb County
Jail. I observed the left rear door of Officer Daniels' patrol car prolruding slightly outward. Before remo•,ing the Suspect he
kicked the rear doors severnl more bmes. The Suspect exited the patrol car under his own power and was lodged in the jz,d
Up on further inspecbcn of Officer Daniels' patrol car. I observed distinct shoe prints on the interior of lhe rear doors The left
rear door protruded sl1ghlfy after bei ng dosed.




                                                                                                         PLAINTIFF-024314(UI&S)
                              Case 1:20-cv-05233-SEG                                                  Document 115-17                                                Filed 01/18/24                                  Page 52 of 58


                              DEKALB COUNTY POLICE DEPARTMENT                                                                                                                                    Case#:
                                         GA0440200                                                                                                                                         17-05-1676
                                                                    INCIDENT REPORT
      110denlTl'l)e:                                                                                                                                   ""11nts            node<ll Code                   Offense Junsdlction                   "'1esl J..,sdoction
      16-5-20 (1 '\13) Arrest/ /Simple Assault                                                                                                          1                 1113                           COUNTY                                ~OUNIY
,.. 16-7-24 (2903) Arrest// lnterforence with government property (dam, 1                                                                                                ~903                            COUNTY                                ~OUNTY
:fi 6-10-24 .3 (7399) Arrest// Interfering with calls for emergency assis1 1                                                                                             INONC                           COUNTY                                ~OUNTY
~-T111e:                                                                                  Weapon Type:                                                               F<nible:                  Stranger To Slran!III"       Hae Mowilled:                l.oc: Code:
      RESIDENCE                                                                           03                                                                         y                         N                                      ["'
                                                                                                                                                                                                                                                         560
      ,amRepo,t                                      lncidenlSlat                                 lnddelllflld:                                       Incident Locllion:
      b/2/2017 9:00:00 PM                            6/2/2017 9:00:00 PM                          6/2/2017 9:00:00 PM                                 4649 Memorial Drive Decatur GA
       Nne (last Finl Middle):                                                                                                       Moniker                                     DOB:                         AQe:                     Se,:          Ra:a:             Elhnicily:
       Brown, Karis Nicole                                                                                                                                                       --1979                       37                       F             B                 N
       Adtns                                                                                                          Homer.                                Work'-                            Cdf.                              Emai:
       !649 Memorial Drive Room #345 Decatur GA 30032-
       SSN:                           Residelll S1abl$:                       HGT·         WGT·            Hair Color:                  Hair Style:                       Har Leng1h:                Eye Color                    OI.N#:                               Swa:
                                      RESIDENT                                504           200                                                                                                                                   057150943                            GA
      Occupmn:                                               En'f)loyef-                                                   Ad<lress:                                                                                                           EmploYff Phone:




~      Vic1imT111e:
       Individual
      Injuries:     □       None ~      Minor L.     Internal L
                                                                        Swdent

                                                                    Ttelll    ::J
                                                                                     Yes No
                                                                                     ..., ?:
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                                                                                                  11 Yes. Name or vnn·s School


                                                                                                          Lacerations      ':]                 ~
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                                                                                                                                                                                                                               lEOKA Assi,-111 Tl'l)t·


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                                                                                     Unccllscious -                                  Bones            01tler                                     Used:                                               Corr4Jier
       SMTs:


      RelationShipTo          1) BOYFRIEND                 OR GI              (2)                                              (31                                                  (4)                                               (5)
      Offenden:               6)                                              (7)                                              (81                                                  (9)                                               (10)

      Offenses                1) 1313                                         (2) 2903                                         (31 3899                                             (4)   NONC                                        (5)
      lnwilved:               6)                                              (71                                              (8)                                                  (9)                                               (10)
      INane:                                                                                                                         Moniker                             008:                         Age:                     Se,:             Race:            E111niciiy·
      Keila n, Jamie                                                                                                                                                               1973               44                        M               B                N
      !Address:                                                                                                   Home Phone·                             Work Phone:                         Cell Phone:                      Email
      !6-19 Memorial Drive #345 Decatur GA 30032-
      SSN:                            Residelll Sla1us:                       HGT·         WGT·           H.. Color                     Hair Style:                       Hait Len¢,:                Eye Color                   OlN#:                                 Sin:
                                      RESIDENT                                511          230
      Oa:upation:                                             Empl~                                                         Adcnss:                                                                                                            E"'4'lol"f Phone:
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!!Iz SMTs:
w
LI.                                                                                                                      Offenses Involved:
I&.
0     1) 16-5, 20 (1313) Arrest! / Simple Assault                                                                      1313                  (21 16•7•24 (2903) Arresl/ /I nlcrfcrcnct? with governmen                                                             2903
      3) 16-10-2-1.3 (7399) Arrest// Interfering with calls for                                                        NONC                  (4)
      5)                                                                                                                                     (61
      t11                                                                                                                                    (8)
      9)                                                                                                                                     (101
            WANTED      I            WARRANT:      □         ARREST:
                                                                             1111                   swea ARMED:                                WEAPON:                                                                Used: ::! Dru~ C           Alc(ihol ::J Con-4>111er

                  TOTAL NUMBER ARRESTED:
                                       VEHICLES
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g DID INVESTIGATICINltDIC>,TETHATTHISINCDENTWASORUG-RELATED7IF I! YES O NO O 1-Ml'Jhe!a'line □ l · Bati1ura1e
~ h'ES. PLEASE INDICATE TH£ TYPE OF DRUG(SI USED BY OFFENDER               O
                                                                                                                                                                                           D l •Ox;ine 0 4 • Hallucinogen                               D s-HeiM
                                                                                                                                 6-Ma;uana              □ 1 • Me~helaniOt                  0 B- Opum                 0 9 • Synlhetic N¥calic            0 <I- Unknown
a:
~ REQUIRED DATA FIELDS
-' FOR CLEARANCE REPORT
                                          □ CLEARED BY ARREST □ EXCE"TlONAU.Y Cl.fARED □ UNFOUNDED                                                          DATE C1f Q.EARANCE
                                                                                                                                                                                                                           □ ADULT □ JlNENILE
0
REPORTING OFFICER                                                                                                        NUMBER                    APPROVING OFFCER                                                                                            NUMBER
Daniels j w                                                                                                       2175




                                                                                                                                                                                                                     PLAINTIFF-024315(UI&S)
                                Case 1:20-cv-05233-SEG                                                  Document 115-17                                         Filed 01/18/24                                   Page 53 of 58


                                                                        GA0440200                                                                                                   I:  Case#·
                                               FAMILY VIOLENCE INCIDENT REPORT                                                                                                       17-054676
     nodent ll'l'O-                                                                                                                                  ounts          nodetll Code                      Oflense.Jl61sdie11on                     runt JunS41CtJOn
     16-5-20 (l 11l) Arrest/ /Simple ,\ssault                                 I                                                                                     hH,                               COUN I Y                                 :::ouN rY
     lt6•7-2.J (2\103) Arrcst//lnterforcnce with govl!rnment property (dam, 1                                                                                       12\103                            COUNlY                                   r:ouNn'


I    lt6·10-2.J.3 (7399) Arrest/ /Interfering with Cdlls for emergency assisl 1
     rnmse Type:
     l{ESIDENCE
     µ..,Report                                        lncidentSlalt
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                                                                                                                                                                                                   COUNTY
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                                                                                                                                                                                                                                Loe Code:
                                                                                                                                                                                                                                560

     6/2/2017 9:00:00 PM                               6/2/2017 9:00:00 PM                          6/2/2017 9:00:00 PM                             4649 Memorial Drive Decatur GA
      Name (usl. rrstMiddle):                                                                                                      Monltt-                                   DOB:                            Aft:                 Sex:             Race:                Elllricily:
      Brown, Karis Nicole                                                                                                                                                    . . .1979                       37                  F                 B                    N
      Acbtss                                                                                                       Horne#:                               Woft. #:                  CeU:                                          Email:
      !649 Memorial Drive #Room #345 Decatur GA 30032
      SSN:                               AesldtntSlalUS:                     HGT·          WGT·            Hat Color                   HaitSlyle:                    H•ungllt                     Eye Color                      OLN#:                                      Sla!a:
                                         RESIDENT                            504            200                                                                                                                                  057150943                                  GA
      Occupnon:


~
                                                                  Employer                                                         Address:                                                                                                    Ell'l'io)'lf Phone:

      VodlmTn,e:                                                                    Yes No          If Yes. Name ofV1<11m·$$cllool                                  LEOKA Ac1Mt; Type:                                       LfOKA Assignment Type:
                                                                    Siudent:
      Individual
      Injuries:     w       None .:!.I    Mifllf L-a   lntema w    Teelll    ..J
                                                                                     J     -
                                                                                    lJolCCll$00US         Lacerations              Benes      0     Olher                                     Used:        ~        Drugs    ~
                                                                                                                                                                                                                                    .llcohol           COfl1Jer

      ReL\tionsllipTo           1)    BOYFRIEND OR GI                        (2)                                             (J)                                                (4)                                                (5)
      Oflenden:                6)                                            (7(                                             (8)                                                (9)                                                (10)

      Offenses                  1) 1313                                      (2) 2903                                        (J) 3899                                           [4)      NONC                                      (5)
      Involved:                6)                                            (7)                                             (8)                                                (9)                                                (10)

     !Name:                                                                                                                             Mon,1e,-                         DOB:                             Age:                     Sex.                Race:                 Elhncity:
     Kellan, Jamie                                                                                                                                                                       1973           44                         M                   B                     N
     IAdcress:                                                                                                     Home Phone:                           W«t.Phone:                         Cell Phone:                          Email
   j649 Memorial Drive # #345 Decatur GA 30032-
   SSN:          Aesident51.11uS:   HGT·  WGT·                                                             Hait Color                  HairSr,le:                    Hai' Length:                 Eye Color:                     OLN#:                                     Sla!a:
a:               RESIDENT           511   230
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lf 5)
      I) 16-5-20 (1313) Arrest/ /Simple Assault
      J) 16-10•24.3                  (7 39\1) Arrest/ / Interfering with calls for
                                                                                                                     1313
                                                                                                                     NONC
                                                                                                                                           (2)
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                                                                                                                                           [6)
                                                                                                                                                   16-7-24 (2903) Arrcsl//lntcrfcrcncc with govt.?rnmen                                                                 2903



     17)                                                                                                                                   (8)




                                                                                                                                                              -
      9J                                                                                                                                   (10)

           WANTED-      I
                                        □
                                      WARIIANT               ARREST
                                                                            1111                     SUSPE:T ARMED:                            WEAPON:                                                              Used: :_; Drugs □ Alcohol □                        Coll'l'vtef
                  TOTAL NUMBER ARRESTED
                                                       D                    ARREST AT OR NEAR OFFENSE SC£NE                         Yes:   LJ            No

1 WERE CIIILDREN INVOLVED?     □ YES 11 NO
2. WAS ACT COMMITTED WITH CIIILDREN PRESENT?       □ YES (I NO
3 NUMBER OF PREVIOUS COIIIPLAINTS AS ADVISED BY VICTIM:
4 EXISTENCE OF PRIOR COURT ORDERS:
                                                             □ 0
                                         □ YES □ NO III UNKNOWN
                                                                        1-5 □
                                                                                                                                      •                       6-10 □            lltORETIIAN10                 □     UNKNOWN

S WAS VICTIM ADVISED OF AVAH.ABLE REMEDIES AND SERVICES?       II YES □ NO
                                                                                   FOR THE FOLLOWING ITEMS CHECK ALL THAT APPLY
6 TVl'E AND EXTENT OF ALLEGED ABUSE BY THE PRIMARY AGGRESSOR:          □    1 • FATAL INJURY □ 2 • PERMANENT PHYSICAL DISABILl1Y
  □      3 - TEii! PORARY DISABILl1Y □ 4 • BROKEN BONES D     5 • GUN/KNIFE WOUNDS Ill 6 • SUPERFICIAL INJURIES
    •    7 • PROPER1Y DAMAGE/THEFT □ B-TIIRF.ATS D
1,_ POLICE ACTION TAKEN      ■
                                                          9 · ABUSIVE LANGUAGE □        10 • SEXUAL ABUSE □ 11-OTHER
                                  1 - ARREST □ 2 • CITATION □ 3 • SEPARATION □ 4 • MEDIATION □ S·OTIIER □ 6-NONE
    IF NO ARREST MADE WllY NOT?        □ 1 • JUVENILE            □ 2 Ill· PRIMARY AGGRESSOR WAS NOT ATTIIESCENE
     □         3 • INSUFFICIENT PROBABLE CAUSE         D 4 - OTHER REASON
8 IIOW WAS PRIMARY AGGRESSOR IDENTIFIED?                                                 Ill 1 - PHYSICAL EVIDENCE                            □    2 • TESl1MONIAL EVIDENCE                              □    3-OTIIER
~ DID INVESTIGATION INDICATE TIIAT SUBSTANCE ABUSE WAS INVOLVED?                                                                                    II       YES □ NO
    IFYES, INDICATE SUBSTANCE{S) USED BY PRIMARY AGGRESSOR(A) AND/ OR VICTilll(V)
    /\:.    □ 1 - DRUGS   □ 2 • ALCOIIOL            V· Ill 3 - DRUGS      II 4 - ALCOIIOL
~0 RELATIONSIIIP OF PRIMARY AGGRESSOR TO VICTIM(SJ:                                                             D 1 - PRESENT SPOUSE     □ 2 • FORMER SPOUSE                                                      □   3-PARENT
  □ 4 - CIIILD  □ 5 • STEPPARENT   □ 6 • STEl'CIIILD □                                                          7 - FOSTER PARENT    □ 8 -FOSTER CIIILD
  ■ 9 • NONEOFTIIEABOVE. OUTLIVES IN SAME HOUSEHOLD

a:
itj REOUIREDOATAFlELDS                      □ CLEAAEDBYARREST □ EXCEPTIONAll Y CLEMEO □ UNFOUNDED
....1 FOR CLEARANCE REPORT                                                                                                                               DATE OF CLEARANCE                                               □ ADlA.T □ JlNENILE
0
REPORTING OFACER                                                                                               NUMBER                      APPROVING OFFICER                                                                                                  NUMBER
Panicls j w                                                                                                    2175




                                                                                                                                                                                                                  PLAINTIFF-024316(UI&S)
                Case 1:20-cv-05233-SEG   Document 115-17      Filed 01/18/24           Page 54 of 58


                DEKALB COUNTY POLICE DEPARTMENT                                  Case#·

                           GA0440200                                           17-05-1676
                         ADDITIONAL INCIDENT TYPES
Incident Type                                        Counts    lnttdent Code         Offense Jurisdiction   Arrest Jurisdiction


_,AMILY OFFENSE FREE TEXT                            1         3899




                                                                                        PLAINTIFF-024317(UI&S)
                 Case 1:20-cv-05233-SEG           Document 115-17                      Filed 01/18/24    Page 55 of 58


                 DEKALB COUNTY POLICE DEPARTMENT                                                   Case#

                            GA0440200                                                            17-054676
                                      NARRATIVE
Otra, ID/Name:                        Dale.                        Al)ptll"ng Offite< IJIN;rne
2175               Daniels j w        n/3/ 2017 8 00.00 rM
                    INITIAL REPORT


- 1, along with Sgl Johnison. Sgt Parker and Ofc. Sargent responded ID the United Inn (Extended Stay) Hotel. localed at 4649
Memorial Drive. in reference ID trouble unknown call

The caller. who elected ID stay anonymous. stated that from his/her room. he overheard loud screams. profanities and what
sounded like someon e was being assaulted. Upon our arrival. we knocked at room 345 and were allowed enlry into the room by
a male subject. Once inside, we then made contact with a female subject. vmo was also occupying the room. Both male and
female appeared to be very intoxicated.

The room was in total and complete disarray; with the bed (mattress} tumed upside down. clolhing and trash scattered about
the floor and several empty beer cans zmd other alcoh olic beverage bottles There was zslso various dn.ig paraphemelia (crack
pipes etc.} inside the room .

W e were able ID :separate the male from the female, though they were still in an active verbal dispule, by taking the male
subject ou !side the room. Once alone. the female. identified as Karis Brown/victim. 37. stated lhat after a verbal dispute over
monies owed to her sexual favors. a saJffle ensued That scuffle escalated into a physical altercation. with the male suspect
Jamie Kellan. 44. striking the victim in the face and chest a rea. with a dosed fisl The victim did display a few mmor scratches
about h er facial area
The victim also staled that while allempting to call 911 . the suspect grabbed her cellphone. thereby preventing her from calling
the aulhoritiea far help.

With sufficient p10bable cause p resenl I placed the suspect under arrest under the domealic viol ence laws.

The suspect. far his part. was not being an effective advocate far htS ·side of the story'. Dunng my entire encounler with him. he
was loud. uncooperative. combative and intoxicated He was cursing and being very disrespeduf. He referred to thi s officer as
a 'bitch nigger". •a punk ass officer" and accused me of 'lakin_g that bitch's word over mine".

\.-Jtlile enroute to the jail with lhe suspect. he began to forcefully kick the inside doors on my 2013 county-issued Chevrolet
Caprice. He continued to kick my door. which inevitably cauised damage to my patrol veh,ele Upon my amval at the jail. Ofc.
Sargenl who accompanied me. assisted me with walking the suspect from my vehi cle ID the inta ke jail area.

While inside the intake area. it IDok several detention officers to detain and control the suspect. due to his violent behavior

After the suspect was booked in, l returned ID my vehicle only to discover that my dnver·s side rear door had been damaged
due to the suspect violenlfy kicking on my doors. The door would not dose completely.
Sgl Johnson was notified and responded to the scene. A 'Damzige to County Property Paperwork' will be completed A new
char9e was also added to the suspect's jail docket


Arrest warrants and any further proseeubon will be handled by this officer.




                                                                                                           PLAINTIFF-024318(UI&S)
                   Case 1:20-cv-05233-SEG          Document 115-17               Filed 01/18/24          Page 56 of 58


                   DEKALB COUNTY POLICE DEPARTMENT                                                 Case#:
                              GA0440200                                                         l i -054676
                                         NARRATIVE
Oillcel'ID/Nane:                         0;11e.
33-16                Sarg,rnt j m        6/2/2017 '.117.19 PM
                      INITIAL REPORT



Report Date·
Reporting Office r: 3346 • Sargent j m
Approving Officer: •



   On 06/02.12017. at approximately 2040 hours. I responded ID 4649 Memorial Orive(United Inn & Suites} in reference ID a
domestic disturbance. Upon arrival, I met with Ms Karis Brown(Victim) and
Mr. Jamie Kellan(Suspect.) The Victim stated. the Susped followed her into her room. Room #345. The Susped accused the
Victim of stealing h is money. The Su spect then "jumped* the Victim striking her in the face. ripping her I-shi rt and slamming
herinlD the wall. Sh e advised the Suspedshe was contacting the Police and the Susped "imatched" the Victim's cellphone
from her hand The Victim made it the front window and pulled open the curtain Al. that time. the Victim observed an
unidentified b lack male outside the window. The Victim screamed for help toward unidentified male. The Suspect then pulled
the Victim away from the window. throwing her ID the floor. He then forced her ID remove her clothing. Upon my arrival. the
Victim was wearing only her bra and underwear.

  The Victim believed the u nidentified male contacted Police The call was received by a male, wfio disconnected the line
when call takers asked for his name. The Victim could not provide any further information about the caller. I attempted ID
contzict lhe Complai nant a t the number which was used ID contact 911(404-836-8100.) The number came back to the
business. United Inn & Suites.

   I observed slight swelling ID the Victim's right cheek bone. Her I-shirt was tom at her right shoulder. The room had been
completely ransacked. Both the Victim and Suspect staled. this was caused while the Susped searched for his mon ey. There
were empty. and full. beers cans slrewn about lhe room. Bolh the Victim and Susped appeared ID be under the influence. and
were emanating the odor of alcohol from their persons. There were pieee,s of what appeared ID be a broken crack pipe on the
bathroom floor. and bumt brillo resting on the bathroom sink. Adjacent to the bathroom door. in a blue trash can. was a small
empty Ziploc bag. The bag appeared it had contained crack cocaine residue. Both the Victim and Suspect accused the other
of consuming the crack cocaine. They each stated. they h ad only consumed alcohol.

    The Suapect was escorted away from the scene. and placed in the back seat of Officer JWOaniel's(#2175) patrol car. I
p rovided the Victim with a case number and Victim Contact Card She was advised of the Temporary Protective Order
Process.
   Before d eparting the incident location. I observed the Suspect lack the left and right rear doors of Officer Daniels' patrol car.
The Suspect wu y elling promnrties a t the Victim. and Officer Oanielr. Ats Officer Daniel s and I arrived at The DeKalb County
Jail. I observed the left rear door of Officer Daniels' patrol car protruding slightly outward. Before removing the Suspect he
kicked the rear doors several more times The Suspect exited the patrol car under his own power and was lodged in the Jail.
Upon further i nspection of Officer Daniels' patrol car. I observed distinct shoe prints on the interior of lhe rear doors The left
rear d oor pmtru ded sltgh tly after bemg dosed.




                                                                                                            PLAINTIFF-024319(UI&S)
                                Case 1:20-cv-05233-SEG                                                  Document 115-17                                             Filed 01/18/24                                   Page 57 of 58

                               DEKALB COUNTY POLICE DEPARTMENT                                                                                                                                   Case#·
                                          GA0440200                                                                                                                                        17-0610'.\8
                                                                       INCIDENT REPORT
       ncident Tn,e                                                                                                                                     Counts            nodent Code                    Otltnse .MlsdoCIIOn                          P11Test JU!lS(li(;bon
      lt6-5-20 (1313) SIMPLC ASSAUL1                                                                                                                     1                h313                           COUNTY
      B6-7-21 (2902) CRIMINAL TRESPASS • DAMAGE <500 • PRIVATE                                                                                           l                12902                          COUNTY


I     f'!eml$e Type:
      VILL OTHER
      Date Report                                     lllddent Statt
                                                                                           Weai,on Type:
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      b/20/2017 3:52:52 PM 6/20/2017 3:00:00 PM 6/20/2017 3:10: 00 PM 4649 MEMORIAL DRIVE DECATUR GA 30032--
       ~ ILasL FntMidch):                                                                                                             Moriker                                     DOB:                            Age:                      Se,:             Race:            Elllnicity:
       PERRY, KEITH Ill                                                                                                                                                           111111-19B9                     27                        M               B                 u
       Addrus                                                                                                          Home#:                                WOik#:                           Cel#:                                Email:
       35552 HAWTHORNE DR. ROMULUS Ml 4817-l-
       SSN:                             Residenl Slalus:                        HGT·         WGT·          HairColcr.                     HairSlyle:                      Hair length:                EyoColor                         OlN#:                                  Stall:
                                        UNKNOWN                                                                                                                                                                                        P600465075558                          Ml
       Oca,pation·                                             Emplore,-                                                   Addttss:                                                                                                                    Employer Phone:




~      VIClimType.
       Individual
                        ~    Nolle '7
                                                 ~

                                                      Internal .J
                                                                        Student

                                                                                0
                                                                                      Yes No
                                                                                       □ [?J
                                                                                       ~scious D
                                                                                                    II Yes. Harne or Vlt11m's School


                                                                                                                           C                    r Other
                                                                                                                                                                        LEOKA~Trr,e:


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                                                                                                                                                                                                                                  LEOII.A Assigm,ent Type:


                                                                                                                                                                                                                                  ")
       lnji.ries:                        Minor                         Teeth                               Lacerations                Bones                                                      Used:                   Drugs            Alcohol :J         C0111)Ulef
       SMTs:


       Rclalionship To          11 ACQUAINTANCE                                 (2)                                             (J)                                                 14)                                                   (SJ
       Offenders:               61                                              (71                                             (8)                                                 (9)                                                   (10)
                               111 1313                                         (2) 2902
       Offenses                                                                                                                 (J)                                                 (4)                                                   (5)
       lnvclved:
                               61                                               (71                                             (81                                                 (9)                                                   (!OJ
      N;rne:                                                                                                                          Moriker                             DOB:                        A111:                        Sex:                Race:              E1Miaty
      DAY, DAYSI-IEANA I                                                                                                                                                  llll-1998                   19                           F                   B                  N
      ~dies"                                                                                                       Home Phone·                               WOll<P~e.                        Cell Phone:                          Email:
      9022 N. 35TH AVE PHOENIX AR 85051-
       SSN:                             Resident Status:                        HGT          WGT           Hair Color                    Hair Style:                      Hairlenglh                  Ere Color                        OlNit                                  Sla111:
                                        UNKNOWN                                                            BLACK                                                                                      BROWN                            D08706156                              AR
       Occupalion:                                              Employer                                                    Add,ess:                                                                                                                  ~Phone:
a::
l!z SMTs:
w
It
0 1116-5-20 (1313) SIMPLE
                                                                                                                         Offenses Involved:
                                                           ASSAULT                                                      1313                  (2)     16-7-21 (2902) CRIMINAL TRESPASS - DAMAGE <5 2902
       31                                                                                                                                     141
       51                                                                                                                                     161
      t11                                                                                                                                     181
      91                                                                                                                                      (10)
                                           I I
            WANTED:         I I     WARRANT·                   ARREST
                                                                               □                      SUSPECT ARMED·            N               WEAPON:                                                                  Used. :J Drugs ~               Alcohcl LJ ~uttr
                    TOTAl NUMBER ARRESTED· ~ I                                 ARREST AT OR NEAR OFFENSE SCENE:                        Yes:   I l             No:   Iii!
                                        VEHICLES                                      C~RENCY, NOTES. ETC                             -EWELRY. PREC. METALS                         FURS
                                        1so.oo
                                                                                                                                                                    I
                    jSTOlEN                                                           10.00                                           10.00                                         10.00
~
a:
                    IRECOVERED          150.00
                                        CLOTHNG
                                                                                       0.00
                                                                                      OFFICE EQUIP.
                                                                                                                   I                   0 00
                                                                                                                                      TV. RADIO. ETC
                                                                                                                                                                                     0.00
                                                                                                                                                                                    HOUSEHOLD GOODS
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                                        ;o.oo
&
a:
                    ISTOlEN
                     RECOVERED            0.00
                                                                                      10.00
                                                                                       0.00                     I                 10.00
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Q.
                    ISTOLEN
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                                                                          CONSUMABLE GOODS
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                                                                                                            LIVESTOCK
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                                                                                                                                                     to.oo
                                                                                                                                                                                              TOTAL
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                    :RECOVERED            0.00                                 0.00
                                                                                                      I       o_oo                            I        0.00
                                                                                                                                                                                          I      0.00                                I
~                   GCICENIRY                         □ WARRANT                     □ MISSING PERSONS                  □ VEHICLE                         □ ARTICLE                              □ BOAT                             □ GUN                     □ SECURmES
<
g2i IDID  INVESTIGATION INDICATE THAT TlilS INCIDENT WAS DRUG-RELATED? IF
      Ives, PlEASE INDICATE THE TYPE OF ORUG(S) USED BY OFFENDER
                                                                                                O YES ~ NO 0
                                                                                                                         □
                                                                                                                                1-Amphetamine            O2-B~                             0 3-Cocaine O 4 - ~ucinogen                                         D s- Heroin
                                                                                                                                6-Maiuana                □ 1 -Me1'1ail1)helanme            0 8•0pium 0 9- Srnthelie~                                           D U• Unlnown
a:
~ REQUIRED DATA FIEU!S
                                            □ CLEARED BY ARREST □ EXCEPTIONALI.Y CLEARED □ UNFOUNDED
..J FOR CLEARANCE REPORT                                                                                                                                     DATE OF CLEARANCE                                               □ AOUlT □ JINENILE
u
REPORTING OfFICER                                                                                                        NUMBER                     APPRO\IING OFFICER                                                                                                  NUMBER
Woody j s                                                                                                          3334                             Parker o b                                                                                                     1815




                                                                                                                                                                                                                       PLAINTIFF-024320(UI&S)
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            DEKALB COUNTY POLICE DEPARTMENT                                                              Case#·
                       GA0440200                                                                     17-061 ll3K
                                     NARRATIVE
                                     D1111!                      Appro-..1111 Office, ID/N_ _
                                                                                                                   Date:
              Woody j s              6/ 20/ 2017 4 : 02 3 2 PM   11115                      Parker o b             6/20/2017 8 :56·00 PM
                INITIAL RE PORT


On 06120f17 at approximately 15:15 hours. I responded to the United Inn and Suites located at 4649 Memorial Drive in
reference lo a neighbor dispute.

  Upon arrival.I spoke with Keith Perry who stated that Daysheana Day assaulted him by throwing a glass candle at him while
he stead outside the doorway cf room 101. Mr. Perry stated that the candle struck him in the side No injuries were visible and
EMS was refused on scene. Mr. Perry stated that Ms. Day had his cell phone and damaged it by throwing it against the wall.
Mr. Perry advised that the incident was caplured on camera. I made ccntact with an employee at the front desk to view camera
foolage. The location of the incident tock place at the end of the cameras surveillance range. Very liltfe can be made out tram
the footage.

    1spoke with Oaysheana Day inside room 101 about the incident She advised thatshe is a prostil1Jte and that Mr. Perry is
her pimp Ms Day stated that Mr. Perry became upset earlier when she refused tc perform a sexual favor. Ms. Day stated that
Mr. Perry left takin g his sum:ase and proceeded to another female's room at the motel. Ms. Day stated that the room is in her
name. Ma. Day said that the two argued in the doorway when he rebJm ed Hklng about phone. Ms Day stated thatshe did not
hit Mr. Perrywith a candle and didn't have his phone. Ms Day gave me verbal consent to search lhe room. The phone was not
located. 1attempted to call the phone and it rang a couple of times and went to voicemai l.

  Mr. Perry was provided wilh a case number and v,d!m contact card. He was advised on the warrant and protective order
applicnlion protocol




                                                                                                               PLAINTIFF-024321(UI&S)
